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               Community Health Foundation
            12
            13                       UNITED STATES DISTRICT COURT
            14                    SOUTHERN DISTRICT OF CALIFORNIA
            15
            16 BORREGO COMMUNITY HEALTH                Case No. '22CV1056 TWR NLS
               FOUNDATION, a California nonprofit
            17 public benefit corporation;
            18                                         COMPLAINT
                            Plaintiff,
            19        vs.                              Trial Date:      None Set
            20
                 KAREN HEBETS, an individual;
            21   MIKIA WALLIS, an individual;
                 DIANA THOMPSON, f/k/a DIANA
            22   TRONCOSO, an individual;
                 HARRY ILSLEY, an individual;
            23   DENNIS NOURSE, an individual;
                 MIKE HICKOK, an individual;
            24   CHUCK KIMBALL, an individual;
                 PREMIER HEALTHCARE
            25   MANAGEMENT, INC., a California
            26   Corporation; SUMMIT
                 HEALTHCARE MANAGEMENT,
            27   INC., a California Corporation;
                 DARYL PRIEST, an individual;
            28

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             1 NICHOLAS PRIEST, an individual;
               TRAVIS LYON, an individual;
             2 HUSAM E. ALDAIRI, D.D.S., an
               individual; ALDAIRI DDS, INC., a
             3 California corporation; AYED
               HAWATMEH, D.D.S., an individual;
             4 HAWATMEH DENTAL GROUP,
             5 P.C., a California Corporation;
               ALBORZ MEHDIZADEH, D.D.S., an
             6 individual; ALBORZ MEHDIZADEH,
               INC., a California Corporation;
             7 JILBERT BAKRAMIAN, D.D.S., an
               individual; MOHAMMED
             8 ALTEKREETI, D.D.S., an individual;
               MAGALY VELASQUEZ, D.D.S., an
             9 individual; MAGALY M.
               VELASQUEZ DDS PROFESSIONAL
            10 DENTAL CORP., a California
            11 Corporation;  ARAM ARAKELYAN,
               D.D.S., an individual; NEW
            12 MILLENNIUM DENTAL GROUP OF
               ARAM ARAKELYAN, INC., a
            13 California Corporation; MICHAEL
               HOANG, D.M.D., an individual;
            14 WALEED STEPHAN, D.D.S., an
               individual; W.A. STEPHAN, A
            15 DENTAL CORPORATION,
               a California Corporation; SANTIAGO
            16 ROJO, D.D.S., an individual;
               SANTIAGO A. ROJO, D.D.S., INC., a
            17 California Corporation; MARCELO
            18 TOLEDO, D.D.S., an individual;
               MARCELO TOLEDO, D.D.S., INC., a
            19 California corporation; MARLENE
               THOMPSON, D.D.S., an individual;
            20 MARLENE THOMPSON, D.D.S.,
               INC., a California Corporation;
            21 DOUGLAS NESS, D.D.S., an
               individual; NESS DENTAL
            22 CORPORATION, a California
               Corporation; GEORGE JARED,
            23 D.D.S., an individual; GEORGE
            24 JARED,   D.D.S., INC., a California
               corporation; JAMES HEBETS, an
            25 individual; THE HEBETS COMPANY,
               a Missouri Corporation; and DOES 1-
            26 250, inclusive.
            27              Defendants.
            28

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              1                          APPENDIX OF EXHIBITS
              2   EXHIBIT PAGES                        DESCRIPTION
              3     A     155-164 PHCM Management Agreement dated (Effective Date
                                  “ED” 3/1/16)
              4
                    B     165-167 PHCM Amendment No. 1 to Management Agreement
              5                   (ED 12/22/16)
              6     C     168-170 PHCM Amendment No. 2 to Management Agreement
                                  (ED 7/1/17)
              7     D     171-187 Summit Healthcare Management Contract (ED 9/8/17)
              8     E     188-216 Aldairi Agreement (ED 5/27/16)
              9      F    217-247 Aldairi DDS, Inc. Agreement (ED 5/29/18)
            10      G     248-275 Hawatmeh Dental Group Agreement (ED 10/18/17)
                    H     276-304 Alborz Mehdizadeh, Inc. Agreement (ED 9/28/16)
            11
                     I    305-338 Long Beach Care Dental, Inc. Agreement (ED 12/11/18)
            12
                     J    339-367 Velasquez Agreement (ED 11/5/14)
            13      K     368-395 Arakelyan Agreement (ED 11/17/16)
            14      L     396-426 Arakelyan DDS. Inc. Agreement (ED 11/29/18)
            15      M     427-489 Arakelyan DDS. Inc. Agreements (ED 11/29/18)
            16      N     490-520 Hoang Agreement (ED 11/28/18)
                    O     521-549 W.A Stephan Agreement (ED 10/1/16)
            17
                     P    550-577 Rojo D.D.S., Inc. Agreement (ED 3/29/17)
            18
                    Q     578-609 Toledo D.D.S., Inc. Agreement (ED 6/16/15)
            19      R     610-640 Thompson, D.D.S., Inc. Agreement (ED 4/18/13)
            20       S    641-669 Ness Dental Agreement (ED 5/2/16)
            21      T     670-700 Jared, D.D.S. Agreement (ED 4/19/16)
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              1        Plaintiff Borrego Community Health Foundation (“Borrego Health”), hereby
              2 complains and alleges as follows:
              3 I.     INTRODUCTION/SUMMARY
              4        1.    Borrego Health is a California nonprofit public benefit corporation
              5 operating a Federally Qualified Health Center (also known as a FQHC). Borrego
              6 Health provides primary and related healthcare services to historically underserved
              7 areas of San Diego, Riverside, and—until recently—San Bernadino counties.
              8        2.    While Borrego Health was attempting to complete its mission of
              9 providing healthcare to underserved communities, certain individuals and entities,
            10 both inside and outside of Borrego Health, siphoned off money from Borrego Health
            11 that should have benefitted to the community it serves. The schemes of those
            12 various individuals and entities are set forth in detail below. The schemes include
            13 selling useless assets to Borrego Health at inflated prices, entering into one-sided
            14 agreements with Borrego Health to its detriment, committing and/or covering up
            15 healthcare fraud though improper billing of dental services, entering into leases with
            16 Borrego Health that were many times fair market rates and terms, paying themselves
            17 above-market salaries and benefits, hiring friends and family members to work for
            18 Borrego Health and paying them above-market salaries, and attempting to use
            19 Borrego Health to purchase a country club. Those same individuals and entities
            20 worked tirelessly to cover up their misdeeds, and, until recently, were successful is
            21 doing so.
            22         3.    The insiders were motivated by various forms of personal benefit.
            23 First, they used the excessive revenue generated by the schemes to set over-market
            24 salaries for themselves and create other forms of compensation, such as automotive
            25 benefits, retirement benefits, and free healthcare goods and services from Borrego
            26 Health. Second, they used the excessive services and attendant revenue from Medi-
            27 Cal to justify employing friends and family members at Borrego Health, also at
            28 inflated salaries. Third, on information and belief, the insiders allowed the outsiders

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              1 to participate in the fleecing of Borrego Health in exchange for kickbacks and/or
              2 other benefits to the insiders.
              3        4.     The false and fraudulent billing of dental services has resulted in
              4 Borrego Health’s suspension by California’s Medicaid Program, Medi-Cal. The
              5 state and federal government are also investigating Borrego Health for tax issues, its
              6 non-profit status, among many other things, due to these schemes.
              7        5.     Fortunately, Borrego Health, through a newly constituted Board of
              8 Trustees, has spent considerable time and effort trying to discover and unravel the
              9 prior bad conduct to rehabilitate Borrego Health and ensure Borrego Health’s
            10 viability and compliance going forward.
            11         6.     However, Borrego Health has been severely damaged and this action
            12 seeks to illuminate the various schemes, to seek financial compensation to recoup
            13 funds wrongly siphoned away from Borrego Health, and to hold the wrongdoers
            14 responsible for their actions.
            15 II.     JURISDICTION AND VENUE
            16         7.     Venue is proper in this District pursuant to 31 USC section 3732(a) and
            17 28 USC section 1391(c). During the relevant time period, a substantial portion of
            18 the events complained of that give rise to Borrego Health’s claims occurred in this
            19 District.
            20 III.    CAST OF CHARACTERS
            21         A.     BORREGO COMMUNITY HEALTH FOUNDATION
            22         8.     Plaintiff Borrego Community Health Foundation (“Borrego Health”), is
            23 a nonprofit 501(c)(3) Federally Qualified Health Center (“FQHC”). Borrego Health
            24 provides high quality, comprehensive, compassionate primary health care to the
            25 people in their communities, regardless of their ability to pay, by partnering with
            26 licensed medical professionals across Southern California. Borrego Health operates
            27 33 clinics, primarily in underserved desert and inland communities throughout San
            28 Diego, Riverside, and—until recently—San Bernardino counties. Borrego Health

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              1 provides essential services in Family Practice, Pediatrics, OB/GYN, Internal
              2 Medicine, Podiatry, Dermatology, Cardiology, HIV/Hepatitis C and Covid-19
              3 related testing and vaccinations to over 200,000 patients, most of whom cannot
              4 obtain affordable comprehensive primary care from other sources. During the
              5 recent pandemic, Borrego Health tested tens of thousands of Californians for Covid-
              6 19 infections, and vaccinated tens of thousands of people against Covid-19.
              7 Borrego Health’s continued operation is in the public interest and, despite the harm
              8 it has suffered and the way it has been manipulated by its former executives and
              9 trustees, it delivers quality health care to people who need it.
            10         9.     Much of the services Borrego Health provides to the community is
            11 funded by grants, including without limitation grants from the U.S. Health
            12 Resources and Services Administration (“HRSA”). Borrego Health received its first
            13 HRSA grant in 2003.
            14         10.    Following the initial HRSA grant in 2003, Borrego Health experienced
            15 massive growth, expanding its services to what they are today, inclusive of dental,
            16 mental health and chiropractic services. The majority of these services are provided
            17 through Borrego Health’s internal programs, including brick-and-mortar medical
            18 and dental clinics and mobile units. Borrego Health also operates a contract medical
            19 program in which it contracts with private practice providers to serve members of
            20 the community.
            21         11.    As a non-profit public benefit corporation, Borrego Health does not
            22 have individual shareholders, but rather is operated by a Board of Trustees, all of
            23 whom currently serve on a volunteer basis.
            24         B.     FORMER BORREGO INSIDERS
            25         12.    Bruce Hebets was a longtime resident of San Diego County and had
            26 been a Sergeant with the San Diego Harbor Police Department prior to becoming
            27 CEO of Borrego Health Foundation in or around 2004. Bruce Hebets served as
            28 Borrego Health’s CEO beginning in 2004 until his retirement in September 2018.

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               1 Following a decline in Bruce Hebets’ health, Borrego Health’s Executive/Finance
               2 Committee – with Bruce Hebets’ approval – appointed the then Chief Legal Officer,
               3 Mikia Wallis, as President of Borrego Health in December 2017, and later as interim
               4 CEO following Bruce Hebets’ decision to take an extended medical leave, effective
               5 June 28, 2018. Following Bruce Hebets’ retirement, effective September 1, 2018,
               6 Mikia Wallis was appointed to the position of Borrego Health’s CEO. Bruce Hebets
               7 passed away in January 2019. In light of his death and the settlement of his estate,
               8 Bruce Hebets is not named as a defendant in this action though he would have been,
               9 if possible.
              10        13.     Defendant Karen Hebets is an individual with her place of residence in
              11 Borrego Springs, California. Karen Hebets was the Vice President of Business
              12 Services at Borrego Health. Karen Hebets was also the wife of Bruce Hebets.
              13        14.     Defendant Mikia Wallis, Esq. is an individual with her place of
              14 residence in Julian, California. Mikia Wallis is an attorney. She graduated from the
              15 University of San Diego School of Law, and was admitted to the California Bar on
              16 or about June 1, 2007. Mikia Wallis was Chief Legal Officer of Borrego Health,
              17 and was named interim CEO in June 2018 and CEO in September 2018. Mikia
              18 Wallis was placed on administrative leave from Borrego Health on October 9, 2020,
              19 and terminated by Borrego Health on December 15, 2020.
              20        15.     Defendant Diana Thompson, formerly Diana Troncoso, is an individual
              21 with her place of residence in San Diego County, California. Diana Thompson was
              22 Borrego Health’s Chief Financial Officer from March 2013, and was terminated as
              23 of March 2021. One of Diana Thompson’s children is married to one of Bruce
              24 Hebets’ and Karen Hebets’ child, and she shares one or more grandchildren with
              25 Bruce Hebets and Karen Hebets.
              26        16.     Defendant Harry Ilsley is an individual with his place of residence in
              27 Sheridan, Wyoming. Harry Ilsley also owns or owned a house in Borrego Springs
              28 (near the De Anza Country Club golf course). Harry Ilsley was a member of

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               1 Borrego Health’s Board of Trustees and was the Chair of the Board until 2017. He
               2 was also on the Board’s Executive/Finance Committee.
               3        17.    Defendant Dennis Nourse in an individual with his place of residence
               4 in Cedarburg, Wisconsin. Dennis Nourse was a former administrator of Borrego
               5 Health, and later hired Bruce Hebets to be CEO. Dennis Nourse was a member of
               6 Borrego Health’s Board of Trustees from mid-2012 until his resignation, and was a
               7 member of the Board’s Executive/Finance Committee.
               8        18.    Defendant Mike Hickok in an individual with his place of residence in
               9 Borrego Springs, California (near the De Anza Country Club golf course). Mike
              10 Hickok was a member of Borrego Health’s Board of Trustees, and was a member of
              11 the Board’s Executive/Finance Committee.
              12        19.    Defendant Chuck Kimball an individual with his place of residence in
              13 Julian, California. Chuck Kimball was a member of Borrego Health’s Board of
              14 Trustees starting in approximately 2011, and was the Chair of the Board from 2017
              15 to mid-2019 and Secretary from 2019 until his removal. Chuck Kimball was also a
              16 member of the Board’s Executive/Finance Committee.
              17        20.    Karen Hebets, Mikia Wallis, Diana Thompson, Harry Ilsley, Dennis
              18 Nourse, Mike Hickok, and Chuck Kimball are collectively referred to as “Borrego
              19 Insiders.” A subset of Borrego Insiders who served as members of the Borrego
              20 Health Board of Trustee are Harry Ilsley, Dennis Nourse, Mike Hickok, and Chuck
              21 Kimball, collectively referred to herein as “Board Insiders.”
              22        21.    While some may have described themselves as volunteers, each of the
              23 Board Insiders was compensated for his service on the Board, including with free
              24 medical care and other benefits. Moreover, the Board Insiders are being sued not
              25 only for their negligent acts and omissions, but their intentional misconduct,
              26 including fraud, and their breaches of their fiduciary duties to Borrego Health.
              27
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               1        C.     PREMIER, PRIESTS AND OTHER PRIEST-RELATED
               2               ENTITIES
               3        22.    Defendant Premier Healthcare Management, Inc. (“Premier”) is a
               4 California corporation with its principal place of business in El Cajon, California.
               5        23.    Defendant Summit Healthcare Management, Inc. (“Summit”) was a
               6 California corporation with its principal place of business in El Cajon, California.
               7 Summit merged with Premier in 2019.
               8        24.    Defendant Daryl Priest in an individual with his place of residence in
               9 El Cajon, California. Daryl Priest is the owner of Premier. Prior to starting Premier
              10 Daryl Priest had no material healthcare experience.
              11        25.    Defendant Nicholas (“Nick”) Priest, Esq. in an individual with his
              12 place of residence in San Diego, California. Nick Priest was the Chief Executive
              13 Officer of Premier. Nick Priest is the son of Daryl Priest. Nick Priest is also an
              14 attorney. He graduated from California Western School of Law and was admitted to
              15 the California Bar on or about June 21, 2016. Prior to working at Premier Nick
              16 Priest had no material healthcare experience.
              17        26.    Defendant Travis Lyon in an individual with his place of residence in
              18 Alpine, California. Travis Lyon was the President and Chief Operating Officer of
              19 Premier. He is also currently the President of Real Estate Operations at Priest
              20 Development Corporation.
              21        27.    Premier, Summit, Daryl Priest, Nick Priest and Travis Lyon are
              22 collectively referred to herein as the “Premier Defendants.”
              23        D.     DEFENDANT DENTISTS
              24        28.    Defendant Husam E. Aldairi, D.D.S. is a licensed dentist in California
              25 with whom Borrego Health partnered through its contract dental program. Dr.
              26 Aldairi, both individually and through his company Aldairi DDS, Inc., operated
              27 several private dental practices, including 40/30 Dental Inc., located at 6175 El
              28 Cajon Blvd., San Diego, CA 92215 and 40/30 Dental 2, located at 1166 East Main

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               1 Street, El Cajon, CA 92021. Husam Aldairi resides in San Diego County. Aldairi
               2 DDS, Inc., is a California corporation with its principal place of business in El
               3 Cajon, California.
               4        29.    Defendant Ayed Hawatmeh, D.D.S. is a licensed dentist in California
               5 with whom Borrego Health partnered through its contract dental program. Dr.
               6 Hawatmeh, both individually and through his company Defendant Hawatmeh
               7 Dental Group, P.C., operated several private dental practices, including Bravo
               8 Dental Group of Corona located at 1185 Magnolia Avenue #K & #L, Corona, CA
               9 92879, and White Smile Dental, located at 3495 East Concours Street, Suite A,
              10 Corona, CA 91764. Ayed Hawatmeh resides in San Bernardino County. Hawatmeh
              11 Dental Group, P.C. is a California corporation, with its principal place of business in
              12 Ontario, California.
              13        30.    Defendant Alborz Mehdizadeh, D.D.S. is a licensed dentist in
              14 California with whom Borrego Health partnered through its contract dental program.
              15 Dr. Mehdizadeh, both individually and through his company Defendant Alborz
              16 Mehdizadeh, Inc., operated several private dental practices, located at 15080 7th
              17 Street, Suite 7, Victorville, CA 92395 and 286 N. San Jacinto Street, Hemet, CA
              18 92543. Alborz Mehdizadeh resides in San Bernardino County in Victorville,
              19 California. Alborz Mehdizadeh, Inc., is a California corporation with its principal
              20 place of business in Long Beach, California.
              21        31.    Defendant Jilbert Bakramian, D.D.S. is a licensed dentist in California
              22 with whom Borrego Health partnered through its contract dental program. He
              23 operated as a sub-provider (i.e., though an arrangement with Dr. Aram Arakelyan
              24 but without a direct agreement with Borrego Health). Jilbert Bakramian resides in
              25 Glendale, California.
              26        32.    Defendant Mohammed AlTekreeti, D.D.S. is a licensed dentist in
              27 California with whom Borrego Health partnered through its contract dental program.
              28

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               1 He operated as a sub-provider under Dr. Husam Aldairi. Mohammed AlTekreeti
               2 resides in San Diego, California.
               3        33.    Defendant Magaly Velasquez, D.D.S. is a licensed dentist in California
               4 with whom Borrego Health partnered through its contract dental program. Dr.
               5 Velasquez, both individually and through her company, Defendant Magaly M.
               6 Velasquez DDS Professional Dental Corp., operated a private dental practice, called
               7 U-First Dental Care, located at 9130 Foothill Blvd., Rancho Cucamonga, CA 91730.
               8 Magaly Velasquez resides in Rancho Cucamonga, California. Magaly M.
               9 Velasquez DDS Professional Dental is a California corporation with its principal
              10 place of business in Rancho Cucamonga, California.
              11        34.    Defendant Aram Arakelyan, D.D.S. is a licensed dentist in California
              12 with whom Borrego Health partnered through its contract dental program. Dr.
              13 Arakelyan, both individually and through his company, New Millennium Dental
              14 Group Of Aram Arakelyan, Inc., operated several private dental practices, including
              15 practices located at 19523 E. Cypress Street, Covina, CA 91724 and 10917
              16 Paramount Blvd., Downey, CA 90241. Aram Arakelyan resides in Rancho
              17 Cucamonga, California. New Millennium Dental Group Of Aram Arakelyan, Inc. is
              18 a California corporation with its principal place of business in Rancho Cucamonga,
              19 California.
              20        35.    Defendant Michael Hoang, D.M.D. is a licensed dentist in California
              21 with whom Borrego Health partnered through its contract dental program. He
              22 operated a private dental practice, located at 13672 Hawthorne Blvd., Hawthorne,
              23 CA 90250. Michael Hoang resides in Long Beach, California.
              24        36.    Defendant Waleed Stephan, D.D.S. is a licensed dentist in California
              25 with whom Borrego Health partnered through its contract dental program. Dr.
              26 Stephan, both individually and through his company, Defendant W.A. Stephan, a
              27 Dental Corporation, operated a private dental practice, called Stephan Family
              28 Dental, located at 860 Jamacha Road, Suite 201, El Cajon, CA 92019. Waleed

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               1 Stephan resides in El Cajon, California. W.A. Stephan, a Dental Corporation is a
               2 California corporation with its principal place of business in San Diego, California.
               3         37.   Defendant Santiago Rojo, D.D.S. is a licensed dentist in California with
               4 whom Borrego Health partnered through its contract dental program. Dr. Rojo, both
               5 individually and through his company Defendant Santiago A. Rojo, D.D.S., Inc.,
               6 operated a private dental practice, called Family Dentistry Inc., located at 22435
               7 Alessandro Blvd., Suite 106, Moreno Valley, CA 92553. Santiago Rojo resides in
               8 Orlando, Florida. Santiago A. Rojo, D.D.S., Inc., is a California corporation with its
               9 principal place of business in Moreno Valley, California.
              10         38.   Defendant Marcelo Toledo, D.D.S. is a licensed dentist in California
              11 with whom Borrego Health partnered through its contract dental program. Dr.
              12 Toledo, both individually and through his company Defendant Marcelo Toledo
              13 D.D.S., Inc., operated private dental practices located at 1701 Palm Canyon Drive,
              14 Palm Springs, CA 92262 and 326 N. Riverside Avenue, Rialto, CA 92376. Marcelo
              15 Toledo resides in Grand Terrace, California. Marcelo Toledo, D.D.S., Inc., is a
              16 California corporation with its principal place of business in Rialto, California.
              17         39.   Defendant Marlene Thompson, D.D.S. is a licensed dentist in
              18 California with whom Borrego Health partnered through its contract dental program.
              19 Dr. Thompson, both individually and through her company Defendant Marlene M.
              20 Thompson, D.D.S., Inc., operated a private dental practice located at 988 El Norte
              21 Parkway, Escondido, CA 92026. Marlene Thompson resides in Temecula,
              22 California. Marlene Thompson, D.D.S., Inc., is a California corporation with its
              23 principal place of business in Escondido, California.
              24         40.   Defendant Douglas Ness, D.D.S. is a licensed dentist in California with
              25 whom Borrego Health partnered through its contract dental program. Dr. Ness, both
              26 individually and through his company Defendant Ness Dental Corporation, operated
              27 a private dental practice, Crown Dental Group, located at 2405 Transportation
              28 Avenue, National City, CA 91950. Douglas Ness resides in Bonita, California.

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               1 Ness Dental Corporation is a California corporation with its principal place of
               2 business in National City, California.
               3        41.    Defendant George Jared, D.D.S. is a licensed dentist in California with
               4 whom Borrego Health partnered through its contract dental program. Dr. Jared,
               5 both individually and through his company Defendant George C. Jared, D.D.S., Inc.,
               6 operated a private dental practice, East County Family Dental, located at 13465
               7 Camino Canada Road, Suite 110-A, El Cajon, CA 92021. George Jared resides in
               8 San Diego, California. George Jared, D.D.S., Inc., is a California corporation with
               9 its principal place of business in El Cajon, California.
              10        42.    Other dentists formerly contracted with Borrego Health may have also
              11 engaged in actions and omissions that constitute a breach or breaches of their
              12 contracts with Borrego Health and/or make material misrepresentations to Borrego
              13 Health. However, the names and identities of those dentists are currently unknown
              14 to Borrego Health, and are therefore sued here as Does 1-100. They are unknown,
              15 in part, because Borrego Health does not currently have access to their medical
              16 records, patient charts, scheduling information, and other business records to
              17 evaluate their care and documentation of services that Borrego Health billed as a
              18 result of invoices from the dentists. Borrego Health intends to seek discovery of
              19 such information to evaluate other partner dentists and their sub-providers.
              20        43.    Husam E. Aldairi, D.D.S., Aldairi DDS, Inc., Ayed Hawatmeh, D.D.S.,
              21 Hawatmeh Dental Group, P.C., Alborz Mehdizadeh, D.D.S., Alborz Mehdizadeh,
              22 Inc., Jilbert Bakramian, D.D.S., Mohammed AlTekreeti, D.D.S., Magaly Velasquez,
              23 D.D.S., Magaly M. Velasquez DDS, Professional Dental Corp., Aram Arakelyan,
              24 D.D.S., New Millennium Dental Group of Aram Arakelyan, Inc., Michael Hoang,
              25 DMD, Waleed Stephan, D.D.S., W.A. Stephan, a Dental Corporation, Santiago
              26 Rojo, D.D.S., Santiago A. Rojo, D.D.S., Inc., Marcelo Toledo, D.D.S., Marcelo
              27 Toledo, D.D.S., Inc., Marlene M. Thompson, D.D.S., Marlene Thompson, D.D.S.,
              28 Inc., Douglas Ness, D.D.S., Ness Dental Corporation, George Jared, D.D.S. and

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               1 George C. Jared, D.D.S., Inc. and Does 1-100 are collectively referred to herein as
               2 the “Dentist Defendants.”
               3         E.    JAMES HEBETS AND HIS COMPANIES
               4         44.   Defendant James “Jim” Hebets in an individual with his place of
               5 residence in Scottsdale, Arizona. Jim Hebets’ is Bruce Hebets’ brother.
               6         45.   Defendant The Hebets Company is a Missouri Corporation with its
               7 principal place of business in Phoenix, Arizona. Jim Hebets is President and
               8 Founder of The Hebets Company, and has or had an ownership interest in The
               9 Hebets Company. The Hebets Company provides accounting and consulting
              10 services and hold themselves out as experts in executive compensation to healthcare
              11 providers, including other FQHCs, in California and San Diego County. The Hebets
              12 Company is a subsidiary of NFP Corp. NFP is a network of independent financial
              13 advisors that includes over 175 firms in 41 states and Puerto Rico, specializing in
              14 life insurance and wealth transfer, corporate and executive benefits, and provides
              15 services across the state of California and San Diego County.
              16         F.    OTHERS
              17         46.   Julian Medical Foundation is a California nonprofit corporation, with
              18 its principal place of business in Julian, California.
              19         47.   Timothy Martinez, D.D.S. graduated from the Harvard School of
              20 Dental Medicine in 1986 with a concentration in Health Care Administration.
              21 Throughout his 30 year career, he has had extensive experience in FQHC dental
              22 programs, state dental Medicaid administration, private practice, and academic
              23 positions at the Associate Dean level. Prior to joining Borrego Health, Dr. Martinez
              24 served as the Associate Dean for Community Partnerships and Access to Care for
              25 two dental schools, Western University of Health Sciences and the University of
              26 New England, and before that, he served as the Massachusetts Medicaid Dental
              27 Director as well as the Dental Director for three large FQHCs in the greater Boston
              28 area, including the first FQHC in the nation Geiger-Gibson Community Health

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               1 Center, Boston Health Care for the Homeless, and the South End Community Health
               2 Center. Timothy Martinez spearheaded the Program Integrity unit for Borrego
               3 Health, designed to detect and address potential false or fraudulent billing.
               4         48.   Maura Tuso, D.D.S. was a licensed dentist in California. She lost her
               5 license and was suspended by Medi-Cal. Despite this, she provided services for
               6 various dentists that were contracted with Borrego Health. She has since provided
               7 documents, evidence, and statements that she observed and engaged in fraudulent
               8 practices at the direction of Defendants Husam Aldairi, Mohammed AlTekreeti,
               9 Marlene Thompson, Douglas Ness, and George Jared.
              10         49.   Dr. Alfredo Ratniewski is the former Chief Medical Officer of Borrego
              11 Health.
              12         G.    ALTER EGO AND DOE ALLEGATIONS
              13         50.   Borrego Health is informed and believes that at all relevant times each
              14 of the Premier Defendants was the agent and employee of each of the remaining
              15 Premier Defendants, and in doing the things hereinafter alleged was acting within
              16 the course and scope of such agency and employment. The Premier Defendants
              17 operated in such a way as to make their individual identities indistinguishable, and
              18 therefore are mere alter-egos of one another. The acts and omissions of the Premier
              19 Defendants were done in concert with one another in furtherance of their common
              20 design and agreement to accomplish a particular result, namely extracting money
              21 from Borrego Health. Moreover, the Premier Defendants aided and abetted each
              22 other in accomplishing the acts and omissions alleged herein. (See Restatement
              23 (SECOND) of Torts §876 (1979)). The Premier Defendants, and each of them, fail
              24 to recognize the uniqueness and independence of each other. At all times relevant
              25 hereto, there was a such a unity of interest and ownership between the Premier
              26 Defendants such that the individual distinctions between them had ceased and that
              27 the facts as alleged herein are such that an adherence to the fiction of the separate
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               1 existence of the Premier Defendants would, under the particular circumstances
               2 alleged herein, sanction a fraud and/or promote injustice.
               3        51.    Borrego Health is informed and believes that at all relevant times Jim
               4 Hebets and the Hebets Company were the agent and employee of each other, and in
               5 doing the things hereinafter alleged were acting within the course and scope of such
               6 agency and employment. Jim Hebets and the Hebets Company operated in such a
               7 way as to make their individual identities indistinguishable, and therefore are mere
               8 alter-egos of one another. The acts and omissions of the Jim Hebets and the Hebets
               9 Company were done in concert with one another in furtherance of their common
              10 design and agreement to accomplish a particular result, namely extracting money
              11 from Borrego Health. Moreover, Jim Hebets and the Hebets Company aided and
              12 abetted each other in accomplishing the acts and omissions alleged herein. (See
              13 Restatement (SECOND) of Torts §876 (1979)). Jim Hebets and the Hebets
              14 Company, and each of them, fail to recognize the uniqueness and independence of
              15 each other. At all times relevant hereto, there was a such a unity of interest and
              16 ownership between Jim Hebets and the Hebets Company such that the individual
              17 distinctions between them had ceased and that the facts as alleged herein are such
              18 that an adherence to the fiction of their separate existence would, under the
              19 particular circumstances alleged herein, sanction a fraud and/or promote injustice.
              20        52.    Borrego Health is informed and believes that at all relevant times each
              21 of the individual defendant dentists and their affiliated defendant professional
              22 corporation(s) were the agent and employee of each other, and in doing the things
              23 hereinafter alleged were acting within the course and scope of such agency and
              24 employment. The individual dentists and their affiliated professional corporation(s)
              25 operated in such a way as to make their individual identities indistinguishable, and
              26 therefore are mere alter-egos of one another. The acts and omissions of the
              27 individual dentists and their affiliated professional corporation(s) were done in
              28 concert with one another in furtherance of their common design and agreement to

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               1 accomplish a particular result, namely extracting money from Borrego Health.
               2 Moreover, the individual dentists and their affiliated professional corporation(s)
               3 aided and abetted each other in accomplishing the acts and omissions alleged herein.
               4 (See Restatement (SECOND) of Torts §876 (1979)). The individual dentists and
               5 their affiliated professional corporation(s), and each of them, fail to recognize the
               6 uniqueness and independence of each other. At all times relevant hereto, there was
               7 a such a unity of interest and ownership between the individual dentists and their
               8 affiliated professional corporation(s) such that the individual distinctions between
               9 them had ceased and that the facts as alleged herein are such that an adherence to the
              10 fiction of the separate existence of the individual dentists and their affiliated
              11 professional corporation(s) would, under the particular circumstances alleged herein,
              12 sanction a fraud and/or promote injustice. However, Borrego Health pleads in the
              13 alternative that the individual dentists and their affiliated professional corporation(s)
              14 may not have been agents of one another for purposes of the interference causes of
              15 action set forth below.
              16         53.    Borrego Health is ignorant of the true names and capacities of those
              17 defendants sued herein as DOES 101 through 250, and for that reason has sued such
              18 defendants by fictitious names. Borrego Health will seek leave of the Court to
              19 amend this Complaint to identify said defendants when their identities are
              20 ascertained.
              21 IV.     THE SCHEMES THAT DAMAGED BORREGO HEALTH
              22         A.     The Scheme to Form and Sell Entities Formed by Borrego Insiders
              23                to Borrego Health (the “Borrego MSO/IPA Scheme”)
              24         54.    One of the earliest discovered schemes concocted by the Borrego
              25 Insiders to the detriment of Borrego Health is the formation of Borrego Management
              26 Services Organization, LLC (“Borrego MSO”) and Borrego Independent Physicians
              27 Association, A Professional Medical Corporation (“Borrego IPA”), and the sale of
              28 those entities to Borrego Health.

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               1         55.   While CEO of Borrego Health, Bruce Hebets devised a scheme to have
               2 Borrego Health incur unnecessary costs by providing physician services and
               3 administrative services to Borrego Health through companies that he and other
               4 Borrego Insiders would create and control. This allowed the Borrego Insiders to
               5 improperly profit from those companies at the expense of Borrego Health.
               6         56.   Both Borrego MSO and Borrego IPA were formed on or about July 19,
               7 2010 though the assistance of Mikia Wallis, in-house counsel at Borrego Health.
               8 Mikia Wallis provided this service without charge to Borrego MSO or Borrego IPA,
               9 using Borrego Health resources to benefit some of the Borrego Insiders. Borrego
              10 MSO and Borrego IPA were potential referral sources for Medi-Cal beneficiaries.
              11 Mikia Wallis was listed as the agent for service of process for both entities.
              12         57.   As Bruce Hebets and other Borrego Insiders were not medical
              13 professionals, their ownership in Borrego IPA, which was a professional medical
              14 corporation, was constrained. Thus, other friends, cronies, and referral sources
              15 became investors, including Dr. Alfredo Ratniewski and his daughter. Dr. Alfredo
              16 Ratniewski was motivated to cooperate, in part, by the Borrego Insiders’ decision to
              17 overcompensate him as Borrego Health’s Chief Medical Officer and to
              18 overcompensate his family members who also worked at Borrego Health.
              19         58.   Borrego MSO, on the other hand, is a lay entity, which was supposed to
              20 manage the Borrego IPA practice. Bruce Hebets was sophisticated enough to try to
              21 avoid scrutiny of the obvious conflict problems by keeping his name away from
              22 Borrego MSO. Instead, Karen Hebets (Bruce Hebets’ wife) was a shareholder, and
              23 was named as Borrego MSO’s Chief Executive Officer. Karen Hebets had no
              24 experience managing an IPA and was not qualified to do so.
              25         59.   Through Borrego MSO’s purported “management” services, Borrego
              26 MSO could charge Borrego IPA for unnecessary services, and funnel the funds to
              27 Karen Hebets and other Borrego Insiders.
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               1         60.   Borrego MSO and Borrego IPA were then contracted with Borrego
               2 Health to provide physician and administrative services to Borrego Health.
               3 However, these services were already being provided without the unnecessary
               4 expense of contracting with outside companies. Tellingly, Borrego MSO and
               5 Borrego IPA did not do business with any other healthcare providers, only Borrego
               6 Health.
               7         61.   Eventually, a plan was developed by Bruce Hebets and other Borrego
               8 Insiders for Borrego Health to buy Borrego MSO and Borrego IPA. The entities
               9 had no valuable assets to sell to Borrego Health. The transaction was a sham
              10 transaction meant to obscure the self-dealing of Bruce Hebets and other Borrego
              11 Insiders. Mikia Wallis facilitated the transaction, which was culminated with a
              12 November 1, 2012 purchase agreement whereby Borrego Health paid $2,000,000 to
              13 acquire Borrego MSO and Borrego IPA.
              14         62.   On information and belief, the plan was to take some of that money and
              15 pay it to the investors of Borrego IPA. Thus, all of the investors at Borrego MSO
              16 and Borrego IPA would profit at the expense of Borrego Health.
              17         63.   On information and belief, the Borrego Insiders were compensated for
              18 this access and control through kickbacks or other payments or remuneration.
              19         B.    The Scheme to Contract with Premier Allowing Premier to Get
              20               Paid Tens of Millions of Dollars to Purportedly Provide
              21               “Management Services” It Was Not Capable of Providing (the
              22               “Premier Scheme”)
              23               i.     The Contract Dental Program is Formed
              24         64.   Borrego Health began a contract dental program in 2014. In general,
              25 the Medi-Cal program recognizes the value of a FQHC expanding the availability of
              26 its services, so it allows FQHCs to enter into contracts with private practice
              27 healthcare professionals to provide services to the FQHC’s members.
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               1         65.   In general, “contract dental” describes the arrangement where Borrego
               2 Health expanded its service area by entering into contracts with individual dentists
               3 and/or their practices. Under those contracts, the contracted dentists agreed to
               4 provide certain dental services to eligible patients of Borrego Health. Those
               5 services would then be billed to Medi-Cal by Borrego Health. Borrego Health, in
               6 turn, pays the dentist a fee for the dental services rendered.
               7         66.   Importantly, the fees that Borrego Health paid to the dentists were far
               8 greater than what the dentists would have been paid if they had billed Medi-Cal for
               9 the services directly. Therefore, the dentists were motivated to contract with
              10 Borrego Health. As a result, some dentists were taking their existing patients and
              11 converting them to “Borrego Health patients.”
              12         67.   The contract dental program expanded so quickly because Medi-Cal
              13 paid Borrego Health based a fixed rate for each service that Borrego Health (or its
              14 contracted dentists) provided. The billing is known as “encounter” billing, and each
              15 “encounter” or visit Borrego Health (or its contracted dentists) has with a patient is
              16 reimbursed the fixed fee amount based on Borrego Health’s historic costs.
              17         68.   If the dentists were not contracted with Borrego Health and provided
              18 dental services to a Medi-Cal beneficiary, then the dentist would be paid under the
              19 Medi-Cal fee schedule, a per service billing method, that is described by many
              20 dentists as very low.
              21         69.   The fixed fee, encounter-based payment was high relative to the costs
              22 of providing dental services. This allowed Borrego Health to pay the contracted
              23 dentists more than what Medi-Cal would have paid to the dentist directly under the
              24 Medi-Cal fee schedule, and still retain a handsome profit.
              25         70.   In each instance Borrego Health was billing Medi-Cal for the services
              26 that the contract dentist billed Borrego Health.
              27         71.   Borrego initially managed the contract dental program on its own.
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               1        72.    By fall 2015, Borrego Health’s contract dental program comprised
               2 approximately 20 to 25 percent of Borrego Health’s total revenue.
               3               ii.   Hebets Proposes an MSO Idea, Which Is Rejected by
               4                     Borrego Health
               5        73.    Sometime in 2015, Bruce Hebets, possibly due to his experience with
               6 Borrego MSO and Borrego IPA, identified a significant business opportunity for an
               7 outside organization to provide management services for dental programs in
               8 FQHCs. Specifically, he proposed the idea of Borrego Health contracting with a
               9 MSO to provide management services for its contract dental program.
              10        74.    Bruce Hebets originally proposed that he would own 100 percent of the
              11 MSO, then sell 90-95 percent of it to Daryl Priest and/or others. This would have
              12 resulted in a large, direct payment by Daryl Priest and/or others to Bruce Hebets,
              13 and then ongoing payments by Borrego Health to Bruce Hebets through the MSO
              14 due to Bruce Hebets’ retained ownership of 5-10 percent.
              15        75.    During an Executive/Finance Committee meeting on August 27, 2015,
              16 Bruce Hebets discussed his proposal to form an MSO that would contract with
              17 Borrego Health to provide management services for the contract dental program.
              18 Borrego Insiders Harry Ilsley, Dennis Nourse, and Mike Hickok were present at this
              19 meeting, along with Mikia Wallis and Diana Thompson. These Borrego Insiders
              20 supported the proposal. However, Mikia Wallis identified the risk of Bruce Hebets
              21 staring a competing company.
              22        76.    On September 22, 2015, in an email to Mikia Wallis, outside counsel
              23 for Borrego Health warned that any potential MSO arrangement involving Bruce
              24 Hebets implicated conflict-of-interest laws, would have to be an arms-length
              25 transaction and that any compensation paid to Bruce Hebets under the deal must be
              26 at the fair market value. As detailed below, this advice was later ignored.
              27        77.    The discussion of the MSO proposal carried over into the next meeting
              28 of the Executive/Finance Committee meeting that took place on September 24,

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               1 2015. The minutes from the meeting clearly document the attempt by Bruce Hebets,
               2 Mikia Wallis and Diana Thompson to convince the Executive/Finance Committee
               3 that Bruce Hebets’ proposal was a good idea despite the conflict of interest issue
               4 being identified.
               5           78.   For example, the Executive/Finance Committee members were told
               6 how no other company could provide this type of novel management services to
               7 FQHCs specific to their contract dental program needs. The Executive/Finance
               8 Committee also discussed how Borrego Health could be a part-owner of the MSO.
               9 Ultimately, the discussion was tabled for presentation to the entire Board at its
              10 October meeting, pending an analysis by outside counsel regarding Bruce Hebets’
              11 clear conflict of interest issue.
              12           79.   Ultimately, on or about October 29, 2015, the full Borrego Health
              13 Board rejected Bruce Hebets’ proposal to enter into an arrangement with a MSO in
              14 which he held ownership interest as a result of the inherent conflict of interest.1
              15 Some Board members who were present at that meeting recall that the Board went
              16 as far as rejecting wholesale the idea that Borrego Health use an MSO to manage the
              17 contract dental program, regardless of who owned or operated it. The non-Borrego
              18 Insider Board members believed the issue was settled; the MSO would not go
              19 forward. The Borrego Health Board did not approve moving forward with a MSO
              20 at all.
              21           80.   Outside counsel for Borrego Health attended the next meeting of the
              22 full Borrego Health board. The Board took no action while they were in the
              23 meeting. On or about December 11, 2015, Mikia Wallis told outside counsel that
              24 “the Finance Committee” was reviewing the issue and she would get back to the
              25
              26   1
                  This experience of the full Board rejecting his proposal likely influences
              27 subsequent actions by Bruce Hebets and others to avoid taking issues to the Board
              28 again and instead reach deals among Bruce Hebets and the Borrego Insiders.

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               1 lawyers. Mikia Wallis told outside counsel that the issue was put off until the next
               2 Board meeting on December 17, 2015. Outside counsel was prepared to attend that
               3 meeting. However, on December 16, 2015, Mikia Wallis called one of the outside
               4 lawyers and said something to the effect of “it appears we will not need you after
               5 all.”
               6         81.   On December 26, 2015, one of the outside counsel lawyers sent an
               7 email to Mikia Wallis asking if she needed anything more on the MSO issue. Mikia
               8 Wallis falsely said that the Borrego Health decided not to move forward with the
               9 MSO plan. In fact, the MSO plan was going forward, albeit in a modified form.
              10               iii.   The Borrego Health Insiders Enter Into a Management
              11                      Services Agreement on Borrego Health’s Behalf Anyway
              12         82.   Notwithstanding the full Board’s rejection of the very idea of an MSO
              13 and unbeknownst to Borrego Health, on March 1, 2016, Bruce Hebets and Premier
              14 executed a Management Services Agreement for Borrego Health’s contract dental
              15 program (“Dental MSA”). None of the Borrego Insiders ever brought the Dental
              16 MSA to Borrego Health’s full Board for consideration or approval. Instead, the
              17 Borrego Insiders negotiated the terms of the arrangement with Premier and Mikia
              18 Wallis drafted the Dental MSA. The Borrego Insiders then proceeded to enter into
              19 the agreement on Borrego Health’s behalf, without any notice whatsoever to the full
              20 Board (whom they knew had already rejected the proposal). A true and correct copy
              21 of the Dental MSA is attached hereto as Exhibit A.
              22         83.   Pursuant to the terms of the Dental MSA, Borrego Health was to pay
              23 Premier $5 per participating patient visit to any contract dentist for the first 8,000
              24 visits, then $25 per participating patient visit thereafter. In return, Premier agreed to
              25 provide the services to Borrego Health, including without limitation provider
              26 contracting (marketing and negotiating) and relations, claims management and
              27 processing (including “scrubbing” the contract dental claims for documentation
              28 errors or inconsistencies and ensuring claims are in such a format as Borrego Health

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               1 may bill and submit to DHCS), management information system, quality
               2 management, patient management, reporting, and other general administrative
               3 services.
               4         84.    The Dental MSA underwent two amendments – Amendment 1 and
               5 Amendment 2. The Premier Defendants were able to manipulate and control
               6 Borrego Health to such a degree that there were able to take what was an already
               7 unreasonable, one-sided agreement and amend it to make it even more unreasonable
               8 and one-sided, without offering anything in return. The first Amendment was
               9 effective on or about December 22, 2016 (“Amendment 1”) and the second on or
              10 about July 1, 2017 (“Amendment 2”). A true and correct copy of Amendment 1 is
              11 attached herein as Exhibit B. A true and correct copy of Amendment 2 is attached
              12 herein as Exhibit C.
              13         85.    Amendment 1 of the Dental MSA was signed again by Bruce Hebets
              14 and Daryl Priest. Amendment 1 amended the term of the Dental MSA to extend for
              15 the five year period beginning January 1, 2017, subject to an automatic renewal of
              16 five years. Amendment 1 also removed provision 3.B. from the Dental MSA which
              17 permitted Borrego Health to terminate the Dental MSA without cause. Amendment
              18 1 was completely one-sided to the benefit of Premier, and Borrego Health received
              19 no additional consideration. The Borrego Insiders negotiated the terms of
              20 Amendment 1 to the Dental MSA, Mikia Wallis drafted it, and the Borrego Insiders
              21 entered into Amendment 1 to the Dental MSA on Borrego Health’s behalf, without
              22 any notice whatsoever to the full Board.
              23         86.    Amendment 2 of the Dental MSA was signed by Mikia Wallis as
              24 “Executive Vice President” of Borrego and Daryl Priest. Amendment 2 to the
              25 Dental MSA changed the compensation provisions of the original Dental MSA. As
              26 a result, Amendment 2 obligated Borrego Health to pay Premier $25 per visit,
              27 starting at the first visit rather than the previous term of $5 per visit for the first
              28 8,000 visits. Amendment 2 did not obligate Premier to perform any additional

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               1 services in exchange for increasing their payment fivefold. In essence, Amendment
               2 2 conferred a benefit (worth $160,000) to Premier without any corresponding
               3 consideration to Borrego Health. Again, Amendment 2 was completely one-sided to
               4 the benefit of Premier, and Borrego Health received no additional consideration.
               5 The lack of consideration and other reasons makes Amendment 2 unenforceable,
               6 and the Premier Defendants must return the overpaid funds. The Borrego Insiders
               7 negotiated the terms of Amendment 2 to the Dental IPA, Mikia Wallis drafted it,
               8 and the Borrego Insiders entered into Amendment 2 to the Dental IPA on Borrego
               9 Health’s behalf, without any notice whatsoever to the full Board.
              10        87.    The Dental MSA and Amendments should have been provided to the
              11 Board for review and approval, but that was avoided by the Borrego Insiders.
              12        88.    On September 8, 2017, Bruce Hebets and Daryl Priest entered into
              13 another Management Services Agreement – this time for Borrego’s Contract
              14 Medical Program (“Medical MSA”). Another of Daryl Priest’s companies, Summit
              15 Healthcare Management, Inc. (which has subsequently been merged into Premier),
              16 agreed to provide services similar to Premier’s obligations under the Dental MSA.
              17 The terms of the Medical MSA required Borrego Health to pay $25 per patient visit
              18 to Summit in exchange for the management services provided. The Borrego
              19 Insiders negotiated the terms of the arrangement with Premier, Mikia Wallis drafted
              20 the agreement and the Borrego Insiders entered into the agreement on Borrego
              21 Health’s behalf, without any notice whatsoever to the full Board. A true and correct
              22 copy of the Medical MSA is attached herein as Exhibit D.
              23        89.    As part of both the Dental MSA and Medical MSA, Premier and
              24 Summit, through Daryl Priest, represented that they had the skill and experience
              25 necessary to fulfill their obligations under the Dental MSA and Medical MSA.
              26 Specifically, among other things, they represented they had skilled clinical providers
              27 to review and evaluate the claims.
              28

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               1         90.   As part of the Dental MSA and corresponding Amendments, Premier
               2 Defendants represented to Borrego Health that it was qualified and competent to
               3 provide necessary administrative and management services for a FQHC. The
               4 Premier Defendants further represented they would comply with all guidelines, laws
               5 and regulations governing transactions and security of electronic health records and
               6 other patient information. The Premier Defendants further represented they would
               7 both maintain and allow auditing of all bills generated which related to dental
               8 services provided under any agreement between Borrego Health and a contract
               9 dental provider.
              10         91.   Exhibit “A” to the Dental MSA further outlines that Premier
              11 Defendants represented that they would market and negotiate new contract dental
              12 agreements for the benefit of Borrego Health, provide ongoing education and
              13 training to contract dental service providers and their staff, and address contract
              14 dental service provider eligibility and claims inquiries. The Premier Defendants
              15 represented, among other things: (1) that they would obtain information from the
              16 contract dental providers to insure Borrego Health had all information that was
              17 required in order to properly and correctly bill Medi-Cal for such claims, (2) that
              18 they would monitor the claims, bills and payments to dentists to the benefit of
              19 Borrego Health to ensure compliance with all applicable statutes, regulations and
              20 laws, (3) that they would provide ongoing education to contracted dental providers
              21 to ensure compliance with Borrego Health policies and procedures, (4) regarding
              22 patient eligibility, that they would actively track whether or not the services
              23 rendered were eligible for reimbursement for each participating patient, and (5) that
              24 they would, for the benefit of Borrego Health, perform both short and long-term
              25 financial and strategic planning, and manage Borrego Health’s relationship with
              26 applicable regulatory agencies.
              27         92.   As part of the Medical MSA, the Premier Defendants represented they
              28 would comply with all guidelines, laws and regulations governing transactions and

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               1 security of electronic health records and patient information. Premier Defendants
               2 further represented that they would provide any and all necessary staff, information
               3 systems, and support services needed to perform the services outlined in the Medical
               4 MSA. The Premier Defendants represented, among other things: (1) that they would
               5 provide ongoing education to contracted providers to ensure compliance with
               6 Borrego Health policies and procedures, (2) that they would obtain information from
               7 contracted providers necessary for Borrego Health to properly bill for such claims,
               8 (3) that they would monitor claims, billing and payment for contracted providers to
               9 ensure Borrego Health’s billing practices were compliance with applicable law, (4)
              10 as part of monitoring claims, that they would validate the eligibility and
              11 completeness of the claims submitted, and (5) that they would assist Borrego Health
              12 in verifying the credentials of healthcare providers requesting to partner with
              13 Borrego Health.
              14        93.    The Premier Defendants did not perform the obligations set forth in the
              15 Dental MSA and Medical MSA.
              16        94.    At the time the Premier Defendants made these representations, they
              17 knew they lacked the knowledge, experience and skill to do these things, and that
              18 they would not be able to fulfill these promises. Accordingly, the Premier
              19 Defendants did not intend to perform these promises.
              20        95.    At the time the Premier Defendants made these representations, they
              21 knew these representations were false or had no reasonable grounds for believing
              22 the representations to be true.
              23        96.    Payment to the dentists was typically initiated within 24 hours of
              24 receiving a bill from the dentists, and well before any payment had been made by
              25 Medi-Cal. Further, the payments from Borrego Health to the dentists were not
              26 recouped by Premier if Medi-Cal never paid Borrego Health.
              27
              28

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               1               iv.   The Borrego Insiders Concealed the Premier Scheme from
               2                     Borrego Health
               3        97.    The Borrego Insiders concealed the Dental MSA, along with
               4 Amendment 1 and Amendment 2 thereto, and the Medical MSA from the full
               5 Borrego Health Board. In fact, in August 2017, when the Borrego Insiders met to
               6 discuss expanding Borrego Health’s relationship with Premier (or another Daryl
               7 Priest entity) to manage Borrego Health’s nascent contract medical program, the
               8 Borrego Insiders (in a recorded conversation) acknowledge that they intentionally
               9 kept the 2016 Dental MSA from the full Board and that they intended to do the same
              10 with any future arrangement (which turned out to the Medical MSA).
              11        98.    At a meeting of Borrego Insiders on August 31, 2017, Chuck Kimball
              12 asked with respect to the contemplated Medical MSA with the Premier Defendants,
              13 “…can we just do that in the Executive Committee [i.e. Borrego Insiders only],
              14 because I can think of a couple of people that are going to object to that.” Indeed,
              15 the Board had already rejected prior efforts for a dental MSO. Because the Borrego
              16 Insiders knew that non-Borrego Insiders would object, the Borrego Insiders
              17 ultimately chose to conceal it from the rest of Borrego Health. After Chuck Kimball
              18 asked his question, the following discussion took place (emphasis added):
              19        BRUCE HEBETS: I guess the way I would answer that is, does this
                        Committee want me to take this to the Board? Or does it feel comfortable
              20        enough without it?
              21        MIKE HICKOK: Take what specifically?
              22
                        CHUCK KIMBALL: The idea?
              23
                        BRUCE HEBETS: The idea of working with Daryl on the contract.
              24
                        CHUCK KIMBALL: I think they should be advised about it. I don't know if
              25        it's a up or down, we do it or don't do it. But I think --
              26        BRUCE HEBETS: It could be handled however this Committee wants. I can
              27        take this to the Board as an up-or-down decision, or just an advisement -- by
                        the way, we are doing this.
              28

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               1       CHUCK KIMBALL: I'm wondering if we can get away with doing --
                       literally, get away with not explaining the details, but saying we are now
               2       moving forward on adding Contract Medical to the Contract Dental load that
               3       we have, and it should be a great deal and all that sort of thing. If you don't
                       have to go into details, and nobody says, "Well, who's going to run it?"
               4
                       BRUCE HEBETS: That's fine.
               5
                       CHUCK KIMBALL: Then, are we in trouble there with (indiscernible) at all?
               6       An idea?
               7       MIKIA WALLIS: No. I believe that's already part of the strategic plan, so I
               8       don't know if that report even needs approval. But just as a, you know,
                       operational FYI.
               9
                       CHUCK KIMBALL: An operational FYI is probably -- then I think there
              10       wouldn't be any problem presenting it. I think, in my mind, but Dennis and
                       Mike?
              11
                       MIKE HICKOK: I don't think the Board approved Daryl in the first place.
              12
              13       CHUCK KIMBALL: I think you're right.

              14       MIKE HICKOK: I don't recall ever being asked. I mean, we discussed it.
              15       CHUCK KIMBALL: I think that was a slam dunk thing. It just happened,
                       didn't it?
              16
                       DENNIS NOURSE: I think what was discussed was, was it going to be your
              17       participation.
              18       [OVERLAPPING SPEAKERS]
              19
                       DENNIS NOURSE: It might come as a surprise to some to know that Daryl is
              20       out there doing this. That was never a part of the vote. And neither should be
                       Contract Medical.
              21
                       BRUCE HEBETS: The opportunity I put together -- trust me, I really wish
              22       that I had a piece of it, or that I received some kind of commission on it.
              23       MIKE HICKOK: Don't we all.
              24
                       BRUCE HEBETS: Because this is going to be off the (indiscernible) -- is still
              25       the only MSO that exists in the country doing this.
              26       DENNIS NOURSE: Can we make that a conditional approval by the --
              27       [OVERLAPPING SPEAKERS]
              28

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               1        CHUCK KIMBALL: I was thinking, we are going to retire, like you and I.
                        We could retire and draw a little salary.
               2
                        MIKIA WALLIS: None of this goes in the minutes.
               3
               4        [OVERLAPPING SPEAKERS]

               5        BRUCE HEBETS: If you were to analyze (indiscernible), he's at like $14- or
                        $15 million a year revenue.
               6
                        HARRY ILSLEY: Chuck?
               7
                        CHUCK KIMBALL: Yeah?
               8
                        HARRY ILSLEY: As I remember, and Bruce, you can correct me if I'm
               9        wrong, but when we first talked about, regarding Daryl, we got approval
              10        through the Executive Committee only. We did not take that to the Board.
              11        CHUCK KIMBALL: I believe you're right.
              12        HARRY ILSLEY: That's the same with Contract Dental. That was not
                        approved by the Board. That was approved by the Executive Committee. So, I
              13        don't think you need to take this matter to the Board. I think the Executive
              14        Committee can approve it and go from there on it.

              15        MIKE HICKOK: And Harry, I agree with you; it wouldn't be an up or down
                        decision to the Board, but how about just advising them that this is going to
              16        be another program?
              17        HARRY ILSLEY: And that's what we did before. We just advised them what
                        we had done.
              18
              19        99.    Ultimately, the Borrego Insiders determined that Bruce Hebets would
              20 “share with the board [his] thoughts of going into contract medical, and just leave it
              21 at that.” And ultimately, the Borrego Insiders only told the full Board that they were
              22 expanding into “contract medical.” The Borrego Insiders continued to conceal that
              23 there was a third party involved.
              24        100. At the August 30, 2017 Borrego Health Board meeting, the minutes
              25 reflect that “Borrego Health will be pursuing a contract medical program,” along
              26 with the notation “Information only.”
              27        101. Mike Hickock would present monthly financial reports at each Board
              28 meeting. At its highest, the compensation paid to Premier was $20 million in fiscal

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               1 year 2019. During fiscal year 2020, Borrego Health paid $18.15 million to Premier.
               2 However, despite Premier being Borrego Health’s highest paid vendor, Mike
               3 Hickok failed to mention the arrangement in his reports.
               4        102. It was not until the summer of 2020 that Borrego Health board
               5 members other than the Borrego Insiders became aware of the arrangement.
               6        103. By email on or about July 23, 2020, Borrego Insider Mike Hickok
               7 admitted, “As long as I have been on the board our dealings with them [Premier]
               8 have been secretive mysterious and above all off limits to board members.” Mike
               9 Hickok’s email went on to report the basic terms of the Dental MSA and Medical
              10 MSA (along with the total fees paid to Premier the prior year), demonstrating that he
              11 was familiar with the arrangement and its terms. The email also admitted that,
              12 among other things, the Dental MSA and Medical MSA were never approved by the
              13 full Borrego Health Board, were never put out for competitive bidding, and were
              14 never reported on 990 forms. Mike Hickok also stated that the arrangement with
              15 Premier “was hardly the extent of [Borrego Health’s] involvement with the
              16 principals of Premier Healthcare” and that “no board member has ever seen the
              17 agreement or any other financial documents relating to this entity.” Mike Hickok
              18 did not explain why, since he knew about these arrangements, he had never raised
              19 them prior to this time. Mike Hickok acknowledged “I have a fiduciary
              20 responsibility…” and that “each and every Board member can potentially be held
              21 accountable legally and financially for allowing an improper (and perhaps illegal)
              22 relationship to continue.”
              23               v.    The Damages Suffered by Borrego Health Due to the
              24                     Premier Scheme
              25        104. Following the discovery of the Dental MSA and Medical MSA and the
              26 relationship with Premier by the full Borrego Health Board, Borrego Health retained
              27 a valuation expert to determine the maximum fair market value of the services
              28 Premier provided to Borrego Health, if those services were valuable at all.

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               1        105. The valuation, conducted by BKD, determined that the fair market
               2 value of the contract dental services Premier was supposed to perform totaled $19
               3 million over the term of the Dental MSA (at that point). However, Borrego Health
               4 paid over $60 million for those services, meaning the Borrego Health overpaid by at
               5 least $40 million. The fair market value of the contract medical services was
               6 $145,000 over the term of the Medical MSA (at that point). Borrego Health paid
               7 over $383,000 for those services, meaning the Borrego Health overpaid by over
               8 double, or around $238,000. Moreover, neither of these valuations take into account
               9 the various breaches of contract set forth herein, which would reduce the value of
              10 the services.
              11        106. The Dental MSA provides, in pertinent part, that Premier shall “defend,
              12 indemnify and hold Borrego Health free and harmless from any obligations, costs,
              13 claims, judgments, attorney’s fees, or attachments arising from Premier’s negligence
              14 in the performance of the services contemplated under this Agreement.” (See
              15 Exhibit A, Section 6.) The Medical MSA states that Summit (now Premier) “shall
              16 defend, indemnify and hold Borrego Health, its officers, employees and agents
              17 harmless from and against any and all liability, loss, expense (including reasonable
              18 attorney’s fees) or claims for injury or damages arising out of the performance of
              19 this Agreement.” (See Exhibit D, Section 8.)
              20        107. Borrego Health provided notice of Premier’s indemnification
              21 obligation, but Premier has not provided any financial support.
              22        108. Separate and distinct from Premier’s contractual duty to indemnify
              23 Borrego Health, Premier is also obligated to indemnify Borrego Health under equity
              24 principles, if either agreement were not enforceable. “Equitable indemnity applies
              25 in cases in which one party pays a debt for which another is primarily liable and
              26 which in equity and good conscience should have been paid by the latter
              27 party.” United Services Auto. Ass’n v. Alaska Ins. Co. (2001) 94 Cal. App. 4th 638,
              28 644-645 (emphasis added); see also Prince v. Pacific Gas & Elec. Co. (2009) 45

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               1 Cal. 4th 1151, 1163. As such, even if Premier were not contractually bound to
               2 indemnify Borrego Health, it still owes Borrego Health a duty of indemnification.
               3 See Crawford v. Weather Shield Mfg., Inc. (2008) 44 Cal. 4th 541, 551
               4 (“[C]ontractual promise to ‘defend’ another against specified claims clearly
               5 connotes an obligation of active responsibility, from the outset, for the promisee’s
               6 defense against such claims. The duty promised is to render, or fund, the service of
               7 providing a defense on the promisee’s behalf—a duty that necessarily arises as soon
               8 as such claims are made against the promisee, and may continue until they have
               9 been resolved.” [emphasis added]); Civil Code § 2778. As such, Premier is under
              10 an obligation to cover the expense of Borrego Health’s defense against any claims
              11 subject to the Dental MSA and Medical MSA.
              12        109. On information and belief, the Borrego Insiders were compensated for
              13 this access and control through kickbacks or other payments or remuneration. As
              14 Bruce Hebets stated at an August 31, 2017 meeting of the Borrego Insiders, “we’ve
              15 already made Daryl rich, but Daryl has made us richer.”
              16        C.     Certain Contract Dentists Submitted Fraudulent Bills with the
              17               Knowledge and Support of Premier and the Borrego Insiders (the
              18               “Fraudulent Dental Billing Scheme”)
              19        110. Based on both Medi-Cal and Borrego Health’s billing and payment
              20 structure, some of the dentists were also motivated to provide as many services to
              21 Borrego Health patients as possible, in some instances even where the services were
              22 not medically unnecessary. Even more egregious, some dentists split services that
              23 could have been done in one encounter to multiple encounters so that they could
              24 collect multiple times. More egregious than that, some dentists provided multiple
              25 services during a single encounter, but billed the services as multiple encounters.
              26 Finally, most egregious of all, some dentists billed for services they never provided.
              27
              28

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               1         111. Unbeknownst to Borrego Health, certain contract dentists and dental
               2 practices, Premier and the Borrego Insiders schemed to maximize their profits at the
               3 expense of the Medi-Cal program and Borrego Health. Since the dentists were paid
               4 on a “per encounter” basis, certain contract dentists, with the knowledge and support
               5 of Premier and the Borrego Insiders, among other things (1) provided services were
               6 not medically unnecessary, (2) split services that could have been done in one
               7 encounter to multiple encounters so that they could collect multiple times, (3)
               8 provided multiple services during a single encounter, but billed the services as
               9 multiple encounters, and/or (4) billed for services they never provided. This scheme
              10 is detailed below.
              11         112. Under the Dental MSA, Premier was responsible for claims monitoring,
              12 which involved review of claims received by contract dental providers to ensure that
              13 claims were compliant with federal and state regulation prior to submission to
              14 Borrego Health for final submission to Medi-Cal for payment. Prior to the Program
              15 Integrity implementation (discussed below), Borrego Insider Karen Hebets had
              16 responsibility for billing audits and identifying billing discrepancies.
              17         113. Under the Dental MSA, Premier was also responsible for implementing
              18 quality management measures to address patient grievances, audit and survey
              19 contract dental providers and provide Borrego Health with the findings of such
              20 surveys and audits, and provide education and training to contract dental providers
              21 who did not meet the requirements under the quality measures implemented.
              22         114. The Premier Defendants completely abdicated their responsibilities
              23 under the Dental MSA, because effective performance would have undermined the
              24 scheme to facilitate contract dentists overbilling Borrego Health for services. The
              25 Premier Defendants understood that the more claims that were submitted benefitted
              26 the Premier Defendants, because Premier was compensated by Borrego Health
              27 based on the volume of claims.
              28

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               1          115. While it is true that the Premier Defendants were derelict in their
               2 duties, their conduct went much further. The Premier Defendants actively supported
               3 the fraud described below. On information and belief, the Premier Defendants
               4 coached dentists on how to fraudulently bill Borrego Health, including coaching
               5 them on “claim splitting” and fraudulently billing for non-covered bridges.
               6          116. Dentists were paid on a per-encounter basis, so in the event that a
               7 dentist performed multiple procedures in one encounter, they were still paid for one
               8 encounter. On information and belief, the Premier Defendants coached dentists to
               9 split these claims, i.e., bill one encounter on the day it occurred and the next day, so
              10 that the dentist could get paid for both. This is a fraud on Borrego Health and on the
              11 government. It is clear from the following paragraphs that the dentists took this
              12 practice to the extreme, sometimes billing for dozens of patient visits for one patient
              13 in a single month.
              14          117. Another way the Dentist Defendants, supported by the Premier
              15 Defendants and Borrego Insiders, submitted false and fraudulent bills was through
              16 improper billing for bridges. Dental bridges literally bridge a gap for a missing
              17 tooth. A connected bridge covers both sides of the teeth next to the missing tooth to
              18 hold a false tooth in the missing spot. A bridge is generally not covered by Medi-
              19 Cal. To avoid this non-coverage, on information and belief, the Premier Defendants
              20 coached dentists to bill for three crowns – one for missing tooth and one for each
              21 tooth beside it – instead of billing for a bridge, and to bill three separate encounters.
              22 In this way, rather than billing for one non-covered service (and one visit), the
              23 dentist falsely documented three covered services and fraudulently billed for all
              24 three.
              25          118. Premier routinely approved of services that could not have possibly
              26 occurred. Dentists were required to upload a progress note and an x-ray for Borrego
              27 Health to pay the dentists for certain claims. Borrego Health has also identified
              28 dozens of examples in which x-rays clearly demonstrate that the claimed service

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               1 could not have occurred (e.g., because the x-ray submitted to Premier shows that the
               2 tooth supposedly receiving the service is no longer in the mouth of the patient), yet
               3 employees from Premier still signed their names to approve the services.
               4               i.     Husam E. Aldairi, D.D.S.
               5         119. On or about May 27, 2016 and May 29, 2018, Husam Aldairi, D.D.S.,
               6 both individually and through his company Aldairi DDS, Inc. (collectively,
               7 “Aldairi”) entered into written dental services agreements (the “Aldairi
               8 Agreements”) whereby Aldairi agreed to provide primary dental services to
               9 participating Borrego Health patients, and Borrego Health agreed to pay Aldairi for
              10 those services. A true and correct copy of the 2016 Aldairi Agreement is attached
              11 herein as Exhibit E, and a true and correct copy of the 2018 Aldairi Agreement is
              12 attached herein as Exhibit F.
              13         120. Among other things, the Aldairi Agreements required that Aldairi
              14 practice dentistry in accordance with all Federal, State and local laws, regulations,
              15 and generally accepted principles applicable to the practice of dentistry, and to
              16 prepare, establish, and maintain administrative records, financial records, records
              17 pertaining to patient diagnosis and treatment, and information pertaining to the
              18 services provided.
              19         121. Aldairi submitted false and fraudulent bills and made other statements
              20 which Aldairi knew to be false or had no reasonable grounds for believing their
              21 representations were true, which also constitute a breach of the Aldairi
              22 Agreement. A non-exhaustive list of examples is set forth below. The below
              23 examples are demonstrative of a larger pattern and practice of fraudulent and/or
              24 unlawful conduct.
              25         122. On May 21, 2020, the Executive Officer of the Dental Board of
              26 California (the “Dental Board”), Karen M. Fischer, issued an Accusation against
              27 Husam Aldairi alleging Husam Aldairi, dating back to December 2016, committed
              28 gross negligence, “repeated acts of professional negligence,” and failed to properly

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               1 document patient treatment, surgical procedures, diagnosis, and clinical findings.
               2 The Accusation sought to revoke or suspend Husam Aldairi’s dentist license to
               3 practice in California.
               4        123. On May 25, 2021, the Dental Board and Husam Aldairi agreed to a
               5 Stipulated Settlement and Disciplinary Order in which Husam Aldairi “voluntarily,
               6 knowingly, and intelligently waive[d] and [gave] up” his legal rights, including a
               7 right to hearing on the charges and allegation. Under the order, Husam Aldairi’s
               8 dental license to practice in California was revoked, but the revocation was stayed
               9 pending a two-year probationary period. The Dental Board adopted the order,
              10 effective June 24, 2021.
              11        124. Husam Aldairi never informed Borrego Health of the ongoing Dental
              12 Board investigation on his license or the issued Accusation.
              13        125. Husam Aldairi’s failure to inform Borrego Health of the ongoing
              14 Dental Board investigation on his license or the issued Accusation, made the First
              15 Agreement subject to suspension until the Dental Board issued its final
              16 determination on April 29, 2021.
              17        126. Husam Aldairi’s failure to inform Borrego Health of the ongoing
              18 Dental Board investigation on his license or the issued Accusation, made the Second
              19 Agreement subject to suspension until the Dental Board issued its final
              20 determination on April 29, 2021.
              21        127. In September 2020, Borrego Health conducted a compliance re-audit of
              22 Husam Aldairi. Husam Aldairi had failed his prior audit with Borrego Health, but
              23 Borrego Health provided Husam Aldairi another opportunity to obtain compliance
              24 with Borrego Health’s policies. Borrego Health even offered Husam Aldairi one-
              25 on-one compliance trainings. For the September 2020 audit, out of the sampled
              26 dental record documents pulled for his private practice at the San Diego location,
              27 none of them met the documentation requirements under the Aldairi Agreements
              28 and Borrego Health’s policies for contract dental providers. Out of the sampled

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               1 dental record documents pulled for Aldairi DDS, Inc. at the El Cajon location, only
               2 three out of 30 claims met the documentation requirements under the Aldairi
               3 Agreements and Borrego Health’s policies for contract dental providers.
               4        128. The results of Borrego Health’s audit from September 2020 of Husam
               5 Aldairi indicated that Husam Aldairi had clearly violated the terms of the Aldairi
               6 Agreements by his actions, including but not limited to: (1) billing excessive patient
               7 visits, including falsifying appointment schedules; (2) failing to maintain adequate
               8 documentation to support billing; (3) falsification of medical records; (4) performing
               9 services that lacked medical necessity; (5) providing services that fell below the
              10 standard of care; (6) providing excessive services; and (7) generating inaccurate
              11 billing records, including billing for services not rendered, upcoding, inappropriately
              12 splitting services, and billing for services rendered by another provider and/or
              13 providers not enrolled in Medi-Cal.
              14        129. For example, patient charts with Husam Aldairi demonstrated in
              15 multiple instances that patients presented to his office on several consecutive days to
              16 receive dental services, however, patient scheduling did not support such frequent
              17 visits. In some instances, patient charts would have notes for services rendered on
              18 days in which Husam Aldairi’s offices were closed.2 Program Integrity calculated a
              19 65% rate of potentially falsely billed appointments (meaning no face-to-face
              20 encounter). As an example, the audit found that there were notes written and
              21 procedures billed by Husam Aldairi indicating that a face-to-face visit occurred on
              22 dates when the office was closed for the Thanksgiving holiday.
              23
              24
              25   2
                   To protect patient private health information (“PHI”) as well as personally
              26 identifiable information (“PII”), the names of the patients in the examples
                 throughout the complaint will not be included. The specific patient examples are
              27 already available to the Dentist Defendants, as they maintain custody of the patient
              28 charts

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               1         130. Further examples include: (1) on or about June 2020, a patient in which
               2 Husam Aldairi billed Borrego Health for telehealth and emergency dental services
               3 completely absent from the patient’s chart; (2) on or about July 2019, Husam
               4 Aldairi’s office billed Borrego for several crowns when x-rays demonstrated a
               5 bridge had been placed on the patient; (3) on or about May 2019, Husam Aldairi
               6 billed Borrego Health for a partial denture which was never prepared; and (4) on or
               7 about February 2020, Husam Aldairi billed Borrego Health as though a patient’s
               8 root canal was completed over the course of several visits, when x-rays
               9 demonstrated it was completed in one visit. Dr. Aldairi billed Borrego for patient
              10 visits that either did not occur or that were provided by providers that were not
              11 disclosed to or credentialed by Borrego Health. One example of extreme excess
              12 billing occurred on July 22, 2019. Dr. Aldairi billed Borrego Health for 147 patient
              13 visits that he claimed occurred that day.
              14         131. In October 2019, Dr. Aldairi billed 15 different encounters for a single
              15 patient, despite the fact that there are only 23 business days in October. In May
              16 2020, Dr. Aldairi billed 16 different encounters to a single patient, despite only
              17 having 21 business days in that month. Further, in June 2020, one of Dr. Aldairi’s
              18 subproviders billed 18 different encounters during the month of June 2020. That
              19 same subprovider then billed 34 different encounters for a single patient from the
              20 time period of May 2020 to June 2020. Again, Premier did not flag these bills and
              21 took no steps to counsel or discipline this dentist.
              22         132. In addition to the above, Aldairi hired Maura Tuso in September 2017
              23 to work as a dentist at his dental practice. Dr. Tuso was employed by Dr. Aldairi
              24 from September 2017 to January 2018. During the time Dr. Tuso worked for
              25 Aldairi, Dr. Tuso was suspended from providing dental services to Medi-Cal
              26 patients. Aldairi was aware that Dr. Tuso was suspended at the time Aldairi hired
              27 Dr. Tuso. Nevertheless, Aldairi allowed Dr. Tuso to see Borrego Health patients
              28 and bill Borrego Health for the services Dr. Tuso provided to Medi-Cal patients.

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               1        133. Aldairi also hired other dental providers, in addition to Dr. Tuso, who
               2 lacked California dental licenses to provide dental services to Borrego Health
               3 patients. Upon information and belief, Aldairi billed Borrego Health for the services
               4 that unlicensed dental providers provided to Medi-Cal patients.
               5        134. As a result of Aldairi’s conduct, Borrego Health paid Aldairi and/or for
               6 services which were not rendered, that were provided by other physicians, and/or
               7 services which were provided during a period of time where the parties’ agreements
               8 would have otherwise been suspended or terminated.
               9               ii.   Ayed Hawatmeh, D.D.S.
              10        135. On or about October 18, 2017, Ayed Hawatmeh, D.D.S., both
              11 individually and through his company Hawatmeh Dental Group, P.C. (collectively
              12 “Hawatmeh”) entered into a written dental services agreement (the “Hawatmeh
              13 Agreement”) whereby Hawatmeh agreed to provide primary dental services to
              14 participating Borrego Health patients, and Borrego Health agreed to pay Hawatmeh
              15 for those services. A true and correct copy of the Hawatmeh Agreement is attached
              16 herein as Exhibit G.
              17        136. Among other things, the Hawatmeh Agreement required that
              18 Hawatmeh practice dentistry in accordance with all Federal, State and local laws,
              19 regulations, and generally accepted principles applicable the practice of dentistry,
              20 and to prepare, establish, and maintain administrative records, financial records,
              21 records pertaining to patient diagnosis and treatment, and information pertaining to
              22 the services provided.
              23        137. Hawatmeh submitted false and fraudulent bills and made other
              24 statements which Hawatmeh knew to be false or had no reasonable grounds for
              25 believing their representations were true, which also constitute a breach of the
              26 Hawatmeh Agreement. A non-exhaustive list of examples is set forth below. The
              27 below examples are demonstrative of a larger pattern and practice of fraudulent
              28 and/or unlawful conduct.

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               1         138. Hawatmeh routinely employed the scheme, described above, whereby
               2 he would bill for several crowns instead of a single, non-covered bridge. For
               3 example, on or about February 2018, Hawatmeh billed Borrego Health for several
               4 crowns were placed over the course of several days when documentation indicated a
               5 single bridge was used.
               6         139. Hawatmeh also billed for services that the x-rays he submitted to
               7 Premier to get his claim approved clearly demonstrate could not have possibly
               8 occurred. For example, on or about May and June of 2018, Hawatmeh billed
               9 Borrego Health for services performed on a tooth the patient no longer had at the
              10 time of service. On or about May 2017, Hawatmeh billed Borrego Health for
              11 preparing a tooth for a crown, which requires shaving down the tooth. However, x-
              12 rays clearly demonstrate that tooth had an implant in that spot, meaning there was
              13 no natural tooth for Hawatmeh to prepare to receive a crown.
              14               iii.   Alborz Mehdizadeh, D.D.S.
              15         140. On September 28, 2016 and December 11, 2018, Alborz Mehdizadeh,
              16 both individually and through his company Alborz Mehdizadeh, Inc. (collectively,
              17 “Mehdizadeh”) entered into written dental services agreements (the “Mehdizadeh
              18 Agreements”) whereby Mehdizadeh agreed to provide primary dental services to
              19 participating Borrego Health patients, and Borrego Health agreed to pay
              20 Mehdizadeh for those services. A true and correct copy of the 2016 Mehdizadeh
              21 Agreement is attached herein as Exhibit H, and a true and correct copy of the 2018
              22 Mehdizadeh Agreement is attached herein as Exhibit I.
              23         141. Among other things, the Mehdizadeh Agreements required that
              24 Mehdizadeh practice dentistry in accordance with all Federal, State and local laws,
              25 regulations, and generally accepted principles applicable to the practice of dentistry,
              26 and prepare, establish, and maintain administrative records, financial records,
              27 records pertaining to patient diagnosis and treatment, and information pertaining to
              28 the services provided.

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               1         142. Mehdizadeh submitted false and fraudulent bills and made other
               2 statements which Mehdizadeh knew to be false or had no reasonable grounds for
               3 believing their representations were true, which also constitute a breach of the
               4 Mehdizadeh Agreements. A non-exhaustive list of examples is set forth below. The
               5 below examples are demonstrative of a larger pattern and practice of fraudulent
               6 and/or unlawful conduct.
               7         143. Dr. Mehdizadeh billed Borrego Health for patient visits that either did
               8 not occur or that were provided by a providers that were not disclosed to or
               9 credentialed by Borrego Health. For example, he billed for 146 patient visits he
              10 claimed to have performed on Saturday, November 16, 2019.
              11         144. From the period of October 23, 2018 to February 5, 2019, Dr.
              12 Mehdizadeh purportedly performed—and billed for—29 surgical extractions on one
              13 patient. There are two methods for extractions: simple extraction (pull the tooth) or
              14 surgical extractions (cut the gum). At the outset, it is unlikely a patient would ever
              15 need 29 surgical extractions (as opposed to simple extractions). Further, even if this
              16 were the case, this would never occur in 29 different sittings. For surgical
              17 extractions, the area around the extraction site is numb and the gum is cut open to
              18 allow for the extraction. The standard practice when surgically extracting several
              19 teeth is to numb and extract several teeth within the same quadrant. Instead, Dr.
              20 Mehdizadeh’s billing practices indicate one patient came in for 29 surgical
              21 extractions over a six month period. If these extractions occurred at all, one can
              22 only hope that this is a fraudulent billing practice, rather than grotesquely
              23 substandard care to subject a patient to this treatment.
              24         145. Dr. Mehdizadeh further submitted duplicate bills in order to receive
              25 reimbursement for the same services multiple times. For example:
              26             On April 2, 2018, Patient 1 received dental services under Dental Code
              27               D2392 for tooth number 14, which involves adding a resin based
              28               composite to the tooth. Dr. Mehdizadeh submitted bills for this service

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               1               on both April 26, 2018 and May 1, 2018. Premier Defendants reviewed
               2               and approved both claims submitted.
               3             On April 4, 2018, Patient 1 also received dental services under Dental
               4               Code D2391 for tooth number 18, which involves adding a resin based
               5               composite to the tooth. Dr. Mehdizadeh submitted bills for this service
               6               on both April 26, 2018 and May 1, 2018. Premier Defendants reviewed
               7               and approved both claims submitted.
               8             On October 31, 2018, Patient 2 received dental services under Dental
               9               Code D2392 for tooth number 15, which involves adding a resin based
              10               composite to the tooth. Dr. Mehdizadeh submitted bills for this service
              11               on both November 8, 2018 and November 30, 2018. Premier
              12               Defendants reviewed and approved both claims submitted.
              13             On August 11, 2018, Patient 3 received dental services under Dental
              14               Code D2391 for tooth number 29, which involves adding a resin based
              15               composite to the tooth. Dr. Mehdizadeh submitted bills for this service
              16               on both August 14, 2018 and April 18, 2019. Premier Defendants
              17               reviewed and approved both claims submitted.
              18         146. On February 24, 2020, Borrego Health conducted a re-audit of Dr.
              19 Medizadeh. Upon arrival, Borrego Health’s auditor, Dr. Elias Koutros, requested a
              20 sample of specific patient charts. Dr. Mehdizadeh’s office informed the auditor that
              21 some charts were unavailable because they were taken out of the office. Of the
              22 charts available, the charts included exact photocopies from periodontal charting in
              23 multiple patient charts. Periodontal charting includes six measurements per tooth.
              24 It is it nearly impossible that multiple patients would have six exactly identical
              25 measurements for all of their teeth. Dr. Koutros indicated to Dr. Medizadeh that he
              26 believed the photocopies constituted fraudulent charting given the lack of change in
              27 status. Dr. Medizadeh did not deny Dr. Koutros’ allegations, and instead informed
              28

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               1 Dr. Koutros that he wanted the audit to go well, so the charting was prepared with
               2 that in mind.
               3                 iv.   Magaly M. Velasquez, D.D.S.
               4         147. On or about November 5, 2014, Magaly M. Velasquez, both
               5 individually and through her company Magaly M. Velasquez DDS, Professional
               6 Dental Corp. (collectively, “Velasquez”) entered into a written dental services
               7 agreement (the “Velasquez Agreement”) whereby Velasquez agreed to provide
               8 primary dental services to participating Borrego Health patients, and Borrego Health
               9 agreed to pay Velasquez for those services. A true and correct copy of the
              10 Velasquez Agreement is attached herein as Exhibit J.
              11         148. Among other things, the Velasquez Agreement required that Velasquez
              12 practice dentistry in accordance with all Federal, State and local laws, regulations,
              13 and generally accepted principles applicable to the practice of dentistry, and prepare,
              14 establish, and maintain administrative records, financial records, records pertaining
              15 to patient diagnosis and treatment, and information pertaining to the services
              16 provided.
              17         149. Velasquez submitted false and fraudulent bills and made other
              18 statements which Velasquez knew to be false or had no reasonable grounds for
              19 believing their representations were true, which also constitute a breach of the
              20 Velasquez Agreement. A non-exhaustive list of examples is set forth below. The
              21 below examples are demonstrative of a larger pattern and practice of fraudulent
              22 and/or unlawful conduct.
              23         150. As part of Borrego Health’s efforts to clean house, it conducted an
              24 audit to evaluate the duplicate claims submitted by Velasquez. The audit found 150
              25 claims were duplicative. For example:
              26              On April 20, 2019, Patient 4 received dental services under Dental
              27                 Code D2392 for tooth number 21, which involves adding a resin based
              28                 composite to the tooth. Dr. Velasquez submitted bills for this service

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               1             on both April 26, 2019 and April 27, 2019. Premier Defendants
               2             reviewed and approved both claims submitted.
               3           On May 28, 2019, Patient 4 also received dental services under Dental
               4             Codes D0220, D0270, and D2751 for teeth numbers 12, 13, and 14.
               5             D0220 is one of the billing codes for initial x-rays, D0270 is the billing
               6             code for single films, and D2751 is the billing code intended for
               7             porcelain crowns. Dr. Velasquez submitted bills for these services on
               8             June 3, 2019 and June 27, 2019. Premier Defendants reviewed and
               9             approved both claims submitted.
              10           On September 17, 2018, Patient 5 received dental services under Dental
              11             Code D2391 for tooth number 21, which involves adding a resin based
              12             composite to the tooth. Dr. Velasquez submitted bills for this service
              13             on both September 18, 2018 and October 10, 2018. Premier
              14             Defendants reviewed and approved both claims submitted.
              15           On July 11, 2018, Patient 6 received dental services under Dental
              16             Codes D2391 and D2392 for tooth number 4, which involves adding a
              17             resin based composite to the tooth. Dr. Velasquez submitted bills for
              18             this service on both July 16, 2018 and July 27, 2018. Premier
              19             Defendants reviewed and approved both claims submitted.
              20           On January 31, 2019, Patient 7 received dental services under Dental
              21             Codes D2391 and D2392 for tooth number 5, which involves adding a
              22             resin based composite to the tooth. Dr. Velasquez submitted bills for
              23             this service twice on February 4, 2019. Premier Defendants reviewed
              24             and approved both claims submitted.
              25           In May 2019, Dr. Velasquez billed Borrego Health as though Patient 8
              26             received dental services 26 days in the month, despite there only being
              27             22 business days in May 2019. Dr. Velasquez then billed Borrego
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               1               Health for 22 visits in June 2019 for that same patient, totaling 48 visits
               2               for the same patient over a two month period.
               3               v.     Aram Arakelyan, D.D.S.
               4         151. On November 17, 2016, November 18, 2018, and November 29, 2018,
               5 Aram Arakelyan, both individually and through his company New Millennium
               6 Dental Group of Aram Arakelyan, Inc. (collectively, “Arakelyan”), entered into
               7 written dental services agreements (the “Arakelyan Agreements”) whereby
               8 Arakelyan agreed to provide primary dental services to participating Borrego Health
               9 patients, and Borrego Health agreed to pay Arakelyan for those services. A true and
              10 correct copy of the 2016 Arakelyan Agreement is attached herein as Exhibit K. A
              11 true and correct copy of the November 18, 2018 Arakelyan Agreement is attached
              12 herein as Exhibit L. A true and correct copy of the November 29, 2018 Arakelyan
              13 Agreements are attached herein as Exhibit M.
              14         152. Among other things, the Arakelyan Agreements required that
              15 Arakelyan practice dentistry in accordance with all Federal, State and local laws,
              16 regulations, and generally accepted principles applicable to the practice of dentistry,
              17 and prepare, establish, and maintain administrative records, financial records,
              18 records pertaining to patient diagnosis and treatment, and information pertaining to
              19 the services provided.
              20         153. Arakelyan submitted false and fraudulent bills and made other
              21 statements which Arakelyan knew to be false or had no reasonable grounds for
              22 believing their representations were true, which also constitute a breach of the
              23 Arakelyan Agreements. A non-exhaustive list of examples is set forth below. The
              24 below examples are demonstrative of a larger pattern and practice of fraudulent
              25 and/or unlawful conduct. For example, (1) on or about January 2019, Dr.
              26 Arakelyan’s office billed Borrego Health for a filling on a tooth which x-rays noted
              27 the patient did not have at the time of service; (2) on or about July 2019, Dr.
              28 Arakelyan’s office billed Borrego Health for a root canal performed on a tooth

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               1 which x-rays noted the patient did not have at the time of service; and (3) on or
               2 about March 2019, Dr. Arakelyan’s office fraudulently submitted multiple claims to
               3 Borrego Health for multiple crowns when the supporting documentation attached to
               4 the claim indicated the patient actually received a singular bridge.
               5         154. In November 2019, Dr. Arakelyan billed 18 different encounters for a
               6 single patient, despite the fact that there are only 20 business days in November,
               7 meaning the bills showed this patient came in for dental services nearly every day in
               8 November. Even more shocking, the dentist also billed for 11 additional encounters
               9 in August 2019, 13 in September 2019, 13 in October 2019 and—for good
              10 measure—three in December 2019, for a total of 58 separate encounters in the
              11 course of five months. Premier did not flag these bills and took no steps to counsel
              12 or discipline this dentist. As a result of Premier Defendants’ failings, Borrego
              13 Health’s Program Integrity program conducted its own audit into Dr. Arakelyan’s
              14 billing practices. When these egregious billing practices were discovered, Dr.
              15 Arakelyan informed Borrego Health’s auditor that it was Premier Defendants who
              16 told him to bill in this manner.
              17         155. In February 2020, one of Dr. Arakelyan’s subproviders billed 16
              18 different encounters for a single patient, despite the fact that there were only 19
              19 business days in February 2020, meaning the bills showed this patient came in for
              20 dental services almost every day in February 2020. Premier did not flag these bills
              21 and took no steps to counsel or discipline this dentist.
              22               vi.    Michael Hoang, D.M.D.
              23         156. On or about November 28, 2018, Michael Hoang, D.M.D. entered into
              24 a written dental services agreement (the “Hoang Agreement”) whereby Hoang
              25 agreed to provide primary dental services to participating Borrego Health patients,
              26 and Borrego Health agreed to pay Hoang for those services. A true and correct copy
              27 of the Hoang Agreement is attached herein as Exhibit N.
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               1         157. Among other things, the Hoang Agreement required that Hoang
               2 practice dentistry in accordance with all Federal, State and local laws, regulations,
               3 and generally accepted principles applicable the practice of dentistry, and to
               4 prepare, establish, and maintain administrative records, financial records, records
               5 pertaining to patient diagnosis and treatment, and information pertaining to the
               6 services provided.
               7         158. Hoang submitted false and fraudulent bills and made other statements
               8 which Hoang knew to be false or had no reasonable grounds for believing their
               9 representations were true, which also constitute a breach of the Hoang Agreement.
              10 Upon information and belief, Hoang’s conduct alleged herein is demonstrative of a
              11 larger pattern and practice of fraudulent and/or unlawful conduct.
              12         159. Borrego removed Dr. Hoang from its contract dental program in 2019
              13 because he was billing the same claims both to Borrego Health and straight to Denti-
              14 Cal. Dr. Hoang was terminated from Borrego’s contract dental program in July
              15 2019.
              16               vii.   Waleed Stephan, D.D.S.
              17         160. On October 1, 2016, Waleed Stephan, both individually and through
              18 his company W.A. Stephan, A Dental Corporation (collectively, “Stephan”), entered
              19 into a written dental services agreement (the “Stephan Agreement”) whereby
              20 Stephan agreed to provide primary dental services to participating Borrego Health
              21 patients, and Borrego Health agreed to pay Stephan for those services. A true and
              22 correct copy of the Stephan Agreement is attached herein as Exhibit O.
              23         161. Among other things, the Stephan Agreement required that Stephan
              24 practice dentistry in accordance with all Federal, State and local laws, regulations,
              25 and generally accepted principles applicable to the practice of dentistry, and prepare,
              26 establish, and maintain administrative records, financial records, records pertaining
              27 to patient diagnosis and treatment, and information pertaining to the services
              28 provided.

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               1        162. Stephan submitted false and fraudulent bills and made other statements
               2 which Stephan knew to be false or had no reasonable grounds for believing their
               3 representations were true, which also constitute a breach of the Stephan
               4 Agreement. A non-exhaustive list of examples is set forth below. The below
               5 examples are demonstrative of a larger pattern and practice of fraudulent and/or
               6 unlawful conduct. For example, on August 13, 2019, Dr. Stephan billed Borrego
               7 Health for crowns on teeth numbers 12, 13 and 14 over the course of multiple days.
               8 However, the patient care plan documents that a singular bridge was put in place
               9 during the course of one appointment.
              10        163. Dr. Stephan also fraudulently represented that he purchased porcelain
              11 crowns for patients, when in fact, he made ceramic crowns himself in his own
              12 office. Program integrity staff became suspicious when Dr. Stephan was able to
              13 place crowns in only a day or two, when the lab that Dr. Stephan documented he
              14 was using had a much slower turnaround. Program integrity called the lab that Dr.
              15 Stephan documented he was using, and that lab confirmed that it would take 14 days
              16 to make a crown. On further investigation, it was determined that, rather than
              17 purchasing the crowns, Dr. Stephan was making them himself out of ceramic with a
              18 CEREC machine. To hide his scheme, he was falsifying documentation to say that
              19 he purchased porcelain crowns from a lab.
              20               viii. Santiago Rojo, D.D.S.
              21        164. On March 29, 2017, Santiago Rojo, both individually and through his
              22 company Santiago A. Rojo, D.S.S., Inc. (collectively, “Rojo”), entered into a written
              23 dental services agreement (the “Rojo Agreement”) whereby Rojo agreed to provide
              24 primary dental services to participating Borrego Health patients, and Borrego Health
              25 agreed to pay Rojo for those services. A true and correct copy of the Rojo
              26 Agreement is attached herein as Exhibit P.
              27        165. Among other things, the Rojo Agreement required that Rojo practice
              28 dentistry in accordance with all Federal, State and local laws, regulations, and

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               1 generally accepted principles applicable to the practice of dentistry, and prepare,
               2 establish, and maintain administrative records, financial records, records pertaining
               3 to patient diagnosis and treatment, and information pertaining to the services
               4 provided.
               5        166. Rojo submitted false and fraudulent bills and made other statements
               6 which Rojo knew to be false or had no reasonable grounds for believing their
               7 representations were true, which also constitute a breach of the Rojo Agreement. A
               8 non-exhaustive list of examples is set forth below. The below examples are
               9 demonstrative of a larger pattern and practice of fraudulent and/or unlawful conduct.
              10        167. Dr. Rojo billed for visits in California even though he was living in
              11 Florida and could not supervise subproviders or directly provide care. For example,
              12 on November 11, 2020, a representative from Borrego Health was onsite at Dr.
              13 Rojo’s office for an audit. On that date, Dr. Rojo’s staff indicated that Dr. Rojo was
              14 in Florida and had been in Florida for almost the entire year of 2020. Nonetheless,
              15 Dr. Rojo submitted claims for services performed in California throughout 2020.
              16 Most egregiously, Dr. Rojo subsequently billed for patient visits that he claimed
              17 were performed in California on November 11, 2020, a date on which a Borrego
              18 employee had physically been in his office and confirmed he was not there.
              19        168. Rather than performing the services himself and completing the
              20 documentation, Dr. Rojo regularly had his office manager entering and signing off
              21 on patient claims. Dr. Rojo’s patient charts were also largely duplicative, even
              22 going so far as to contain duplicate notes regarding patients’ response to anesthesia.
              23               ix.   Mohammed AlTekreeti, D.D.S.
              24        169. On or about August 7, 2017, Hussam Aldairi requested to employ an
              25 additional dentist, Mohammed AlTekreeti, to provide primary dental services to
              26 Borrego Health patients. Aldairi represented that AlTekreeti would be under
              27 Aldairi’s supervision and that AlTekreeti would act in accordance with the Aldairi
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               1 Agreements. Aldairi hired AlTekreeti shortly after Aldairi’s request to Borrego
               2 Health.
               3        170. AlTekreeti submitted false and fraudulent bills and made other
               4 statements which AlTekreeti knew to be false or had no reasonable grounds for
               5 believing their representations were true, which also constitute a breach of the
               6 Aldairi Agreements. A non-exhaustive list of examples is set forth herein. The
               7 below examples are demonstrative of a larger pattern and practice of fraudulent
               8 and/or unlawful conduct. For example, on or about May 2019, Dr. AlTekreeti billed
               9 Borrego Health for a partial denture for teeth which supporting documentation
              10 indicated were never prepared for dentures.
              11        171. Like Dr. Aldairi, Dr. AlTekreeti billed Borrego for patient visits that
              12 either did not occur or that were provided by a providers that were not disclosed to
              13 or credentialed by Borrego Health. For example, Dr. AlTekreeti billed for 135
              14 patient visits that he claimed he performed on Tuesday, June 25, 2019.
              15               x.    Jilbert Bakramian, D.D.S.
              16        172. On or about February 5, 2018, Aram Arakelyan requested to employ an
              17 additional dentist, Jilbert Bakramian, to provide primary dental services to Borrego
              18 Health patients. Arakelyan represented that Bakramian would be under Arakelyan’s
              19 supervision and that Bakramian would act in accordance with the Arakelyan
              20 Agreements. Arakelyan hired Bakramian shortly after Arakelyan’s request to
              21 Borrego Health.
              22        173. Bakramian submitted false and fraudulent bills and made other
              23 statements which Bakramian knew to be false or had no reasonable grounds for
              24 believing their representations were true, which also constitute a breach of the
              25 Arakelyan Agreements. A non-exhaustive list of examples is set forth herein. The
              26 below examples are demonstrative of a larger pattern and practice of fraudulent
              27 and/or unlawful conduct. For example, (1) on or about January 2019, Dr.
              28 Bakramian billed Borrego Health for a filling on a tooth which x-rays noted that the

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               1 patient did not have at the time of service; (2) on or about July 2019, Dr. Bakramian
               2 billed Borrego Health for a root canal performed on a tooth which x-rays noted that
               3 the patient did not have at the time of service; (3) on or about March 2019, Dr.
               4 Bakramian billed Borrego Health for multiple crowns when the patient actually
               5 received a singular bridge, and (4) on or about May 31, 2019 and June 14, 2019, Dr.
               6 Bakramian billed for preparing a tooth for a crown, which requires shaving down
               7 the tooth when x-rays clearly demonstrate that tooth had an implant in that spot,
               8 meaning there was no natural tooth for Bakramian to prepare to receive a crown.
               9         174. From July 2019 to August 2019, Dr. Bakramian billed 29 different
              10 encounters for a single patient out of the 43 business days during that period.
              11 Again, Premier did not flag these bills and took no steps to counsel or discipline this
              12 dentist.
              13         175. Dr. Bakramian regularly billed for more visits in a day than is humanly
              14 possible, leading to the conclusion that these visits were either not performed or
              15 were performed by unknown and uncredentialed persons. For example, he billed for
              16 111 patient visits he claimed he performed on July 16, 2019.
              17               xi.    Marcelo Toledo, D.D.S.
              18         176. On June 16, 2015, Marcelo Toledo, both individually and through his
              19 company Marcelo Toledo, D.S.S., Inc. (collectively, “Toledo”), entered into a
              20 written dental services agreement (the “Toledo Agreement”) whereby Toledo agreed
              21 to provide primary dental services to participating Borrego Health patients, and
              22 Borrego Health agreed to pay Toledo for those services. A true and correct copy of
              23 the Toledo Agreement is attached herein as Exhibit Q.
              24         177. Among other things, the Toledo Agreement required that Toledo
              25 practice dentistry in accordance with all Federal, State and local laws, regulations,
              26 and generally accepted principles applicable to the practice of dentistry, and prepare,
              27 establish, and maintain administrative records, financial records, records pertaining
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               1 to patient diagnosis and treatment, and information pertaining to the services
               2 provided.
               3         178. Toledo submitted false and fraudulent bills and made other statements
               4 which Toledo knew to be false or had no reasonable grounds for believing their
               5 representations were true, which also constitute a breach of the Toledo
               6 Agreement. A non-exhaustive list of examples is set forth below. The below
               7 examples are demonstrative of a larger pattern and practice of fraudulent and/or
               8 unlawful conduct.
               9         179. For example, (1) on or about July 2018, Dr. Toledo billed for services
              10 rendered to a patient during one scheduled visit as though they occurred over the
              11 court of four visits, (2) on or about June 2018, Dr. Toledo performed restoration on
              12 eight teeth which x-rays demonstrated was not medically necessary, (3) on or about
              13 July and August 2018, Dr. Toledo billed for tooth restoration services rendered
              14 during single visits as though they were performed over multiple visits, (4) on or
              15 about November and December 2018, Dr. Toledo billed for fillings on teeth where
              16 the patient already had existing fillings, and (5) billing in excess of 20 patient visits
              17 a day, including billing Borrego Health for 97 patient visits that he claimed occurred
              18 that day. Toledo also regularly engaged in the "claim splitting" scheme. For
              19 example, on August 20, 2018, Dr. Toledo charted and billed for a tooth restoration
              20 on tooth 19. In submitting the claim, Toledo submitted old x-rays dated July 23,
              21 2018 and August 13, 2018. Those x-rays indicate the restoration of both tooth 18
              22 and tooth 19 had already been completed prior to the August 20, 2018 claim
              23 submission. The x-ray from August 20, 2018 also demonstrates that no further
              24 restoration occurred during that patient visit. Despite this, the claims were billed as
              25 two separate visits. For the same patient, Dr. Toledo billed for identical services
              26 rendered to four different teeth. The patient schedule indicates the patient was not
              27 seen on all the days billed between November 7, 2019 and November 13, 2018,
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               1           180. For visits in July 2018 for the same patient, the treatment notes are a
               2 obviously copied and pasted, including identical blood pressure readings, because
               3 the patient had only one visit on July 16, 2018, but it was billed as four separate
               4 visits.
               5           181. For visits in October 2018, again there are five identical blood pressure
               6 readings documented in a row. These visits involved a surface restorations for
               7 adjacent teeth, but were billed separately even though they should have been done
               8 together.
               9           182. In another instance, there were restorations on eight separate teeth, and
              10 each was billed separately, but there is no imaging to support the need for the
              11 restorations. In such a situation, the dentist is required to secure supplemental
              12 documentation to demonstrate medical necessity.
              13           183. On or about August 20, 2018, Toledo charted and billed for services
              14 provided on tooth 19. X-rays dated July 23 and August 13, 2018 were provided to
              15 support the restoration, but the x-rays show that there was a restoration already done
              16 by August 13. There is no evidence of further restoration or any restoration on
              17 August 20. All the work was completed on August 7, but split into two separate
              18 dates of billing.
              19           184. For one patient with dates of service November 7-13, 2018, there are
              20 four identical notes with only the tooth number changed, and the schedule does not
              21 show the patient was seen (only that the patient was on the schedule). This is
              22 another example of claim splitting and false billing.
              23           185. For another patient, there is no evidence that the fillings for teeth 4 and
              24 5 were done as billed on November 4 and 14, 2018, respectively. The pre-procedure
              25 x-ray shows existing fillings and is dated October 18, 2018. The post-procedure x-
              26 rays dated December 13, 2018 does not show any change to the fillings for teeth 4
              27 and 5.
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               1               xii.   Marlene Thompson, D.D.S.
               2        186. On or about April 18, 2013, Marlene M. Thompson, D.D.S., both
               3 individually and through her company Marlene M. Thompson, D.D.S., Inc.
               4 (collectively, “Thompson”) entered into a written dental services agreement (the
               5 “Thompson Agreement”) whereby Thompson agreed to provide primary dental
               6 services to participating Borrego Health patients, and Borrego Health agreed to pay
               7 Thompson for those services. A true and correct copy of the Thompson Agreement
               8 is attached herein as Exhibit R.
               9        187. Among other things, the Thompson Agreement required that
              10 Thompson practice dentistry in accordance with all Federal, State and local laws,
              11 regulations, and generally accepted principles applicable the practice of dentistry,
              12 and to prepare, establish, and maintain administrative records, financial records,
              13 records pertaining to patient diagnosis and treatment, and information pertaining to
              14 the services provided.
              15        188. Thompson submitted false and fraudulent bills and made other
              16 statements which Thompson knew to be false or had no reasonable grounds for
              17 believing their representations were true, which also constitute a breach of the
              18 Thompson Agreement. A non-exhaustive list of examples is set forth below. The
              19 below examples demonstrate a larger pattern and practice of fraudulent and/or
              20 unlawful conduct. For example:
              21             After Dr. Tuso left Dr. Aldairi’s office, Thompson hired Maura Tuso to
              22               work as a dentist in her Escondido dental practice. During the time Dr.
              23               Tuso worked for Thompson, Dr. Tuso was suspended from providing
              24               dental services to Medi-Cal patients. Thompson was aware that Dr.
              25               Tuso was suspended at the time Thompson hired Dr. Tuso. Thompson
              26               then allowed Dr. Tuso to see Borrego Health patients and bill Borrego
              27               Health for the services Dr. Tuso provided to Medi-Cal patients.
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               1              On October 12, 2018, Thompson placed a patient on the schedule who
               2                received services the day prior. Thompson did this to make it appear
               3                that the services rendered were spread out over several days, when in
               4                fact the patient only received services on June 23, 2018.
               5              On July 5, 2018, Dr. Tuso provided two fillings to a patient, but was
               6                asked to leave the dates blank in her charts. The patient chart was then
               7                filled in to show the services rendered occurred over the course of two
               8                visits instead of one.
               9              On July 10, 2018, Dr. Tuso provided dental services to a Borrego
              10                Health patient, but was asked to leave the dates blank in her charts.
              11                The patient chart was then filled in to show the services rendered
              12                occurred over the course of two visits instead of one. The second visit
              13                was documented on a day Dr. Tuso was not staffed to work at
              14                Thompson’s office. Despite this, the second visit in the patient chart
              15                indicates she provided the patient with services that day.
              16                xiii. Douglas Ness, D.D.S.
              17        189. On or about May 2, 2016, Douglas Ness, D.D.S., both individually and
              18 through his company Ness Dental Corporation (collectively, “Ness”) entered into a
              19 written dental services agreement (the “Ness Agreement”) whereby Ness agreed to
              20 provide primary dental services to participating Borrego Health patients, and
              21 Borrego Health agreed to pay Ness for those services. A true and correct copy of
              22 the Ness Agreement is attached herein as Exhibit S.
              23        190. Among other things, the Ness Agreement required that Ness practice
              24 dentistry in accordance with all Federal, State and local laws, regulations, and
              25 generally accepted principles applicable the practice of dentistry, and to prepare,
              26 establish, and maintain administrative records, financial records, records pertaining
              27 to patient diagnosis and treatment, and information pertaining to the services
              28 provided.

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               1        191. Ness submitted false and fraudulent bills and made other statements
               2 which Ness knew to be false or had no reasonable grounds for believing their
               3 representations were true, which also constitute a breach of the Ness Agreement. A
               4 non-exhaustive list of examples is set forth below. The alleged conduct is
               5 demonstrative of a larger pattern and practice of fraudulent and/or unlawful conduct.
               6        192. In 2018, Ness hired Maura Tuso to work as a dentist at Crown Dental
               7 Group. During the time Dr. Tuso worked for Ness, Dr. Tuso was suspended from
               8 providing dental services to Medi-Cal patients. Ness was aware that Dr. Tuso was
               9 suspended at the time Ness hired Dr. Tuso. Ness then allowed Dr. Tuso to see
              10 Borrego Health patients and bill Borrego Health for the services Dr. Tuso provided
              11 to Medi-Cal patients.
              12        193. Ness also hired other dental providers, in addition to Dr. Tuso, who
              13 lacked California dental licenses to provide dental services to Borrego Health
              14 patients. Upon information and belief, Ness billed Borrego Health for the services
              15 that unlicensed dental providers provided to Medi-Cal patients.
              16               xiv.   George Jared, D.D.S.
              17        194. On or On or about April 19, 2016, George C. Jared, D.D.S., both
              18 individually and through his company George C. Jared, D.D.S., Inc. (collectively,
              19 “Jared”) entered into a written dental services agreement (the “Jared Agreement”)
              20 whereby Jared agreed to provide primary dental services to participating Borrego
              21 Health patients, and Borrego Health agreed to pay Jared for those services. A true
              22 and correct copy of the Jared Agreement is attached herein as Exhibit T.
              23        195. Among other things, the Jared Agreement required that Ness practice
              24 dentistry in accordance with all Federal, State and local laws, regulations, and
              25 generally accepted principles applicable the practice of dentistry, and to prepare,
              26 establish, and maintain administrative records, financial records, records pertaining
              27 to patient diagnosis and treatment, and information pertaining to the services
              28 provided.

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               1        196. Jared submitted false and fraudulent bills and made other statements
               2 which Jared knew to be false or had no reasonable grounds for believing their
               3 representations were true, which also constitute a breach of the Jared Agreement. A
               4 non-exhaustive list of examples is set forth below. Upon information and belief, the
               5 alleged conduct is demonstrative of a larger pattern and practice of fraudulent and/or
               6 unlawful conduct.
               7        197. Jared hired Maura Tuso to work as a dentist at his dental practice.
               8 During the time Dr. Tuso worked for Jared, Dr. Tuso was suspended from providing
               9 dental services to Medi-Cal patients. Jared was aware that Dr. Tuso was suspended
              10 at the time Jared hired Dr. Tuso. Jared then allowed Dr. Tuso to see Borrego Health
              11 patients and bill Borrego Health for the services Dr. Tuso provided to Medi-Cal
              12 patients.
              13        198. Jared also hired other dental providers, in addition to Dr. Tuso, who
              14 lacked California dental licenses to provide dental services to Borrego Health
              15 patients. Upon information and belief, Jared billed Borrego Health for the services
              16 that unlicensed dental providers provided to Medi-Cal patients.
              17        D.     Since Premier Was Unable and Unwilling To, a Program Integrity
              18               Process is Implemented by Borrego Health
              19        199. Despite its promises to do so, its representations that it could do so, and
              20 its concealment of the fact that it could not do so, Premier completely lacked the
              21 ability to appropriately conduct claims monitoring.
              22        200. In fact, it was not until 2019 that Premier hired its first and only
              23 employee with any clinical experience whatsoever. At that point, Premier hired a
              24 2016 dental graduate, Nicholas Tapp, D.D.S. Unsurprisingly, Nicholas Tapp was
              25 related to other employees at Premier. Nicholas Tapp did not even receive his
              26 dental license until October 2017. Indeed, staff from Borrego Health were largely
              27 responsible for training Nicholas Tapp due his lack of knowledge and experience.
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               1         201. Even after hiring Nicholas Tapp, Premier continuously failed to
               2 properly review the contract dental claims. For example, and without limitation,
               3 Premier approved claims (and caused Borrego Health to pay for claims (1) where no
               4 supporting documentation was provided, (2) for services performed on teeth
               5 which—based on x-rays submitted with the claims—were no longer in the patients’
               6 mouth, (3) which were duplicate (i.e. same claims, submitted multiple times), and
               7 (4) that were facially and obviously not legitimate.
               8         202. For example, in February 2020, one dentist billed 18 different
               9 encounters for a single patient, despite the fact that there were only 19 business days
              10 in February 2020, meaning the bills showed this patient came in for dental services
              11 all but one business day in February 2020. Premier did not flag these bills and took
              12 no steps to counsel or discipline this dentist. Between June 2020 and July 2020, one
              13 dentist billed 30 different encounters for a single patient, meaning the bills showed
              14 this patient came in for dental services every other day during that time period.
              15 Premier did not flag these bills and took no steps to counsel or discipline this dentist.
              16         203. As a result, Borrego Health was forced to hire its own employees and
              17 develop a Program Integrity program to review and audit contract dental claims and
              18 providers.
              19         204. In May 2017, Borrego Health hired Timothy Martinez, D.D.S. to be its
              20 Chief Dental Officer. In this role, Dr. Timothy Martinez was tasked with
              21 developing a “Program Integrity” team for Borrego Health’s contract dental
              22 program and providing practice management oversight for its in-house dental
              23 programs. To assist in these efforts, Borrego Health and Dr. Martinez hired Nithya
              24 Venugopal, DDS, in January 2018 as Borrego Health’s Dental Director of Program
              25 Integrity.
              26         205. Among other things, Dr. Timothy Martinez and Dr. Nithya Venugopal
              27 were tasked to create a system that would identify patterns on the “back-end” of
              28 claims submission (i.e. after the claims had been submitted). Specifically, Dr.

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               1 Timothy Martinez and Dr. Nithya Venugopal were supposed to identify: (1)
               2 utilization of non-covered services; (2) overutilization of services; (3) incomplete,
               3 substandard, unnecessary treatment rendered by providers; and (4) billing
               4 discrepancies. The team also sought to develop and implement necessary steps to
               5 correct and prevent such issues.
               6         206. On May 5, 2017, the Program Integrity team set up initial evidence-
               7 based key references and questions for the new program integrity unit. The key
               8 references and questions were based on the National Medicaid Guidelines the
               9 Deputy Inspector General for Evaluation and Inspections May 15, 2015 report
              10 authored by Suzanne Murrin, titled: “QUESTIONABLE BILLING FOR
              11 MEDICAID PEDIATRIC DENTAL SERVICES IN CALIFORNIA.” The Murrin
              12 report reviewed claims submitted by dentists in California to DHCS and found that
              13 approximately 8% of the dental providers were billing outliers in terms of CDT
              14 codes billed, and of those identified outliers, only approximately 1.8% (or six out of
              15 329 dentists) were disciplined by the California Dental Board for failing to meet
              16 quality of care standards. Dr. Timothy Martinez used the Murrin report and its
              17 findings, as well as guidance from the 2017 National Medicaid and CHIP Oral
              18 Health Symposium (as organized by the Medicaid, Medicare, CHIP Services Dental
              19 Association), for reference when developing Borrego Health’s internal compliance
              20 metrics. Critically, at the time, there was no other guidance, data or reports setting
              21 out proper or improper billing and documentation protocols in the state for FQHCs
              22 contracting with private dental offices.
              23         207. The Program Integrity efforts began with a utilization review system
              24 which developed an algorithm for analyzing and sorting out outliers, particularly by
              25 focusing on high-billing providers among the contract dentists. As the Program
              26 Integrity team’s utilization review and claims data analytics capabilities became
              27 more robust and sophisticated, the team was soon able to also review for over-
              28 utilization of high-cost codes/services (dental providers with a standard deviation of

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               1 one or more from the mean as far as individual high-cost codes, such as crowns and
               2 surgical extractions), percentage of preventive services and under-utilization of
               3 preventive services, as well as billing discrepancies, and lack of medical necessity.
               4 Over time, the Program Integrity team also developed a mechanism to view visit
               5 count and examine excessive visits.
               6        208. Additionally, around mid-2019, the Program Integrity team built in
               7 certain parameters, referred to as the “enhanced review” parameters, to identify
               8 problematic claims during the claims monitoring process, in large part after
               9 recognition that Premier was not properly vetting claims during the claims
              10 monitoring process, despite Premier’s contractual obligation to do so.
              11        209. Once the utilization review analysis was conducted, the Program
              12 Integrity team would conduct site visits and chart reviews to directly assess
              13 compliance and suspected fraud, waste, and/or abuse among any dental practices
              14 and providers identified as outliers within the contract dental network (meaning
              15 providers who were one or more above the standard deviation in the different
              16 categories being reviewed).
              17        210. Specifically, Dr. Nithya Venugopal would receive a report and conduct
              18 a closer examination of any outlier practices or providers. Then, Dr. Nithya
              19 Venugopal would work with Borrego Health’s utilization management analyst to
              20 pull around ten to 15 charts from patients based on excessive patients visits and/or
              21 CDT code criteria under question for these providers.
              22        211. Next, a member of the Program Integrity team would collect
              23 information from the patient records regarding visits and services during an actual
              24 on-site visit, including supportive documentation such as radiographs, charts, and
              25 schedules. The peer review process was designed to be objective through the use of
              26 a template peer review worksheet examining specific criteria.
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               1         212. Based on the results of these findings, the Program Integrity team
               2 members would conduct comprehensive records review and assess compliance with
               3 Program Integrity rubric, consistent with the Medi-Cal Dental Provider Handbook.
               4         213. Following the chart reviews and site audits, the Program Integrity team
               5 would develop provider report cards and issue a “corrective action plan” to any
               6 provider whose practice was identified as deficient across certain criteria. These
               7 plans would detail exactly what deficiencies were identified and how a provider was
               8 required to correct and improve his or her practice. The Program Integrity team
               9 aimed to conduct re-audits of providers who had been issued a corrective action plan
              10 within 90 days to confirm whether or not the provider had corrected identified
              11 deficiencies by again obtaining records from the provider and assessing compliance
              12 under the same rubric.
              13         214. Any follow-up action by the team depended on the results of these peer
              14 review and compliance audits. For example, if the score improved, then the
              15 provider would be audited on an annual basis thereafter.
              16         215. Alternatively, if the score worsened, Dr. Timothy Martinez or Dr.
              17 Nithya Venugopal would escalate the matter to Borrego Health’s Chief Compliance
              18 Officer, Gabriela Alvarado, and Mikia Wallis for determination of further action, up
              19 to and including termination of Borrego Health’s agreement with the dentist.
              20         216. Additionally, where the Program Integrity team found evidence
              21 suggesting potential provider fraud, waste, and/or abuse, Dr. Timothy Martinez
              22 would meet with Gabriela Alvarado to discuss possible recoupment and recovery of
              23 funds, notification to DHCS and other state authorities, and submission of a claims
              24 inquiry form to DHCS to request an adjustment for either an underpayment or
              25 overpayment of claims.
              26         217. The Program Integrity team, once it came online and established
              27 processes after Dr. Timothy Martinez’s arrival in 2017, reviewed back-end claims
              28 and identified outliers and other billing discrepancies.

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               1         E.    Premier and the Borrego Insiders Coverup Fraudulent Billing (the
               2               “Coverup Scheme”)
               3         218. The Borrego Insiders and the Premier Defendants were aware of the
               4 conduct and had received complaints and information, but did nothing to stop the
               5 practice. Instead, the Premier Defendants worked with Borrego Insiders, including
               6 without limitation Mikia Wallis, to stop further inquiries and protect the dentists
               7 from both detection and/or consequences. As stated herein, the Premier Defendants
               8 were incentivized to allow providers to bill as many claims as possible, since
               9 Premier was paid on a per claim basis. The Premier Defendants were further
              10 incentivized to cover up for fraudulently billing dentists (including—and
              11 especially—the most egregious dentists), since those were the dentists that
              12 submitted the highest number of claims and directly increased the amount that
              13 Premier was paid.
              14         219. Further, on information and belief, the Borrego Insiders were
              15 incentivized to cover up for the fraudulently billing dentist since those billings
              16 allows the other Schemes discussed herein to take place and/or resulted in kickback
              17 payments to the Borrego Insiders.
              18         220. The Premier Defendants and the Borrego Insiders used a number of
              19 different methods to cover up for fraudulently billing dentists, including without
              20 limitation the Dentist Defendants, as outlined below, including without limitation
              21 interference with audits, failing and refusing to reverse false/fraudulent claims,
              22 refusal to take action, general avoidance and unavailability and undue pressure.
              23         221. The Premier Defendants, supported by the Borrego Insiders, would not
              24 permit Program Integrity audits to be random. It required Program Integrity to
              25 provide advance notice to dentists, so that the dentists could be more prepared and
              26 take steps to avoid detection of problems by the Program Integrity team.
              27         222. While typically the Program Integrity team would book any compliance
              28 review appointments with contract dental providers through one of Premier’s

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               1 administrative staff, for reasons unknown to Borrego Health, any appointments with
               2 Husam Aldairi and Aram Arakelyan (both identified by the Program Integrity team
               3 as high-billing providers for certain costly services) were required to be set up by
               4 Travis Lyon personally.
               5        223. Occasionally, the Program Integrity team would identify claims that
               6 were falsely or fraudulently billed, and should have bene reversed (i.e. the dentists
               7 should have refunded the money they received from Borrego Health, and Premier
               8 should have returned or credited the per visit fee back to Borrego Health).
               9 However, the Premier Defendants and Borrego Insiders, including without
              10 limitation Karen Hebets and Diana Thompson, would not follow through on claims
              11 reversals.
              12        224. On several occasions, based on suspicious or outright fraudulent claims
              13 activity, Borrego Health’s Program Integrity team would recommend and/or request
              14 that a contract dental provider have their provider contract with Borrego Health
              15 terminated. The Premier Defendants and Borrego Insiders would regularly support
              16 the contract dental providers over Borrego Health and override decisions made by
              17 Borrego Health, and would refuse to take action against fraudulently billing
              18 providers.
              19        225.   Both Dr. Timothy Martinez and Dr. Nithya Venugopal reported that,
              20 whenever they raised issues about Premier to Mikia Wallis, they would immediately
              21 receive a call or email from Travis Lyon or Nick Priest. Clearly, Mikia Wallis was
              22 sharing their internal concerns directly with the Premier Defendants. More often
              23 than not, however, neither Premier nor Mikia Wallis actually addressed the
              24 underlying issue Dr. Timothy Martinez or Dr. Nithya Venugopal identified with
              25 Premier.
              26        226. Mikia Wallis made herself generally unavailable for meetings with the
              27 Program Integrity team. At most, Program Integrity staff were only allowed to
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               1 block 15-minute intervals with her. As stated by Dr. Venugopal, “[Mikia Wallis]
               2 knew what we were doing but hated what we were finding.”
               3         227. Program Integrity team members repeatedly raised issues about certain
               4 high-billing providers who they identified as committing “suspect fraud” to Mikia
               5 Wallis and Borrego Health’s former Chief Compliance Officer, but usually no
               6 action was ever taken against providers, who would remain eligible to continue
               7 providing and billing for improper services rendered to Borrego Health’s patients.
               8         228. Mikia Wallis would routinely push back or throw up barriers whenever
               9 they tried to implement some sort of final audit process for the contract dental
              10 providers. There was also an ongoing push-and-pull in terms of adding new
              11 contract dental providers to Borrego Health’s network between the Program
              12 Integrity team and credentialing committee on one side and Premier and Mikia
              13 Wallis on the other. There were a number of instances where Travis Lyon,
              14 supported by Mikia Wallis, attempted to ram a number of new contract dental
              15 providers through Borrego Health’s credentialing process, despite Dr. Timothy
              16 Martinez’s insistence that the providers needed to be thoroughly vetted before
              17 approving them.
              18         229. Mikia Wallis defended contract dental providers unreasonably, even
              19 after Program Integrity team members informed her of these providers’ documented
              20 history of problematic billing practices and poor quality. Mikia Wallis herself
              21 reported that she encouraged staff to treat contract dental providers as part of
              22 Borrego Health’s internal workforce and “to the extent that we feel the dentists have
              23 high quality of care, we need to defend them.”
              24         230.   At the June 2017 Credentialing Committee, Dr. Timothy Martinez
              25 noted and the minutes reflected that Bruce Hebets, along with Premier’s Travis
              26 Lyon and Nick Priest, all personally attended the meeting. Usually, credentialing
              27 committees are autonomous bodies free from inadvertent pressure of having
              28 administration involvement.

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               1         231. There are numerous, specific examples of the Premier Defendants and
               2 Borrego Insiders working to cover up for fraudulently billing dentists. A few of
               3 these examples are outlined below.
               4         232. On April 12, 2017, Dr. Timothy Martinez emailed Travis Lyon to note
               5 his concerns with the contract dental program as a result of the HMS/CMS audit
               6 findings: “I can start to review with you and your team the three most common
               7 pitfalls that Borrego was cited for: EXCESSIVE VISITS, INSUFFICIENT
               8 DOCUMENTATION, NOT MEDICALLY NECESSARY. We can start with
               9 catching “EXCESSIVE VISIT” at the time the claim (called a superbill) is scanned
              10 by the private dental offices and entered into your data banks.” Thus, the Premier
              11 Defendants were aware of issues with excessive visit billing, yet did nothing to
              12 detect or prevent such billing, despite their contractual obligation to do so.
              13         233. Dr. Venugopal noted that dentists as a rule could not be terminated for
              14 Program Integrity issues alone. To terminate a dentist, Dr. Venugopal and Dr.
              15 Martinez would have to also raise a quality or credentialing issue. Even this,
              16 though, was insufficient to terminate certain “untouchable” dentists, including Dr.
              17 Aldairi, Dr. Arakelyan, Dr. Mehdizadeh and Dr. Hawatmeh (all of whom Program
              18 Integrity identified as outlier providers).
              19         234. In February 2018, some of the Program Integrity team met with the
              20 Premier Defendants to review the newly developed contract dental patient forms,
              21 which had been created to ensure consistent and accurate documentation across
              22 providers. Though these were Borrego Health forms, Travis Lyon nevertheless
              23 retained final say on how and when they were communicated to the contract dental
              24 providers – if ever.
              25         235. Husam Aldairi received “Provider Compliance Reports” on June 14,
              26 2018 and September 13, 2018 following a series of audits conducted by the Program
              27 Integrity team during which he received scores of zero (the lowest possible score) in
              28 the following categories: proper documentation, eligible provider (meaning that the

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               1 provider’s signature on the claims matches the dental superbill and clinical progress
               2 notes as required by the Medi-Cal Dental Provider Hand-book), and medically
               3 necessary (meaning that the documentation supports the level of services rendered).
               4 To address the clear deficiencies identified in the June 2018 audit, the Program
               5 Integrity team also put together a corrective action plan listing out each deficiency
               6 in detail and providing actionable steps Husam Aldairi was requested to take to
               7 correct the issues. Husam Aldairi received the corrective action plan and returned a
               8 signed copy acknowledging it to the Program Integrity team but never actually
               9 worked on improving. Husam Aldairi also failed multiple peer review audits
              10 conducted by Program Integrity team members on March 31 and July 25, 2019, and
              11 most recently on August 31, 2020. The Premier Defendants and the Borrego
              12 Insiders, including Mikia Wallis, refused to terminate Husam Aldairi.
              13         236. When Husam Aldairi was up for re-credentialing, Dr. Timothy
              14 Martinez recommended against re-credentialing Husam Aldairi but he was
              15 overruled by the Premier Defendants and Borrego Insiders, including without
              16 limitation Travis Lyon and Mikia Wallis. Despite the poor performance, the
              17 Premier Defendants and Borrego Insiders submitted a “special license” to HRSA to
              18 allow Husam Aldairi to have a satellite intermittent dental clinic with Borrego
              19 Health (in space owned by another Daryl Priest entity that Borrego Health leased).
              20 Husam Aldairi was not actually terminated until the Board Insiders were no longer
              21 involved in the matter.
              22         237.   In both July and September 2018, Dr. Timothy Martinez notified
              23 Mikia Wallis in her capacity as Borrego Health’s Chief Legal Officer about the
              24 results of the Program Integrity team’s first analytics ran on the contract dentists,
              25 including those identified as outliers within the program. Mikia Wallis did not do
              26 anything to address the outliers.
              27         238. Mikia Wallis was informed of billing issues with Dr. Tina Cho. For
              28 example, Dr. Martinez emailed Mikia Wallis on July 2, 2019 acknowledging

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               1 “aberrant billing behavior” and attaching a document titled, “tina cho.docx,” which
               2 included examples of problematic claims. However, on October 6, 2020, Mikia
               3 Wallis sent a letter to Special Agent Supervisor Craig Eastep which (falsely) stated
               4 that Borrego Health had no knowledge of potential billing discrepancies for services
               5 provided by Dr. Tina Cho.
               6        239. On October 12, 2019, a member of the Program Integrity team
               7 instructed that Borrego Health will deny claims for issues that he considers to be
               8 “black and white issues.” Travis Lyon responded, “Is Koutros and Venugopal
               9 aware that Ms. Wallis does not want us to use the Denti-Cal regulations as a reason
              10 to deny claims?”
              11        240. In March 2019, dentist Maura Tuso called Borrego Health’s
              12 compliance hotline. She left a message indicating that she wanted to report fraud.
              13 Dr. Timothy Martinez facilitated a telephone conference to respond to Maura Tuso,
              14 which took place on March 18, 2019. Travis Lyon joined Dr. Timothy Martinez on
              15 the call.
              16        241. Maura Tuso alleged that there was fraud occurring, including
              17 manipulating charts. Dr. Timothy Martinez asked Maura Tuso to email any details.
              18 When these allegations were reported to Mikia Wallis, Mikia Wallis stated that
              19 Maura Tuso had lost her license and was not credible, and to cease any further
              20 investigation. Shockingly, despite knowledge that Maura Tuso had lost her license
              21 (and, thus, was suspended from Medi-Cal) and using this information in an attempt
              22 to discredit her, the Premier Defendants and Borrego Insiders did nothing to prevent
              23 Maura Tuso from continuing to provide services through other contract dentists (and
              24 billing for them) or to remedy prior improper bills where Mauro Tuso provided
              25 services.
              26        242. On January 27, 2020, a member of the Program Integrity team
              27 conducted a surprise compliance audit of Dr. Aram Arakelyan. Dr. Aram Arakelyan
              28 refused to allow staff to audit the charts and called Travis Lyon to intervene. This

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               1 resulted in a meeting with Mikia Wallis, Travis Lyon, and Dr. Timothy Martinez,
               2 and a subsequent meeting with Premier’s counsel.
               3          243. Following this meeting, on March 2, 2020, counsel for Premier
               4 informed a member of the Program Integrity team over the phone that such surprise
               5 audits of the contract dental providers were unlawful and that all audits required
               6 written notice to contract dental providers at least five days before any audit. This is
               7 false.
               8          244. Borrego Health requested and harangued Premier repeatedly to activate
               9 a “Prior Authorization” requirement, which required outlier providers and practices
              10 to obtain prior authorization from Borrego Health before performing certain high-
              11 cost services. In a meeting on May 21, 2020, the Program Integrity team was told
              12 by Travis Lyon that he promised it would be turned on by June 1, 2020. It was
              13 never activated.
              14          245. In a quality meeting on June 16, 2020, Dr. Venugopal told Travis Lyon
              15 that individual dentists were billing bridges as single unit crowns, and directed him
              16 to send a communication to providers that this practice must stop. Travis Lyon
              17 refused.
              18          246. As late as September 2020, when questioned about the accusation from
              19 the California Dental Board against Husam Aldairi, Mikia Wallis continued to
              20 defend him. She asserted that an external reviewer said Husam Aldairi’s care was
              21 “exquisite” and that he was a “QI [Quality Improvement] success story.” This
              22 directly contradicts what Program Integrity and credentialing staff reported to Mikia
              23 Wallis regarding the poor quality of care by Husam Aldairi.
              24          247. On October 7, 2020, Dr. Nithya Venugopal presented audit findings
              25 regarding Husam Aldairi to Mikia Wallis, Dr. Timothy Martinez, Dr. Edgar Bulloch
              26 (Borrego Health’s former CMO and CEO), and Mark Connelly (Borrego Health’s
              27 Chief Operations Officer). The presentation focused on the fact that Husam Aldairi
              28 had most likely falsely billed for excessive visits, in particular where no face-to-face

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               1 encounter occurred, and improperly documented or falsified records, and finally
               2 often provided services below the standard of care or that lacked medical necessity.
               3 Within the first ten minutes of the presentation, Mikia Wallis walked out.
               4        248. Borrego Health requested that Premier run a report on 2020 claims and
               5 identify any duplicates. In September 2020, Premier provided a report identifying
               6 over 600 claims that were duplicated, meaning they were billed by Premier on
               7 behalf of the dentists multiple times. Borrego Health was not aware of the
               8 duplication at the time it paid the invoices of both the dentists and Premier for the
               9 duplicate claims. Despite notice of the duplication the Premier Defendants and the
              10 Borrego Insiders did not reverse the claims, and the dentists did not repay the
              11 claims. Although this report was only for 2020, Borrego Health is informed and
              12 believes that the same issues would exist in years prior to 2020.
              13        249. As a result, Borrego Health was forced to pay both Premier and several
              14 contract dental providers for services which should not have been paid or for
              15 services which were never rendered.
              16        250. On information and belief, the Borrego Insiders were compensated for
              17 this access and control through kickbacks or other payments or remuneration.
              18        F.     The Borrego Insiders Entered into Leases with Daryl Priest-Owed
              19               Entities for Above Market Rents and Terms Many Times the
              20               Market Amount (the “Priest Leases Scheme”)
              21        251. Borrego Health only owns two of its facilities. Therefore, Borrego
              22 Health must otherwise procure real property for its facilities. This is accomplished
              23 by going to into the marketplace and securing facility leases in Southern California.
              24 The resulting leases should be from an arm’s length transaction at market prices, and
              25 the leases should be submitted to the Borrego Health Board of Trustees for approval.
              26 Borrego Health’s facility leases must be: (1) entered into for a lawful purpose; (2)
              27 sought competitively, and subjected to a diligent market value analysis; and (3) to
              28 the extent reasonably possible, for no more than fair market rent and reasonable

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               1 duration. The leases must also include reasonable terms under which the FQHC can
               2 terminate the lease.
               3        252. Yet, the next scheme involved Borrego Health leasing certain real
               4 property from the Premier Defendants or entities related to the Premier Defendants
               5 at rents and terms that were well above market. Borrego Health was victimized by
               6 three grossly over-priced, 30-plus-year term facility leases engineered by the
               7 Borrego Insiders and the Premier Defendants or entities related to the Premier
               8 Defendants. The total combined full-term price of these three leases is over $100
               9 million dollars. As detailed below, these leases were never subject to due diligence
              10 and were executed by the Borrego Insiders, without submitting them to the full
              11 Board for analysis, review, and informed consent and approval. Once in place, the
              12 leases were concealed from the full Borrego Health Board. The reason for hiding
              13 them from the full Board is clear: recent independent appraisals by CBRE show the
              14 total combined lease prices are $58 million over fair market rent.
              15        253. The leases at issue that are above fair market rent, without good cause,
              16 and without the fully informed consent of the Board, are per se unlawful ab initio,
              17 because, inter alia, they are entered into for an unlawful purpose, namely to defraud
              18 Borrego Health for millions of dollars, while at the same time exposing Borrego
              19 Health to regulatory sanctions and related adverse financial and tax consequences.
              20        254. Promenade Square, LLC (“Promenade”) is a California limited liability
              21 company whose primary place of business is in El Cajon, California. Promenade is
              22 engaged in the commercial real estate business. Borrego Health is informed and
              23 believes that Promenade’s sole member and manager is Daryl Priest. Promenade is
              24 the owner and lessor of the structures and appurtenances located at 133 and 155
              25 West Main Street, El Cajon, County of San Diego, California, of which Borrego
              26 Health is the lessee (“Promenade Lease”).
              27        255. DRP Holdings, LLC (“DRP”) is a California limited liability company
              28 whose primary place of business is in El Cajon, California. DRP is engaged in the

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               1 commercial real estate business. Plaintiff is informed and believes that DRP’s sole
               2 member and manager is Daryl Priest. DRP is the owner and lessor of the structures
               3 and appurtenances located at 590 North D Street, City of San Bernardino, County of
               4 San Bernardino, California, of which Borrego Health is the lessee (“DRP Lease”).
               5         256. Inland Valley Investments, LLC (“Inland Valley”) is a California
               6 limited liability company whose primary place of business is in El Cajon, California.
               7 Inland Valley is engaged in the commercial real estate business. Plaintiff is
               8 informed and believes that Inland Valley’s sole member and manager is Daryl
               9 Priest. By way of assignment from DRP, Inland Valley is now the lessor of the
              10 structures and appurtenances located at 750 East Main Street, City of Barstow,
              11 County of San Bernardino, California, of which Borrego Health is the lessee
              12 (“Inland Valley Lease”). The Borrego Insiders and Premier Defendants decided to
              13 have Borrego Health sign the lease for the Barstow facility before the facility even
              14 existed. On information and belief, the Premier Defendants then presented the over-
              15 market lease to a federally insured lending institution to help obtain financing for
              16 the facility (making Borrego Health in essence a participant in the development and
              17 financing of the Barstow facility).
              18         257. For the sake of brevity, and because Borrego Health is informed and
              19 believes that Daryl Priest is the sole owner, member, and manager of Promenade,
              20 DRP, and Inland Valley: (a) Promenade, DRP, and Inland Valley are also referred
              21 to collectively as the “Priest LLCs”; and (b) the three leases Borrego Health entered
              22 into with the Priest LLCs are referred to collectively as the “Priest Leases.”
              23         258. Daryl Priest (who owns the three Priest LLCs), Travis Lyon and the
              24 Borrego Insiders worked together to devise a scheme under which Borrego Health
              25 was a conduit of federal healthcare funds to pay for the overpriced Priest Leases.
              26 Daryl Priest, Travis Lyons and the Borrego Insiders worked together to make
              27 management and operational decisions at Borrego Health to allow the Priest Leases
              28 to be entered and to remain in operation undisclosed to Borrego Health’s full board.

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               1         259. Daryl Priest is an experienced owner and lessor of commercial
               2 properties. Travis Lyon is an experienced commercial real estate development and
               3 management executive. Daryl Priest and Travis Lyon, on behalf of Promenade,
               4 DRP, and Inland Valley, must each present their commercial leases to banks
               5 providing them with mortgages and other funding related to their leased properties.
               6 Daryl Priest and Travis Lyon, on behalf of Promenade, DRP, and Inland Valley,
               7 must perform due diligence regarding their lessees, before entering into a 30+ year
               8 lease that will be reviewed by lenders providing millions of dollars of financing to
               9 Promenade, DRP, and Inland Valley. Daryl Priest and Travis Lyon are therefore
              10 presumed to know Borrego Health’s business, including that it is a non-profit health
              11 care provider doing business with federally-funded health programs. Daryl Priest
              12 and Travis Lyon are presumed to know fair market rent, that the stated rent in the
              13 Priest Leases is over fair market rent, and that the lease terms of 30+ years are far
              14 beyond fair market lease terms (especially in the absence of terms allowing Borrego
              15 Health to terminate the lease on reasonable notice). Under these facts and
              16 circumstances, Daryl Priest and Travis Lyon, on behalf of Promenade, DRP, and
              17 Inland Valley, are charged with knowledge that they were each entering into an
              18 over-fair market rent lease with a non-profit FQHC.
              19         260. Mikia Wallis and the Borrego Insiders knew or should have known that
              20 the Priest Leases were well above market rents and terms.
              21         261. Mikia Wallis and the Borrego Insiders knew or should have known that
              22 the Priest Leases would need to be approved by the full Board of Trustees.
              23         262. With minimum due diligence, the over-fair market rent price and
              24 excessive duration of the Promenade Lease, DRP Lease, and Inland Valley Lease,
              25 combined with the absence of any term allowing Borrego Health to terminate a lease
              26 prior to their respective lease terms, would have been readily apparent.
              27
              28

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               1         263. No rational, informed Board of Trustees for a non-profit FQHC would
               2 have, or could have, lawfully approved the Promenade Lease, DRP Lease, or Inland
               3 Valley Lease for, inter alia, the following reasons:
               4               a.     The lease terms are unconscionable, and would result in the
               5 diversion of millions of “over-fair market rent” dollars of federal health program
               6 money to the Priest-owned entities;
               7               b.     The Promenade Lease calls for payment of nearly $40,000 per
               8 month over fair market rent, or more than $15,000,000 over fair market rent over the
               9 33-year life of the lease;
              10               c.     The DRP Lease calls for payment of nearly $39,000 per month
              11 over fair market rent, or approximately $14,000,000 over fair market rent over the
              12 30-year life of the lease;
              13               d.     The Inland Valley Lease calls for payment of more than $80,000
              14 per month over fair market rent, or approximately $29,000,000 above fair market
              15 rent over the 30-year life of the lease;
              16               e.     Approximately 90% of the revenue received by Borrego Health is
              17 paid by government funded health programs (Medi-Cal and Medicare), and therefore
              18 if the Priest Leases are enforceable, the vast majority of the over-fair market rent
              19 dollars paid could be government health program money;
              20               f.     The over-fair market rent facility lease payments expose Borrego
              21 Health to reductions in the allowed reimbursements paid Borrego Health in prior
              22 years; and
              23               g.     The close relationship between the Borrego Insiders and Daryl
              24 Priest and Travis Lyon (and, by extension, the Priest-owned LLCs) exposes the non-
              25 profit FQHC to adverse federal and state tax consequences. The fact that the rent
              26 money would inure to insiders meant Borrego Health could be found to be failing in
              27 its obligations to ensure that its assets were being used predominantly for charitable
              28 purposes, exposing it to possible revocation of its 501(c)(3) status.

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               1         264. If enforceable, the Priest Leases would have siphoned $58 million in
               2 over-fair market rent money from Borrego Health over the life of the leases. Two of
               3 the leases (Inland Valley Lease in Barstow and DRP Lease in San Bernardino) have
               4 been terminated. The Promenade Lease in El Cajon remains in operation with
               5 Borrego Health paying twice fair market rent under protest, with permission of the
               6 DHCS monitor overseeing Borrego Health’s operations since late 2020. Without
               7 judicial intervention on the Promenade Square lease, and without recovery of the
               8 $11.8 million in overpaid rent to date, the actions of the Borrego Insiders and a
               9 handful of Priest entities will continue to present an immediate threat to disable an
              10 essential provider of primary healthcare services to underserved inland communities
              11 in San Diego, San Bernardino, and Riverside Counties.
              12         265. The Priest Leases were concealed from the full Borrego Health Board.
              13 Mikia Wallis and the Borrego Insiders knew what was contained in regular reports
              14 to the full Borrego Health board, and more importantly, what was not. The Borrego
              15 Insiders knew that financial reports presented to the full board did not include or
              16 otherwise call out the individual facility rents in a way that might suggest that they
              17 were over market or had unreasonably long lease terms. Financial reports to the full
              18 Borrego Health Board include only the aggregate rents paid on all facilities. The
              19 Borrego Insiders knew that Borrego Health’s personnel would make monthly rent
              20 payments as requested, without questioning the reasonableness of those monthly
              21 rent payments. Thus, unless the Priest Leases themselves were presented to the full
              22 Board of Trustees for vetting and approval, there was absolutely no way that
              23 Borrego Health would be put on notice of any potential financial or other injury
              24 associated with, or caused in whole or in part by over-market leases.
              25         266. The Borrego Insiders knew that full Board of Borrego Health would
              26 review only those contracts presented to them, and that they would never have
              27 reason to see the Priest LLC leases unless the Borrego Insiders managing the
              28 relationship with Priest LLCs decided to present the leases. Thus, unless disclosed

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               1 by the Borrego Insiders, there was no way that Borrego Health would be put on
               2 notice of the terms of the three subject leases, or that the Borrego Insiders were
               3 working with Daryl Priest, Travis Lyon, and, through them, the three Priest LLC to
               4 make all management and operations decisions pertaining to the over-market leases
               5 for Borrego Health, and in a manner contrary to Borrego Health’s financial and
               6 compliance interests. The fact of injury from the leases and from the defendants’
               7 participation in Borrego Health’s facilities procurement and operations and therefore
               8 could not be discovered.
               9         267. The Borrego Insiders’ continued concealment of the leases from
              10 Borrego Health was a separate breach of fiduciary duty and/or duty of care in
              11 furtherance of the scheme to steal money from Borrego Health every time a monthly
              12 rent check was mailed to Borrego Health.
              13         268. The Priest Leases Scheme victimized Borrego Health in at least three
              14 ways:
              15               a.    Exposure to State Suspensions and Federal Disqualification: In
              16 California, government funded health program funds flow to FQHCs under the
              17 oversight of the California Department of Health Care Services (“DHCS”). DHCS
              18 is empowered to suspend all reimbursement for the provision of health care services
              19 to Medi-Cal members in accordance with, inter alia, Welfare and Institutions Code
              20 section 14107.11 and Title 42 of the Code of Federal Regulations section 455.23.
              21 Further, HRSA/Bureau of Primary Health Care (“BPHC”) monitors FQHCs and can
              22 suspend and/or disqualify Borrego Health from the FQHC program, including, inter
              23 alia, an action by HRSA requiring Borrego Health to cease all activities in the
              24 program pending corrective action (45 CFR 75.375) and possible suspension under
              25 HHS regulations (2 CFR Part 376, 45 CFR 75.2). DHCS is presently allowing
              26 Borrego Health to continue operations under the guidance, oversight, and direction
              27 of a DHCS-appointed independent monitor.
              28

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               1               b.     Reimbursement rate adjustments: The cost of owning, renting,
               2 maintaining, and upgrading clinic facilities is a substantial cost center for FQHCs
               3 providing primary health care services. As such, CMS recognizes the fair market
               4 value of facility costs reasonably incurred and truthfully reported by FQHCs in
               5 determining the reimbursement rates to be paid clinics operated by the FQHC. Cost
               6 reporting in excess of fair market value inflates the FQHC’s mandatory cost reports
               7 required under title 42 of the United States Code section 1395g, and exposes
               8 Borrego Health to an order that it retroactively amend its cost reports, potentially
               9 leading to a reduction in reimbursement rates paid by federally funded health
              10 programs.
              11               c.     Non-profit 501(c)(3) tax status: Contract payments to
              12 disqualified persons in excess of fair market values (or other unlawful diversion of a
              13 non-profit entity’s revenue to falsely disguise profits as operating expenses) can
              14 result in tax liability and/or loss of non-profit tax exemption status at both the federal
              15 and state levels. (See, e.g., Internal Revenue Code sections 4958(c)(1) and
              16 4958(f)(1) and related Treasury Department Regulations in section 53.4958-3.)
              17         269. The concealment of the Priest Leases Scheme detailed above and of the
              18 fact of injury resulting therefrom worked to perfection until it came to light in late
              19 2020. At that time, following October 2020 raids by state and federal law
              20 enforcement authorities, DHCS suspended payment of federal funds to Borrego
              21 Health in conjunction with an investigation unrelated to the Priest Leases. In the
              22 course of the investigation, numerous contracts were reviewed, including the Priest
              23 Leases.
              24         270. Independent certified commercial real estate appraisers made the
              25 following findings: (a) on the Promenade Lease (El Cajon location), Borrego
              26 Health was paying $39,104.75 a month above fair market rent, or $469,257 above
              27 fair market rent per year; (b) on the DRP Lease (San Bernardino location), Borrego
              28 Health was paying $38,405.95 a month above fair market rent, or $460,871.40

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               1 above fair market rent per year; and (c) on the Inland Valley Lease (Barstow
               2 location), Borrego Health was paying $80,025.25 a month above fair market rent, or
               3 $960,303 above fair market rent per year. Additionally, the lease terms of 30 to 33
               4 years on the Priest Leases is unreasonably over market as well. A reasonable fair
               5 market term for these commercial leases is three to five years.
               6         271. In order to remain in operation, Borrego Health signed an agreement
               7 with DHCS in February 2021 under which an independent monitor selected by
               8 DHCS would institute a robust corporate integrity and compliance program at
               9 Borrego Health. As is relevant here, DHCS’ monitor directed Borrego Health to:
              10 (1) stop paying above fair market rent on the Priest Leases; and (2) take action to
              11 address over-fair market rent payments, excessive 30-year lease terms, and the
              12 failure to include lease provisions under which Borrego Health may terminate the
              13 leases.
              14         272. In response, the Priest LLCs acted in unison. The Priest LLCs
              15 demanded that Borrego Health continue to make over-fair market rent payments
              16 under the Priest Leases. In a May 25, 2021 email, the Priest LLCs threatened that
              17 Borrego Health’s failure to pay the demanded rent on any one of the Priest Leases
              18 will result in immediate eviction proceedings as to all three locations that are the
              19 subject of the Priest Leases.
              20         273. The Priest Leases are the subject of a related litigation pending as Case
              21 3:21-cv-04117-L-AGS, entitled Borrego Community Health Foundation v. Inland
              22 Valley Investments, LLC, et al.
              23         274. Because Borrego Health had no constructive or inquiry notice of the
              24 fact of injury throughout the eight-year life of the Priest Leases Scheme, Borrego
              25 Health’s right to recover money stolen by defendants extends back to the
              26 commencement of each lease. The accrual date applicable to RICO claims under
              27 the discovery rule (and to all other causes of action pled herein) is at the earliest
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               1 October 2020, and Borrego Health may sue to recover for the entire eight years of
               2 losses.
               3        275. On information and belief, the Borrego Insiders were compensated for
               4 this access and control through kickbacks or other payments or remuneration.
               5        G.     The Borrego Insiders Paid Themselves Above-Market
               6               Compensation and Granted Themselves Improper Benefits and
               7               Covered It Up (the “Compensation/Benefits Scheme”)
               8        276. Bruce Hebets received a high salary from Borrego Health. For
               9 instance, in 2016, Bruce Hebets received more than $383,000 in salary, plus over
              10 $126,000 in “bonus,” in addition to a “car allowance” of $1,000 per month and a
              11 “cell allowance” of $350 per month. In 2017, Bruce Hebets received more than
              12 $529,000 in salary, plus over $87,000 in “bonus,” in addition to the car and cell
              13 allowance. In 2018 (partial year), Bruce Hebets received more than $467,000 in
              14 salary, plus over $321,000 in “bonus,” in addition to the car and cell allowance.
              15        277. Karen Hebets also received a high salary from Borrego Health. For
              16 instance, in 2016, Karen Hebets received more than $227,000 in salary, plus over
              17 $40,000 in “bonus”. In 2017, Karen Hebets received more than $228,000 in salary,
              18 plus over $51,000 in “bonus”. In 2018 and 2019, Karen Hebets received more than
              19 $228,000 in salary, plus over $41,000 in “bonus”. In 2020, these salaries were
              20 reduced to more than $205,000 with a bonus of over $10,000.
              21        278. Diana Thompson, formerly Diana Troncoso, also received a high salary
              22 from Borrego Health. For instance, in 2017, Diana Thompson was paid nearly
              23 $338,000.
              24        279. Mikia Wallis also received a high salary from Borrego Health. For
              25 instance, in 2017, Mikia Wallis was paid over $440,000.
              26        280. The Borrego Insiders then proceeded to disguise their above-market
              27 salary and benefits by using improper evaluations. For instance, the Borrego
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               1 Insiders used Jim Hebets and his companies to create a bogus evaluation of the
               2 compensation packages, concluding—unsurprisingly—that they were appropriate.
               3        281. One Borrego Insider even stated that the executives kept their base
               4 salary low but took additional payments as “bonuses” and received other benefits
               5 “to avoid scrutiny.”
               6        282. The Bored Insiders also received compensation and other improper
               7 benefits. In July 2015, Bruce Hebets inquired from counsel whether or not a FQHC
               8 can pay or compensate board members, but counsel informed him that payments
               9 were prohibited, other than very narrow exceptions. Nevertheless, the Board
              10 Insiders received remuneration and benefits from Borrego Health, and were
              11 therefore effectively compensated by Borrego Health and incentivized to keep these
              12 Schemes going.
              13        283. For instance, the Board Insiders received free access to Borrego Health
              14 programs, benefits, prescription drugs and even hearing aids.
              15        284. An email from Mike Hickok dated August 31, 2020, confirmed the
              16 practice of improper remuneration and benefits to Board Insiders:
              17        This policy has existed since Borrego Health was founded. I asked about this
                        once myself (I currently get my pharmacy prescriptions as a perk) and was
              18        told this was an acceptable practice. My understanding is staff and families
              19        get the same perk plus no charge for medical and dental care. As far as the
                        missive that the cost of these items should be put back into the healthcare of
              20        the community is almost too laughable to be taken seriously in view of the
                        tens of millions of dollars we waste with double paying Providers or paying
              21        them for doing little to no work or paying firms like Premier Healthcare
                        millions of dollars that in-house staff could do and much less expensively or
              22        the many (probably most) real estate leases that we pay exorbitantly over
              23        market rent and for well in excess of typical lease terms. I've been trying to
                        call attention to these issues for years and gotten nowhere until the Borrego
              24        Sun stared to expose them. Alan Kuehn has been blowing the whistle for
                        years about medicare fraud in the contract dental practice and the only thing
              25        that this board chose to do regarding him was blackball him as a board
              26        member because he was threatening to Makia and Tim Martinez and the
                        ongoing scam with Premier Healthcare.
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               1        So now calling attention to Trustees getting a perk of free pharmacy as some
                        sort of impropriety is (on second thought) not almost laughable it takes the
               2        cake ….
               3
               4        285. Later, as discussed below, when this arrangement was revealed, the
               5 Borrego Health Board ended the practice.
               6        286. In 2019, Compensation Resources, Inc. (“CRI”) was retained by
               7 Borrego Health to review and analyze the compensation of 15 Borrego Health
               8 executives. CRI issued its report on or about July 19, 2019. In sum, of the 15
               9 executives reviewed, the CRI report concluded that the “Total Compensation
              10 Package (TCP) for eleven (11) of the Borrego officers is currently above the high
              11 end of their respective Market Ranges of Reasonableness.” In early 2020, a second
              12 CRI analysis was conducted for the other employees of Borrego Health, which also
              13 found excessive salaries.
              14        287. Mikia Wallis and the Borrego Insiders failed to raise the issues of
              15 nepotism, cronyism and above-market compensation to the full Borrego Health
              16 Board, and took steps to conceal the issues. When asked by the full Borrego Health
              17 Board to investigate and report on the compensation, Mikia Wallis’ submitted
              18 multiple reports which lacked the necessary information to make any appropriate
              19 decisions.
              20        288. For instance, in one version of Mikia Wallis’ report she used the
              21 salaries that had recently been reduced by an “equitable” adjustment, effectively
              22 attempting to conceal the past problems.
              23        289. On top of that, Bruce Hebets and Jim Hebets schemed to create a 162B
              24 Executive Bonus Plan that would pay Bruce Hebets and others additional
              25 compensation (a tax-free payment of $5,000 per month) while also siphoning
              26 millions to Jim Hebets’ insurance company.
              27        290. On information and belief, the Borrego Insiders were compensated for
              28 this access and control through kickbacks or other payments or remuneration.

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               1        H.     The Borrego Insiders Used Nepotism and Cronyism to Funnel
               2               Money to their Friends and Family (the “Nepotism and Cronyism
               3               Scheme”)
               4        291. Bruce Hebets and Karen Hebets hired their family members to work at
               5 Borrego Health. The nepotistic hires benefited the Hebets family, so that they were
               6 encouraged to keep the above-described Schemes operating. This included Bruce
               7 and Karen’s daughter Tiffany Hebets (Collections Clerk, paid approximately
               8 $46,700/year and daughter Amanda Troncoso (Lead Billing Internal Auditor, base
               9 salary $49,920/year). Amanda Troncoso is also the daughter-in-law of Diana
              10 Thompson.
              11        292. Mikia Wallis created a position for her husband, Jeremy Noble, at
              12 Borrego Health. Jeremy Noble was hired to be Director of Site Facility Compliance
              13 for Borrego Health in exchange for an annual base salary of $120,000, despite the
              14 fact that he lacked the skills needed for the position. Jeremy Noble was later
              15 arrested and charged with illegal firearms possession. Borrego Health is informed
              16 and believes that the criminal case (Case No. SCN420059) is ongoing.
              17        293. Diana Thompson hired her family members to work in Borrego
              18 Health’s billing department and elsewhere. The nepotistic hires benefited Diana
              19 Thompson and her family, so that she was encouraged to keep the above-described
              20 schemes operating. Moreover, by populating her department with family members,
              21 it effectively eliminated any meaningful oversight. These family members included:
              22 (1) her brother Jose Alfredo Villafana, IT Technician (base salary $45,760/year); (2)
              23 her brother Luis Troncoso, Facilities Maintenance Worker 3 (base salary:
              24 $57,200/year); (3) her sister Breanda Troncoso, Biller 2 (base salary $40,352/year);
              25 (4) her step-son Julian Thompson, Accounting Clerk 1 (base salary $45,739/year);
              26 (5) her step-son Jordan Thompson, Biller 2 (base salary $35,360); and (6) her
              27 daughter-in-law Amanda Troncoso, Lead Billing Internal Auditor (base salary
              28

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               1 $49,920/year). Borrego Health even hired Diana Thompson’s father to provide
               2 gardening services for Borrego Health.
               3        294. On information and belief, the Borrego Insiders were compensated for
               4 this access and control through kickbacks or other payments or remuneration.
               5        I.     The Borrego Insiders Tried To Purchase a Country Club to
               6               Personally Benefit Themselves (the “De Anza Country Club
               7               Scheme”)
               8        295. The October 2017 Executive/Finance Committee meeting was
               9 recorded. In that meeting, the Board Insiders and staff attendees (including Bruce
              10 Hebets, Mikia Wallis, and Diana Thompson) discussed a proposal to purchase the
              11 De Anza Country Club located in Borrego Springs. On information and belief: (1)
              12 the country club was not performing well economically and was contemplating
              13 selling its assets or filing for bankruptcy, (2) some Borrego Insiders own or owned
              14 homes nearby whose property values would face decline, and (3) some Borrego
              15 Insiders were creditors of the country club through a limited liability company.
              16        296. Three of the four Board Insiders (Mike Hickok, Dennis Nourse, and
              17 Harry Ilsley) were members and nearby homeowners at De Anza Country Club
              18 during a period when the club was ﬁnancially distressed and looking for a purchaser.
              19 Mike Hickok was on the De Anza Board of Trustees and headed a committee at De
              20 Anza to arrange a purchaser for the country club.
              21        297. Following the October 2017 meeting, Borrego Health made a formal
              22 oﬀer to purchase the country club, including paying earnest money on the deal. As
              23 usual, the Borrego Insiders did not take the De Anza transaction to the full Board for
              24 its review or approval.
              25        298. In fact, in the recorded October 2017 Executive/Finance Committee
              26 meeting, the Borrego Insiders explicitly acknowledge that members of the full
              27 Board would disapprove of such a purchase. Borrego Health does not know why
              28 the Borrego Insiders wanted a FQHC—i.e., a healthcare provider for underserved

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               1 communities—to purchase a country club, though Borrego Health suspects that
               2 some or all of those individuals would personally benefit from such a transaction, at
               3 the expense of Borrego Health.
               4         299. By email dated November 18, 2017, outside counsel for Borrego
               5 Health advised Mikia Wallis that there were potentially “severe consequences” to
               6 Borrego Health from the proposed transaction, outlining some of the major potential
               7 issues.
               8         300. Ultimately, for reasons also unknown to Borrego Health, the deal did
               9 not move forward, and de Anza returned the earnest money.
              10         J.    The Borrego Insiders Attempted to Pay Bruce Hebets a $5 Million
              11               Payout (the “Payout Scheme”)
              12         301. In or about March 2018, Bruce Hebets suffered from a worsening
              13 illness and decided to step down from his position as CEO. Without putting it on
              14 the agenda, the Borrego Insiders proposed a $5 million payout for Bruce Hebets as
              15 part of a “transition agreement.” Around that time, the idea was first presented to
              16 the full Board of Trustees. At that time it was first presented to the full Board, an
              17 agreement had already been created, which was drafted by Mikia Wallis.
              18         302. Mikia Wallis drafted the agreement at Bruce Hebets’ request. Mikia
              19 Wallis did not advise Borrego Health to get separate counsel with respect to the
              20 agreement, and told a Borrego Health Board member on or about April 5, 2018 that
              21 she “represented no one” in the transaction, despite that fact that she was Borrego
              22 Health’s Chief Legal Officer and would shortly become Borrego Health’s CEO.
              23 The Board member encouraged Mikia Wallis to do her own research about to whom
              24 she owes a duty of loyalty as general counsel for Borrego Health. Mikia Wallis
              25 argued that she was not required to represent the best interests of the organization
              26 (which is wrong), that she did not represent anyone with respect to this transaction,
              27 and that there was nothing wrong with having drafted the contract for Bruce Hebets.
              28

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               1        303. The Borrego Insiders did not do any diligence or get an independent
               2 analysis with respect to a proper amount for a buyout under the circumstances. Two
               3 other Board members, who were not Board Insiders, objected to the payout, stated
               4 that additional diligence was required and asked for the vote to be delayed to allow
               5 for additional evaluation.
               6        304. During the discussion of the transition agreement, the Borrego Insiders
               7 argued that the extremely high buyout was appropriate due to the fact that Bruce
               8 Hebets had not received retirement benefits. However, this was false as Bruce
               9 Hebets had a 162B plan. (The existence of the 162B plan was concealed by the
              10 Borrego Insiders, including from the auditor retained to evaluate the appropriate
              11 amount of Bruce Hebets’ payout.)
              12        305. The vote on the “transition agreement” and buyout was postponed to a
              13 later meeting.
              14        306. At the April 5, 2018 Borrego Health Board meeting, the issue was
              15 discussed. The Borrego Insiders brought a man named Frank Church, who was
              16 supposedly an “independent auditor,” to appear by phone in the meeting. Frank
              17 Church did not appear to have any expertise or knowledge regarding the
              18 reasonableness of the payout.
              19        307. Later, still needing an independent evaluation of the payout amount, at
              20 the insistence of the non-Borrego Insider Board Trustees, Borrego Health retained
              21 FW Cook to conduct an evaluation. FW Cook employee Marty Katz provided the
              22 results. After reviewing salaries and payouts for other CEOs, FW Cook concluded
              23 that an appropriate payout would be $2 million, not the $5 million that Bruce Hebets
              24 and Mikia Wallis proposed. The analysis was provided without knowledge of the
              25 162B plan and benefits, and was therefore fundamentally flawed.
              26        308. However, this payout amount was eventually agreed to by the full
              27 Borrego Health Board and Bruce Hebets. Months after the $2 million payout had
              28 already been completed, Borrego Health once again consulted with FW cook about

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               1 the propriety of the 162B plan. At that time, Marty Katz explained that he was told
               2 by Mikia Wallis that payments made to a 162B plan for Bruce Hebets’ benefits were
               3 performance-based bonuses, which was false. In actuality, this was a part of Bruce
               4 Hebets’ regular compensation. Marty Katz told a Borrego Health Board member
               5 that if he had known this information, the payout amount would have been lower.
               6        309. The Borrego Insiders also attempted to conceal the impropriety of the
               7 generous 162B plan offered to some Borrego Insiders. In spring or summer 2019,
               8 certain Borrego Health Board Trustees asked Mikia Wallis to evaluate the current
               9 162B plan and, if necessary, find alternative plans. Mikia Wallis invited an
              10 individual to address the issue with the full Borrego Health board. The individual
              11 identified himself as “Jim” without providing a last name. He proceeded to praise
              12 the 162B plan. It was only when a non-Borrego Insider Board member asked for his
              13 last name did Jim disclose that he was, in fact, Jim Hebets.
              14        310. On information and belief, the Borrego Insiders were compensated for
              15 this access and control through kickbacks or other payments or remuneration.
              16        K.     The Borrego Insiders Funneled Money to Bruce Hebets’ Brother,
              17               Jim Hebets, and Jim Hebets’ Firm (the “Jim Hebets Scheme“)
              18        311. The Borrego Insiders entered into an arrangements, on behalf of
              19 Borrego Health, with Jim Hebets and/or companies owned or controlled by Jim
              20 Hebets, The Hebets Company, funneling additional Borrego Health funds to
              21 Borrego Insider cronies and family members.
              22        312. For instance, the Borrego Insiders collaborated to have Jim Hebets
              23 and/or his companies review and approve sham, inflated salaries for Borrego Health
              24 executives, including the Borrego Insiders.
              25        313. Jim Hebets directed the review and approval process through The
              26 Hebets Company. However, when the sham fair market value analyses were
              27 presented to the Borrego Health Board, Jim Hebets ensured that his name was
              28 removed by the masthead and documents were carefully drafted to avoid reference

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               1 to Jim Hebets and to conceal his involvement and obvious conflict of interest, even
               2 neglecting to mention his last name when introducing himself.
               3        314. Jim Hebets’ firm, The Hebets Company, is located in Phoenix,
               4 Arizona. On the website (www.hebetsco.com), he boasts of specializing in FQHCs
               5 and creating ways to increase executive compensation/benefits beyond what is
               6 specified in IRS code for qualified 403(b) or 457(b) plans.
               7        315. The Hebets Company’s current website makes it perfectly clear that
               8 their agenda is to maximize executive compensation:
               9        Today’s competitive labor market makes it increasingly difficult for
                        businesses to hire and retain highly skilled employees. The Hebets
              10        Company’s Executive Compensation and Supplemental Fringe Benefits
              11        division assists these enterprises in designing and implementing innovative
                        compensation and benefit programs for purposes of recruiting and rewarding
              12        those key executives who are instrumental to the profitability of the company.
                        Legislative changes over the years have repeatedly reduced the qualified plan
              13        benefits that can be allocated to this select group of highly compensated
                        employees resulting in “reverse discrimination”. But there are many
              14        worthwhile solutions.
              15
              16        316. Jim Hebets’ firm also boasts that it provides “Estate planning for the
              17 ‘exceptionally wealthy,’” a seeming mismatch for Borrego as a non-profit, but
              18 perhaps exactly what Bruce Hebets sought and why Jim Hebets was involved.
              19        317. Bruce Hebets, Diana Thompson, and Mikia Wallis also schemed with
              20 The Hebets Company to increase executive compensation through contributions
              21 through automatic “bonuses” that were paid to 162B plans. These automatic
              22 bonuses paid to many Borrego Insiders, including Bruce Hebets, Diana Thompson,
              23 Mikia Wallis, and Karen Hebets.
              24        318. Though the 162B plans appeared at first glance to be life insurance
              25 plans, they were never intended as such but were instead a strategy to pay above
              26 market to insiders without added scrutiny or tax liability. Bruce Hebets and Karen
              27 Hebets worked directly with the Vice President and General Manager of The Hebets
              28

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               1 Company to “borrow” from their 162B accounts and transfer the funds from their
               2 respective 162B plans into their checking account.
               3        319. These were significant payments. As of 2015, Bruce Hebets was
               4 receiving $3,500 per month for his 162B plan, and by 2017, he was receiving $5,000
               5 per month. These amounts were free of taxes, as on top of these payments, Borrego
               6 Health was also paying a tax true up. As a result of this scheme, Bruce Hebets,
               7 Karen Hebets, and other Borrego Insiders got tax free bonuses every month, which
               8 they subsequently cashed out.
               9        320. Even after the loans, the value of these plans was substantial. As of
              10 July 9, 2018, Bruce Hebets’ 162B life insurance value was $1,236,000. It appears
              11 this approximate value was paid out to Bruce Hebets’ estate at the time of his death
              12 after a long illness in January 2019.
              13        321. These 162B plan payments also created a windfall for Jim Hebets and
              14 The Hebets Company, which sold and managed the plan. As of July 2020, Borrego
              15 was paying $240,000 per month for the 162B plans. This is immensely
              16 disproportionate.
              17        322. For scale, Borrego Health paid in full for a bridge life insurance policy
              18 that would allow staff losing their 162B plan benefit to retain up to two-times their
              19 salary, up to $500,000, in group term life insurance until they could select their own
              20 insurance at their own cost via annual open enrollment. The cost of that plan was
              21 $15,420 per month.
              22        323. The Borrego Insiders, Jim Hebets, and The Hebets Company knew that
              23 the Borrego Health Board members would rely on the compensation analyses and
              24 would have no other resource to question them. Thus, the compensation analyses
              25 were presented to the Board of Trustees for vetting and approval, but there was no
              26 way that Borrego Health would be put on notice of Jim Hebets’ and his company’s
              27 involvement or of any potential financial or other injury associated with, or caused
              28 in whole or in part by the flawed compensation analyses. Nor would the Board have

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               1 any access to facts that might put them on inquiry notice that the Borrego Insiders,
               2 Jim Hebets, and The Hebets Company were working together to siphon funds from
               3 Borrego Health.
               4         324. On information and belief, the Borrego Insiders were compensated for
               5 this access and control through kickbacks or other payments or remuneration.
               6         L.     Borrego Insider Chuck Kimball Leased a Barn to Borrego Health
               7                (the “Julian Barn Scheme”)
               8         325. Julian Medical Foundation, Inc. is a 501(c)(3) organization. Its stated
               9 mission is “To foster the presence and availability of high quality health and
              10 medical care within the Julian area including being the owner of a rural health clinic
              11 in Julian and the promotion and sponsorship of activities addressing community-
              12 wide issues of health and safety.”
              13         326. Julian Medical Foundation sought out property in Julian, California and
              14 solicited Bruce Hebets to operate a clinic in Julian. Chuck Kimball led the efforts
              15 while he was an officer of Julian Medical Foundation.
              16         327. Bruce Hebets and Chuck Kimball were acquaintances prior to their
              17 relationship at Borrego Health.
              18         328. Chuck Kimball repeatedly emailed Bruce Hebets starting in April 2009
              19 regarding acquiring a barn to serve as a site for a future clinic operated by Borrego
              20 Health in Julian. The target property identified by Chuck Kimball was a horse barn
              21 and surrounding land located at 2717 A Street in Julian, California (the “Horse
              22 Barn”).
              23         329. Chuck Kimball saw an opportunity to benefit the Julian Medical
              24 Foundation to the detriment of Borrego Health. Julian Medical Foundation could
              25 acquire the property, but it was not in a position to utilize it, finance it without
              26 subsidization, or develop it. Chuck Kimball wanted Borrego Health to subsidize the
              27 acquisition and development of the property and insulate Julian Medical Foundation
              28 from any risk from acquiring the property.

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               1        330. Thus, Julian Medical Foundation would acquire a property that was not
               2 useable in its current state, but Borrego Health would bear the risk of the acquisition
               3 by paying all costs of acquisition and ongoing financing to Julian Medical
               4 Foundation, including incurring liability for any mortgages secured by Julian
               5 Medical Foundation.
               6        331. In July and August 2009, Chuck Kimball began a fundraising drive for
               7 Julian Medical Foundation to acquire a property in Julian for a medical clinic.
               8        332. Even before Julian Medical Foundation was able to acquire the Horse
               9 Barn, Chuck Kimball coordinated the drafting of a lease between the Horse Barn
              10 owners and Borrego Health.
              11        333. Later, Chuck Kimball proposed that Julian Medical Foundation lease
              12 the Horse Barn to Borrego Health with Julian Medical Foundation as the landlord.
              13        334. Borrego Health agreed to lease the Horse Barn without even
              14 considering whether there was a market for the services should the Horse Barn be
              15 remodeled to accommodate a new clinic. Instead, market analyses were conducted
              16 years later with the Horse Barn remaining unused by Borrego Health.
              17        335. In October 2010, Borrego Health entered into an agreement with Julian
              18 Medical Foundation and Chuck Kimball to lease the Horse Barn. The lease terms
              19 were one-sided and the product of Julian Medical Foundation and Chuck Kimball
              20 exerting control over Borrego Health.
              21        336. The leased space was not necessary and the Horse Barn was unneeded
              22 and unusable.
              23        337. Initially, there was no specific lease amount specified. Instead, it was
              24 set at whatever expenses Julian Medical Foundation had to own the property. As a
              25 result of the ambiguity of the monthly rent, the Borrego Insiders and Julian Medical
              26 Foundation could manipulate the amount of rent for Borrego Health to pay to the
              27 Julian Medical Foundation.
              28

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               1         338. The Horse Barn was unusable by Borrego Health, but it paid the full
               2 rent to Julian Medical Foundation and then subleased the Horse Barn back to the
               3 original owners at a significant loss to Borrego Health, only reinforcing that the fair
               4 market rent for the Horse Barn was far less than Borrego Health was paying.
               5         339. The Borrego Insiders and Julian Medical Foundation were all aware
               6 that Borrego Health had no use for a barn and no intention to utilize it. Yet, they set
               7 the term of the lease at 20 years in duration, with no termination clause for Borrego
               8 Health, not even if the property was never developed into a medical clinic. If the
               9 lease were to be terminated or abandoned, Borrego Health agreed to pay off all
              10 mortgages on the Horse Barn.
              11         340. Later, by First Amendment to the lease dated November 7, 2013,
              12 Borrego Health agreed to Julian Medical Foundation’s demand to increase the rent
              13 from at least $6,284 per month to $7,179, despite no additional consideration being
              14 offered by Julian Medical Foundation and Chuck Kimball. The only justification
              15 was increased costs incurred by Julian Medical Foundation due to a property tax
              16 increase.
              17         341. Ultimately, the Horse Barn lease was so unsustainable that Borrego
              18 Health had to negotiate with Chuck Kimball to release Borrego Health from the
              19 lease, but that did not occur until 2022. At that point, Chuck Kimball was aware of
              20 government scrutiny.
              21         342. Neither Chuck Kimball nor the Julian Medical Foundation has returned
              22 or forgiven any rent for the Horse Barn.
              23         343. The Borrego Insiders knew that Borrego Health Board members would
              24 review only those contracts presented to them, and that they would never have
              25 reason to see The Horse Barn lease unless it was presented to them. Thus, unless
              26 the Horse Barn lease itself was presented to the Board for vetting and approval,
              27 there was absolutely no way that Borrego Health would be put on notice of any
              28 potential financial or other injury associated with, or caused in whole or in part by

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               1 over-market leases. Nor would the Board have any access to facts that might put
               2 them on inquiry notice that the Borrego Insiders were working together to siphon
               3 funds from Borrego Health.
               4         344. On information and belief, the Borrego Insiders were compensated for
               5 this access and control through kickbacks or other payments or remuneration.
               6         M.    Borrego Insider Dennis Nourse Sold Property to Borrego Health to
               7               be Developed by Priest (the “Property Development Scheme”)
               8         345. Bruce Hebets and Dennis Nourse were friends prior to their
               9 relationship at Borrego Health.
              10         346. Dennis Nourse owned commercial property located on Palm Canyon
              11 Drive in Borrego, Springs with Assessor Parcel Number (“APN”) 198-010-23-00
              12 (“Palm Canyon Parcel”), which fronts on Palm Canyon Drive just west of Country
              13 Club Road.
              14         347. Dennis Nourse saw an opportunity to benefit himself by facilitating a
              15 sale the Palm Canyon Parcel and involving Borrego Health.
              16         348. Dennis Nourse approached Bruce Hebets to discuss a sale. Bruce
              17 Hebets saw an opportunity to involve Daryl Priest to develop the property, who he
              18 had familiarity with after two other clinic leases.
              19         349. Dennis Nourse, Bruce Hebets, and Daryl Priest collaborated so that
              20 Daryl Priest would acquire the commercially worthless parcel from Dennis Nourse,
              21 and then have it developed by Daryl Priest and his affiliated companies. Once it
              22 was developed, the property would then be leased to Borrego Health at
              23 commercially unreasonable terms.
              24         350. Thus, the scheme was hatched whereby Dennis Nourse would be
              25 overpaid for the Palm Canyon Parcel, half of which was undevelopable foothills.
              26 Daryl Priest and his entities would overpay, but make up any loss by overcharging
              27 Borrego Health for development and the lease of the property. The Borrego Insiders
              28 would sacrifice Borrego Health’s interests could further ingratiate himself with

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               1 Daryl Priest and to keep Dennis Nourse cooperative on the Executive/Finance
               2 Committee and to buy off Dennis Nourse as a future collaborator.
               3         351. Daryl Priest, though a wholly owned subsidiary created to purchase the
               4 Palm Canyon Parcel, Inland Development, LLC, entered into a contract with Dennis
               5 Nourse for the purchase.
               6         352. Contemporaneously, Bruce Hebets negotiated lease terms with Daryl
               7 Priest that were disadvantageous to Borrego Health.
               8         353. Dennis Nourse and Bruce Hebets brought the proposal to the
               9 Executive/Finance Committee, which was controlled by Borrego Insiders, including
              10 Dennis Nourse.
              11         354. Bruce Hebets and Mikia Wallis knew that such a business arrangement
              12 blatantly involved conflicts of interests. As a result, Bruce Hebets directed Mikia
              13 Wallis to perform an analysis demonstrating how the transaction could proceed with
              14 Dennis Nourse recusing himself from a vote.
              15         355. Rather than conduct an impartial and independent analysis, Mikia
              16 Wallis endeavored to perform an outcome-oriented and flawed “analysis” that
              17 would give the Executive/Finance Committee poor legal advice that the arrangement
              18 was acceptable, at the expense of Borrego Health.
              19         356. Mikia Wallis brought the cursory analysis supporting the transaction to
              20 Bruce Hebets to ask him if she “was on the right track.” Thus, she was not
              21 exercising proper independence as Borrego Health’s attorney, and was instead being
              22 controlled and directed by and agreeing to be nothing more than an instrument of
              23 Bruce Hebets.
              24         357. Mikia Wallis completed her internal analysis to the satisfaction of
              25 Bruce Hebets, and then sent it to outside counsel, who did not practice in the area of
              26 real estate transactions or conflict of interests issues for review and approval. With
              27 minor modification, outside counsel approved the analysis, and the matter was
              28 brought to the Executive/Finance Committee for approval.

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               1        358. The Board Insiders approved the proposed transaction with little
               2 questioning or scrutiny, including agreeing to the one-sided lease terms that Bruce
               3 Hebets had negotiated with Daryl Priest.
               4        359. Daryl Priest then immediately negotiated a lease with Borrego Health
               5 (the “Nourse Parcel Lease”), even though there was no land yet acquired by Daryl
               6 Priest and no structure to lease.
               7        360. The lease terms were not commercially reasonable, and included an
               8 agreement that Borrego Health would start paying full rent after Daryl Priest secured
               9 approved building plans, even though no one realistically expected to be able to
              10 occupy a finished structure for more than a year later.
              11        361. In other words, Borrego Health would be paying full rent for no
              12 property and still paying for much of the construction costs with no building to even
              13 use.
              14        362. The development of the land, however, still had to go through the local
              15 government approval process, including its design review committee. At the design
              16 review committee, the development was met with resistance.
              17        363. Rather than counter the resistance, Daryl Priest sought to modify the
              18 terms of the deal to further his interests and make Borrego Health’s position even
              19 less desirable.
              20        364. Daryl Priest proposed that Borrego Health purchase the Palm Canyon
              21 Parcel directly from Dennis Nourse, and that Daryl Priest would then develop the
              22 property under contract with Borrego Health.
              23        365. Thus it was agreed that the purchase agreement negotiated by Daryl
              24 Priest would be assigned to Borrego Health. Borrego Health would return Daryl
              25 Priest’s earnest money, and Borrego Health would pay $400,000 Dennis Nourse to
              26 purchase the Palm Canyon Parcel.
              27        366. This time, Bruce Hebets and Dennis Nourse decided not to go back to
              28 the full Borrego Health Board of Trustees or even the Board Insiders.

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               1           367. Instead, Bruce Hebets and Denis Nourse brought Borrego Insider Harry
               2 Ilsley into the fold. Harry Ilsley knew that the Board should have been involved,
               3 but agreed to work with Bruce Hebets and Denis Nourse to get the deal closed.
               4           368. Harry Ilsley, Dennis Nourse, and Bruce Hebets knew that Borrego
               5 Health Board members would review only those contracts presented to them, and
               6 that they would never have reason to see acquisition documents unless he or Bruce
               7 Hebets presented them. Thus, unless the deal documents were presented to the
               8 Board of Trustees for vetting and approval, they would not know of any potential
               9 financial or other injury associated with, or caused in whole or in part by the real
              10 property transaction. Nor would the Board have any access to facts that might put
              11 them on inquiry notice that Harry Ilsley, Bruce Hebets, and Dennis Nourse were
              12 working together to siphon funds from Borrego Health to Dennis Nourse and Daryl
              13 Priest.
              14           369. As usual, Bruce Hebets and Mikia Wallis facilitated and directed the
              15 actions necessary to execute the deal documents without knowledge of Borrego
              16 Health’s full Board.
              17           370. On information and belief, the Borrego Insiders were compensated for
              18 this access and control through kickbacks or other payments or remuneration.
              19 V.        CLEANING HOUSE
              20           371. After Bruce Hebets’ death, the Borrego Health board found themselves
              21 picking up the pieces of a highly disorganized organization. Since that time, the
              22 current Board (all of whom serve on a volunteer basis) has undertaken monumental
              23 efforts to identify and correct a number of issues in the organization. Some of those
              24 efforts are set forth below.
              25           372. All of the Board Insiders have resigned or have removed been from the
              26 Borrego Health Board, including most recently the removal of Mike Hickok
              27 (Treasurer) and Chuck Kimball (Secretary) on October 2, 2020. Ten new and
              28

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               1 diverse members were also added to the board between 2019 and 2020 and the
               2 Board was expanded to 13 members.
               3        373. The Board also began the process of a governance overhaul, including
               4 compiling a governance policy and making updates to Borrego Health’s Bylaws and
               5 other key policies (through the progress was slow due to actions of both Chuck
               6 Kimball and Mikia Wallis, who blocked a number of reform efforts before their
               7 removals).
               8        374. The Board retained outside counsel to complete governance overhaul,
               9 including Bylaws and policies, and develop Committees with clear committee
              10 charters.
              11        375. A Board Policy Manual consisting of updated organization Bylaws and
              12 key governance policies was compiled by Board members and presented in April
              13 2019. The electronic Board Policy Book was officially adopted by the Board in
              14 June 2020.
              15        376. Current Board members are now required to complete a 3.5-hour Board
              16 training by Compensation Resources, Inc. and NACH, and Borrego Health has
              17 developed materials for on-boarding new Board members. Board members are also
              18 required to complete 3 hours of on-line trainings and Borrego Health has offered
              19 additional NACH Board Governance Training to Board members.
              20        377. Borrego Health created and staffed the position of Governance
              21 Manager to assist the Board and committees in producing clear Board minutes,
              22 agendas, and helping to keep Board committees on track.
              23        378. Borrego Health retained Compensation Resources Inc. (“CRI”) to
              24 analyze executive officer compensation and benefits and complete an Executive
              25 Compensation study (July 2019) and expanded CRI contract to look at total
              26 compensation system-wide (2020). CRI also conducted Board training on
              27 governance with a focus on Board responsibility for oversight with respect to
              28 compensation (2019).

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                1         379. In 2019, Borrego Health retained another company to review retirement
                2 benefits and develop new retirement plan. The new company also will assist
                3 Borrego Health in developing more equitable total compensation plan, including
                4 performance bonus structure.
                5         380. Borrego Health also created new mechanisms to prevent improper
                6 arrangements, including overhauling the delegation of authority and procurement
                7 policies, creating the Board Audit Committee (2019), hiring new auditors (2020),
                8 and conducting a detailed review of IRS Form 990 (2019).
                9         381. Mikia Wallis was removed as CEO on October 8, 2020. All other staff
               10 in any way implicated by DHCS or DOJ to be involved in misconduct have been
               11 removed. The entire executive leadership team was replaced.
               12         382. In October 2020, Borrego Health closed its contract dental program and
               13 replaced staff employed within the program who had been identified by DOJ and
               14 DHCS.
               15         383. Borrego Health terminated its relationship with Priest-related entities,
               16 terminating its leases at the Barstow and D Street locations, seeking amendment in
               17 Federal Court of its lease at the El Cajon site, and terminating its contracts with
               18 Premier.
               19         384. Borrego Health invested significantly in its compliance program.
               20 Borrego Health established a Compliance Department led by an experienced Chief
               21 Compliance Officer, and staffed the department to include a Director of
               22 Compliance, Director of Program Integrity, Compliance Auditor and Compliance
               23 Analyst. At the Board level, Borrego Health created the Audit and Compliance
               24 Committee in January 2022, which hears detailed monthly compliance reports.
               25         385. Borrego Health also created a Compliance Program Manual and
               26 Compliance Hotline to assist with effectively identifying and resolving compliance
               27 concerns. Borrego Health instituted a series of compliance trainings, including
               28 monthly staff compliance education, bimonthly billing and coding compliance

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                1 trainings (instituted April 2022), code of conduct training, compliance team site
                2 visits (instituted January 2022), and executive training on fraud and abuse topics.
                3         386. Borrego Health engaged external auditing services from to evaluate its
                4 current claims, identify areas for improvement, and train staff and providers on
                5 those issues.
                6         387. Borrego Health has also invested in internal fraud prevention efforts
                7 aimed at individuals. Borrego Health retained a compensation review company to
                8 review executive compensation, with the result of review leading to executive
                9 compensation reform. Borrego Health also implemented new conflict of interest
               10 policies, a restrictive employment of relatives policy, and has limited the Board’s
               11 delegated authority to Borrego Health staff.
               12         388. Borrego Health has also implemented efforts to increase transparency
               13 of financials. Borrego Health has ensured that management reports are now
               14 available at the clinic level and are incorporated into Board reports available to the
               15 full board and has instituted a provider dashboard to monitor financial metrics.
               16 VI.     THE RICO ENTERPRISE
               17         A.      Facts Common To RICO Cause of Action
               18         389. The “Enterprise” is Borrego Health, a non-profit corporation in good
               19 standing, which the Defendants secretly commandeered for their own criminal
               20 purposes. Bruce Hebets’ death in 2019 does not alter the fact of his participation (as
               21 a Borrego Health insider) with Defendants in the operation and management of
               22 Borrego Health, as described below. If Bruce Hebets were alive, he would be
               23 named as a defendant herein.
               24         390. Borrego Health is a FQHC engaged in interstate commerce, with a
               25 mission to provide high quality, comprehensive, compassionate primary healthcare
               26 to people in their communities, regardless of their ability to pay. Borrego Health
               27 operated over 20 clinics, and continues to operate more than a dozen, primarily in
               28 underserved desert and inland communities throughout San Diego, Riverside, and

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                1 San Bernardino counties. Borrego Health provides essential services in Family
                2 Practice, Pediatrics, OB/GYN, Internal Medicine, Podiatry, Dermatology,
                3 Cardiology, and HIV/Hepatitis C, most of whom cannot obtain affordable
                4 comprehensive primary care from other sources. During the recent pandemic,
                5 Borrego Health has tested tens of thousands of Californians for Covid-19 infection
                6 and has vaccinated tens of thousands of people for Covid-19. Borrego Health’s
                7 continued operation is in the public interest.
                8         391. Although all of the Defendants named in this action are defendants in
                9 the RICO cause of action, Daryl Priest, Nick Priest, Travis Lyon, Premier, Summit,
               10 Jim Hebets, Hebets & McGuire, LLC, and The Hebets Company, The Julian
               11 Medical Foundation, and Husam Aldairi, D.D.S., Aram Arakelyan, D.D.S., Ayed
               12 Hawatmeh, D.D.S., Magaly Velasquez, D.D.S., Marcelo Toledo, D.D.S., Michael
               13 Hoang, D.M.D., Santiago Rojo, D.D.S., Waleed Stephan, D.D.S., Mohammed
               14 AlTekreeti, D.D.S., Jilbert Bakramian, D.D.S., Marlene Thompson, D.D.S., George
               15 Jared, D.D.S., Douglas Ness, D.D.S., and Alborz Mehdizadeh, D.D.S., and DOES 1-
               16 250, are “Outsiders” to Borrego Health.
               17         392. The Defendants are associated with the Enterprise in that they were
               18 either (1) Borrego Health executives or Board members, (2) the Enterprise’s
               19 landlords, (3) contracted dental providers, or (4) other outside vendors.
               20         393. The Defendants are entities and individuals separate from the
               21 Enterprise, and none of the Defendants is alleged to be the Enterprise, or its
               22 members.
               23         394. Borrego Health is both the RICO enterprise and the victim. Borrego
               24 Health has lost tens of millions of dollars as a result of the Defendants’ fraudulent
               25 conduct and suffered other damages, including without limitation an inability to be
               26 paid by Medi-Cal for in-house dental services, an inability to provide contract dental
               27 services, and an exposure for repayment to the Medi-Cal program for claims that
               28

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                1 were caused to be submitted by defendants and contract dentists that were not
                2 payable.
                3         395. The unlawful acts described herein were devised, directed and
                4 maintained by the Defendants who had control over, participated in, and/or took part
                5 in Borrego Health’s operations and management.
                6         B.     Racketeering Activity Distinct from Enterprise
                7         396. The pattern of racketeering described herein is separate and distinct
                8 from the Enterprise, due to both the relationship between the activities of the
                9 Enterprise and the pattern of racketeering activity, and how the racketeering activity
               10 differs from the usual daily activities of the enterprise is as follows:
               11         397. Borrego Health, the Enterprise, is engaged in interstate commerce
               12 acting as a FQHC. It acquires good and products from across the country, including
               13 medical supplies. It utilizes the internet and United States banking system to
               14 facilitate its operations, including using electronic billing to bill and receive
               15 payment from Medi-Cal. Borrego Health also regularly uses mail to pay vendors
               16 and acquire good and products, including medical supplies and medications.
               17         398. Defendants worked together to perpetrate a number of schemes to steal
               18 money from the Enterprise paid to the Enterprise by state and federal payers
               19 utilizing primarily state and federal funds paid by Medi-Cal. The schemes that
               20 Borrego Health in currently aware of are described above as the “Borrego MSO/IPA
               21 Scheme”, the “Premier Scheme”, “Fraudulent Dental Billing Scheme”, the
               22 “Coverup Scheme”, the “Priest Leases Scheme”, the “Compensation/Benefits
               23 Scheme”, the “Nepotism and Cronyism Scheme”, the “De Anza Country Club
               24 Scheme”, the “Payout Scheme”, the “Jim Hebets Scheme”, the “Julian Barn
               25 Scheme” and the “Property Development Scheme”.
               26         399. Each of these Schemes was contrary to the ordinary and regular
               27 operations and management of Borrego Health, and involved Outsider Defendants
               28

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                1 effectively taking over the management and operations of Borrego Health in
                2 furtherance of these Schemes.
                3        400. The primary mission of Borrego Health, as a FQHC, is the provision of
                4 healthcare to under-served communities. All efforts of Borrego Health are to be
                5 directed at the efficient accomplishment of this mission.
                6        C.     RICO Liability
                7        401. 18 USC §§1962 (c) and (d): As detailed herein, Defendants’ conduct is
                8 unlawful under 18 U.S.C. 1962(c), and is also unlawful as a conspiracy under 18
                9 U.S.C. § 1962(d).
               10        402. 18 USC § 1341 (Mail Fraud): The purpose of the “Borrego MSO/IPA
               11 Scheme”, the “Premier Scheme”, “Fraudulent Dental Billing Scheme”, the
               12 “Coverup Scheme”, the “Priest Leases Scheme”, the “Compensation/Benefits
               13 Scheme”, the “Nepotism and Cronyism Scheme”, the “De Anza Country Club
               14 Scheme”, the “Payout Scheme”, the “Jim Hebets Scheme”, the “Julian Barn
               15 Scheme” and the “Property Development Scheme” was to effectively steal money
               16 from Borrego Health
               17        403. In the manner detailed above, Defendants participated in devising
               18 and/or intending to devise the Schemes to perform the fraudulent acts described
               19 herein.
               20        404. The Schemes could not work without the use of the United States Mail,
               21 which was used for the purpose of executing the Schemes.
               22        405. Among other things and without limitation, the mail was used to send
               23 correspondence and payments under the Premier Scheme, to send bills and
               24 payments for the Fraudulent Dental Billing Scheme, to send rent checks under the
               25 Priest Leases Scheme, and to send rent checks under the Julian Barn Scheme.
               26        406. Each individual mailing was an individual act essential to the success
               27 of the scheme (and therefore material) and constitutes a separate loss the victim
               28

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                1 suffered as of the date of mailing. This constitutes hundreds of predicate acts under
                2 18 USC 1341 (Mail Fraud).
                3        407. 18 USC § 1343 (Wire Fraud): The purpose of the “Borrego MSO/IPA
                4 Scheme”, the “Premier Scheme”, “Fraudulent Dental Billing Scheme”, the
                5 “Coverup Scheme”, the “Priest Leases Scheme”, the “Compensation/Benefits
                6 Scheme”, the “Nepotism and Cronyism Scheme”, the “De Anza Country Club
                7 Scheme”, the “Payout Scheme”, the “Jim Hebets Scheme”, the “Julian Barn
                8 Scheme” and the “Property Development Scheme” was to effectively steal money
                9 from Borrego Health.
               10        408. In the manned detailed above, Defendants participated in devising
               11 and/or intending to devise the Schemes to perform the fraudulent acts described
               12 herein, and to use the interstate electronic transmission of documents for the purpose
               13 of executing, or attempting to execute, the Schemes. The Schemes were used to
               14 steal funds from a federally funded and regulated FQHC, which in turn would result
               15 in the inflation of reimbursement rates the Federal Government would pay to the
               16 FQHC (Borrego Health) for thousands of patient encounters, as follows:
               17        409. Borrego Health is largely funded by state and federal health care dollars
               18 (primarily Medi-Cal), administered by and through the California Department of
               19 Healthcare Services. Borrego Health must account for its lawful operating
               20 expenditures every year to the Center for Medicare and Medicaid Services (CMS), a
               21 federal agency within the United States department of Health and Human Services.
               22        410. The amount of funds stolen through the Schemes described herein are
               23 accounted for and included as facilities operating expenses reported to CMS. These
               24 stolen funds would not be reported as individual line items on an annual CMD cost
               25 report. Rather, the stolen funds would then be melded into and combined and
               26 aggregated with all other facilities operating costs of over 20 Southern California
               27 clinics operated by Borrego Health, and then reported as an unidentified part of
               28 Borrego Health’s annual cost reports submitted to CMS.

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                1          411. In turn, the United States uses Borrego Health’s annual cost reports to
                2 CMS in calculating the proper level of federal health care funding (or
                3 “reimbursement rates”) to direct to Borrego Health. Thus, inflated CMS cost
                4 reports, unless detected, inevitably result in increases in federally funded
                5 reimbursement rates for a FQHC such as Borrego Health. This has the effect of
                6 compounding the crime by causing to federal government to cover some or all of the
                7 cost of the crime by way of increased reimbursement rates paid Borrego Health
                8 based on inflated expenses incurred by Borrego Health as a result of the Schemes.
                9          412. In addition, false or fraudulent bills were submitted electronically to
               10 Medi-Cal (and Borrego Health) under the Fraudulent Dental Services Scheme.
               11          413. The unlawful Schemes described above, including the electronic
               12 communications described above, constitutes predicate acts under 18 USC §1343
               13 (Wire Fraud) that are a material part of the Schemes that Borrego Health could not
               14 avoid.
               15          414. Racketeering activity as described in 18 USC § 1961(1)(B), as an act
               16 indictable under 18 USC § 1957 (engaging in monetary transactions in property
               17 derived from specified unlawful activity that includes Federal healthcare offenses).
               18 In addition to Mail Fraud and Wire Fraud, the Schemes constitute a pattern of
               19 racketeering activity as described in 18 USC § 1961(1)(B), as acts indictable under
               20 18 USC § 1957 (“Engaging in monetary transactions in property derived from
               21 specified unlawful activity”).
               22          415. “Specified unlawful activity” is, in turn, defined in 18 USC § 1956 as
               23 including “any act or activity constituting an offense involving a ‘Federal health
               24 care offense.’” 18 USC § 24 defines “Federal health care offense” as including “a
               25 violation of, or a criminal conspiracy to violate” any of the statutes set forth herein.
               26          416. 18 USC § 669 (Theft or embezzlement in connection with health care):
               27 Whoever knowingly and willfully embezzles, steals, or otherwise without authority
               28 converts to the use of any person other than the rightful owner, or intentionally

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                1 misapplies any of the moneys, funds, securities, premiums, credits, property, or
                2 other assets of a health care benefit program, shall be fined under this title or
                3 imprisoned not more than 10 years, or both. “Health care benefit program” means
                4 any public or private plan or contract, affecting commerce, under which any medical
                5 benefit, item, or service is provided to any individual, and includes any individual or
                6 entity who is providing a medical benefit, item, or service for which payment may
                7 be made under the plan or contract. The Schemes described herein are the means by
                8 which Defendants, and each of them, stole and converted to their own use public
                9 healthcare benefits paid Borrego Health by state and federal agencies at a time
               10 Borrego Health was the rightful owner of those funds. In addition, in this particular
               11 statute, Borrego Health itself qualifies under the broad definition of “health care
               12 benefit program.” Borrego Health is an “entity who is providing a medical benefit,
               13 item, or service for which payment may be made under the plan or contract.” The
               14 theft and from Borrego Health exceeds $20,000,000.
               15         417. 18 USC § 1347 (Health care fraud): Whoever knowingly and willfully
               16 executes, or attempts to execute, a scheme or artifice (1) to defraud any healthcare
               17 benefit program; or (2) to obtain, by means of false or fraudulent pretenses,
               18 representations, or promises, any of the money or property owned by, or under the
               19 custody or control of, any healthcare benefit program, in connection with the
               20 delivery of or payment for healthcare benefits, items, or services, shall be fined
               21 under this title or imprisoned not more than 10 years, or both. Here, by the Schemes
               22 described herein, Defendants, and each of them, defrauded Borrego Health and
               23 obtained money and/or property owned by and/or under the custody or control of
               24 Borrego Health. These Schemes were substantial factor in and direct cause of the
               25 theft of funds under the custody and control of Borrego Health. The Schemes were a
               26 substantial factor in and direct cause of the theft of more than $20,000,000 of funds
               27 under the custody and control of Borrego Health and Medi-Cal.
               28

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                1        418. 18 USC § 1001 (False Statements or entries generally): Section 1001 is
                2 violated if someone knowingly or willfully conceals or covers up by any trick,
                3 scheme or device a material fact, which act is within the jurisdiction of a department
                4 or agency of the United States. Here, Defendants were involved in the Schemes
                5 that, as described herein, meet the elements of section 1001, in that the Defendants
                6 “knowingly or willfully conceal or cover up by any trick, scheme or device a
                7 material fact.” The Schemes were used, in part, to steal funds from a federally
                8 funded and regulated FQHC.
                9        419. Other federal healthcare offenses: In addition, the facts alleged herein
               10 also amount to “federal healthcare offenses” under the following statutes: 18 USC §
               11 371 (“Conspiracy to commit offense or to defraud United States”); 18 USC §1035
               12 (“False statements relating to health care matters”); 18 USC §1035 (“False
               13 statements relating to health care matters”); 18 USC § 287 (“False, fictitious or
               14 fraudulent claims”); 18 USC §1349 (“Attempt and conspiracy”).
               15        420. The specific contracts entered into in furtherance of the scheme to steal
               16 money from Borrego Health are the: Borrego MSO, Borrego IPA, Dental MSA,
               17 Medical MSA, Aldairi Agreements, Hawatmeh Agreement, Mehdizadeh
               18 Agreements, Velasquez Agreement, Arakelyan Agreements, Hoang Agreement,
               19 Stephan Agreement, Rojo Agreement, Toledo Agreement, Thompson Agreement,
               20 Ness Agreement, Jared Agreement, Nourse Parsel Lease, CRI Contract, Julian Barn
               21 Lease, transition agreement, and Priest Leases.
               22        421. The Schemes were concealed by Defendants and most did not come to
               23 light until, at the earliest, October 2020 during a government investigation. But for
               24 that unrelated investigation, the Schemes may have remain undiscovered.
               25        422. Because Borrego Health plaintiff had no constructive or inquiry notice
               26 of the fact of injury throughout the life of the Schemes, its right to recover money
               27 stolen by Defendants extends back to the commencement of each of the Schemes.
               28

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                1         423. Four Year RICO “Reach Back:” Even if the Schemes were
                2 somehow communicated to persons who would ordinarily provide that information
                3 to the Borrego Health Board, it is still entitled to recover funds stolen under the
                4 Schemes going back four years prior to the filing of the complaint, since each lease
                5 payment constitutes a separate wrongful act.
                6         424. Borrego Health, the United States, and the State of California are
                7 victims of the Schemes here. Borrego Health was victimized by the amount of
                8 money stolen. The Federal Government is a victim to the extent the inflated
                9 expenses incurred by Borrego Health as a result of the Schemes were included on
               10 annual cost reports to CMS (described above) that resulted in increased
               11 reimbursement rates, and therefore additional federal funds being improperly paid
               12 Borrego Health. The Federal Government may have also been harmed if it provided
               13 federal matching dollars for any duplicative, unnecessary and unsupported dental
               14 services paid by Medi-Cal.
               15         425. The State of California is a victim to the extent to the extent the inflated
               16 expenses incurred by Borrego Health as a result of the Schemes were included on
               17 annual cost reports to CMS (described above) that resulted in increased
               18 reimbursement rates, and therefore causing additional state Medicaid funds being
               19 improperly paid Borrego Health. The State of California may have also been
               20 harmed if it paid Borrego Health for any duplicative, unnecessary and unsupported
               21 dental services.
               22         426. The predicate acts described above relate to each other as part of a
               23 common plan. The predicate acts are a part of a common plan to steal money from
               24 Borrego Health. Each act is related as to its purpose, results, participants, victims
               25 and method of commission. The predicates form a closed-end series of related
               26 predicates extending over a substantial period.
               27         427. The facts described herein also demonstrate the existence of a
               28 conspiracy between Defendants. (18 USC § 1962(d).)

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                1         428.   By way of their knowing participation in the scheme, each of the
                2 Defendants is a culpable person for purposes of 18 U.S.C. § 1964.
                3         429. But for the Schemes detailed above, Borrego Health would not have
                4 entered into improper and above-market leases and other transactions, would have
                5 had a compliant and properly billed contract dental program, would not have
                6 attempted to buy a country club, etc. Accordingly, Borrego Health has been
                7 damaged by the Schemes in an amount to be proven at trial.
                8         430. Accordingly, Borrego Health is entitled to damages in an amount to be
                9 proven at trial, trebled pursuant to statute, together with reasonable attorneys’ fees
               10 and costs, and interest.
               11         D.     Issuance of Constructive Trusts
               12         431. As outlined in detail herein, Borrego Health provided payment to
               13 various Defendants. Those Defendants committed wrongful acts to receive money
               14 that they were not entitled to.
               15         432. Borrego Health has a right to the money wrongfully taken by
               16 Defendants.
               17         433. As such, Borrego Health seeks to have any and all funds wrongfully
               18 paid to Defendants placed in a constructive trust.
               19
               20                             FIRST CAUSE OF ACTION
               21                 (Violations under the Racketeer Influenced and Corrupt
               22                              Organizations (“RICO”) Act)
               23                                   Against All Defendants
               24         434. Borrego Health reincorporates each of the above paragraphs as though
               25 fully set forth herein.
               26         435. As set forth herein, Defendants improperly engaged in a pattern of
               27 prohibited racketeering activity.
               28

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                1         436. As set forth herein, Defendants conduct gives rise to a cause of action
                2 for violation of RICO, and that unlawful conduct was the proximate cause of the
                3 Borrego Health’s injury.
                4
                5                            SECOND CAUSE OF ACTION
                6                                   (Breach of Contract)
                7                               Against Premier Defendants
                8         437. Borrego Health reincorporates each of the above paragraphs as though
                9 fully set forth herein.
               10         438. Borrego Health and Premier Defendants entered into the Dental MSA,
               11 including amendments thereto, and the Medical MSA.
               12         439. Borrego Health did all, or substantially all, of the significant things that
               13 the Dental MSA and Medical MSA required it to do, or was excused from doing so,
               14         440. As set forth herein, Premier Defendants breached the Dental MSA and
               15 Medical MSA.
               16         441. As a result of Premier Defendants’ breaches of the MSAs, Borrego
               17 Health was damaged in an amount to be proven at trial. Premier Defendants’
               18 failures to fulfill its obligations was a substantial factor in causing Borrego Health’s
               19 harm.
               20
               21                             THIRD CAUSE OF ACTION
               22                                   (Breach of Contract)
               23                 Against Husam Aldairi, D.D.S. and Aldairi D.D.S., Inc.
               24         442. Borrego Health reincorporates each of the above paragraphs as though
               25 fully set forth herein.
               26         443. Borrego Health, Husam Aldairi, D.D.S. and Aldairi D.D.S., Inc.
               27 entered into the Aldairi Agreements.
               28

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                1         444. Borrego Health did all, or substantially all, of the significant things that
                2 the Aldairi Agreements required or Borrego Health was excused from doing so.
                3         445. Aldairi violated the terms of the Aldairi Agreements through their
                4 conduct, including but not limited to: (1) billing excessive patient visits; (2) failing
                5 to maintain adequate documentation to support billing; (3) falsification of medical
                6 records; (4) performing services that lacked medical necessity; (5) providing
                7 services that fell below the standard of care; (6) providing excessive services; and
                8 (7) generating inaccurate billing records, including billing for services not rendered,
                9 including billing for services performed on teeth which the patients no longer had at
               10 the time of service, upcoding, and inappropriately splitting services.
               11         446. As a result of Aldairi’s conduct, Borrego Health was damaged in an
               12 amount to be proven at trial.
               13
               14                            FOURTH CAUSE OF ACTION
               15                                    (Breach of Contract)
               16          Against Ayed Hawatmeh, D.D.S. and Hawatmeh Dental Group, P.C.
               17         447. Borrego Health reincorporates each of the above paragraphs as though
               18 fully set forth herein.
               19         448. Borrego Health, Ayed Hawatmeh, D.D.S. and Hawatmeh Dental
               20 Group, P.C. entered into the Hawatmeh Agreements.
               21         449. Borrego Health did all, or substantially all, of the significant things that
               22 the Hawatmeh Agreements required or Borrego Health was excused from doing so.
               23         450. Hawatmeh violated the terms of the Hawatmeh Agreements through
               24 their conduct, including but not limited to: (1) billing excessive patient visits; (2)
               25 failing to maintain adequate documentation to support billing; (3) falsification of
               26 medical records; (4) performing services that lacked medical necessity; (5)
               27 providing services that fell below the standard of care; (6) providing excessive
               28 services; and (7) generating inaccurate billing records, including billing for services

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                1 not rendered, including billing for services performed on teeth which the patients no
                2 longer had at the time of service, upcoding, and inappropriately splitting services.
                3         451. As a result of Hawatmeh’s conduct, Borrego Health was damaged in an
                4 amount to be proven at trial.
                5
                6                              FIFTH CAUSE OF ACTION
                7                                    (Breach of Contract)
                8            Against Alborz Mehdizadeh, D.D.S. and Alborz Mehdizadeh, Inc.
                9         452. Borrego Health reincorporates each of the above paragraphs as though
               10 fully set forth herein.
               11         453. Borrego Health, Alborz Mehdizadeh, D.D.S. and Alborz Mehdizadeh,
               12 Inc. entered into the Mehdizadeh Agreements.
               13         454. Borrego Health did all, or substantially all, of the significant things that
               14 the Mehdizadeh Agreements required or Borrego Health was excused from doing
               15 so.
               16         455. Mehdizadeh violated the terms of the Mehdizadeh Agreements through
               17 their conduct, including but not limited to: (1) billing excessive patient visits; (2)
               18 failing to maintain adequate documentation to support billing; (3) falsification of
               19 medical records; (4) performing services that lacked medical necessity; (5)
               20 providing services that fell below the standard of care; (6) providing excessive
               21 services; and (7) generating inaccurate billing records, including billing for services
               22 not rendered, including billing for services performed on teeth the patients no longer
               23 had at the time of service, upcoding, and inappropriately splitting services.
               24         456. As a result of Mehdizadeh’s conduct, Borrego Health was damaged in
               25 an amount to be proven at trial.
               26 / / /
               27 / / /
               28 / / /

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                1                              SIXTH CAUSE OF ACTION
                2                                    (Breach of Contract)
                3    Against Magaly Velasquez, D.D.S. and Magaly M. Velasquez DDS, Professional
                4                                        Dental Corp.
                5         457. Borrego Health reincorporates each of the above paragraphs as though
                6 fully set forth herein.
                7         458. Borrego Health, Magaly Velasquez, D.D.S. and Magaly M. Velasquez
                8 DDS, Professional Dental Corp. entered into the Velasquez Agreement.
                9         459. Borrego Health did all, or substantially all, of the significant things that
               10 the Velasquez Agreement required or Borrego Health was excused from doing so.
               11         460. Velasquez violated the terms of the Velasquez Agreement through their
               12 conduct, including but not limited to: (1) billing excessive patient visits; (2) failing
               13 to maintain adequate documentation to support billing; (3) falsification of medical
               14 records; (4) performing services that lacked medical necessity; (5) providing
               15 services that fell below the standard of care; (6) providing excessive services; and
               16 (7) generating inaccurate billing records, including billing for services not rendered,
               17 including billing for services performed on teeth the patients no longer had at the
               18 time of service, upcoding, and inappropriately splitting services.
               19         461. As a result of Velasquez’s conduct, Borrego Health was damaged in an
               20 amount to be proven at trial.
               21
               22                            SEVENTH CAUSE OF ACTION
               23                                    (Breach of Contract)
               24     Against Aram Arakelyan, D.D.S. and New Millennium Dental Group of Aram
               25                                      Arakelyan, Inc.
               26         462. Borrego Health reincorporates each of the above paragraphs as though
               27 fully set forth herein.
               28

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                1         463. Borrego Health, Aram Arakelyan, D.D.S. and New Millennium Dental
                2 Group of Aram Arakelyan, Inc. entered into the Arakelyan Agreements.
                3         464. Borrego Health did all, or substantially all, of the significant things that
                4 the Arakelyan Agreements required or Borrego Health was excused from doing so.
                5         465. Arakelyan violated the terms of the Arakelyan Agreements through
                6 their conduct, including but not limited to: (1) billing excessive patient visits; (2)
                7 failing to maintain adequate documentation to support billing; (3) falsification of
                8 medical records; (4) performing services that lacked medical necessity; (5)
                9 providing services that fell below the standard of care; (6) providing excessive
               10 services; and (7) generating inaccurate billing records, including billing for services
               11 not rendered, including billing for services performed on teeth the patients no longer
               12 had at the time of service, upcoding, and inappropriately splitting services.
               13         466. As a result of Arakelyan’s conduct, Borrego Health was damaged in an
               14 amount to be proven at trial.
               15
               16                             EIGHTH CAUSE OF ACTION
               17                                    (Breach of Contract)
               18                              Against Michael Hoang, D.M.D.
               19         467. Borrego Health reincorporates each of the above paragraphs as though
               20 fully set forth herein.
               21         468. Borrego Health and Michael Hoang, D.M.D. entered into the Hoang
               22 Agreement.
               23         469. Borrego Health did all, or substantially all, of the significant things that
               24 the Hoang Agreement required or Borrego Health was excused from doing so.
               25         470. Hoang violated the terms of the Hoang Agreement through his conduct,
               26 including but not limited to: (1) billing excessive patient visits; (2) failing to
               27 maintain adequate documentation to support billing; (3) falsification of medical
               28 records; (4) performing services that lacked medical necessity; (5) providing

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                1 services that fell below the standard of care; (6) providing excessive services; and
                2 (7) generating inaccurate billing records, including billing for services not rendered,
                3 including billing for services performed on teeth the patients no longer had at the
                4 time of service, upcoding, and inappropriately splitting services.
                5         471. As a result of Hoang’s conduct, Borrego Health was damaged in an
                6 amount to be proven at trial.
                7
                8                              NINTH CAUSE OF ACTION
                9                                    (Breach of Contract)
               10        Against Waleed Stephan, D.D.S. and W.A. Stephan, a Dental Corporation
               11         472. Borrego Health reincorporates each of the above paragraphs as though
               12 fully set forth herein.
               13         473. Borrego Health, Waleed Stephan, D.D.S. and W.A. Stephan, a Dental
               14 Corporation entered into the Stephan Agreement.
               15         474. Borrego Health did all, or substantially all, of the significant things that
               16 the Stephan Agreement required or Borrego Health was excused from doing so.
               17         475. Stephan violated the terms of the Stephan Agreement through their
               18 conduct, including but not limited to: (1) billing excessive patient visits; (2) failing
               19 to maintain adequate documentation to support billing; (3) falsification of medical
               20 records; (4) performing services that lacked medical necessity; (5) providing
               21 services that fell below the standard of care; (6) providing excessive services; and
               22 (7) generating inaccurate billing records, including billing for services not rendered,
               23 including billing for services performed on teeth the patients no longer had at the
               24 time of service, upcoding, and inappropriately splitting services.
               25         476. As a result of Stephan’s conduct, Borrego Health was damaged in an
               26 amount to be proven at trial.
               27
               28

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                1                              TENTH CAUSE OF ACTION
                2                                    (Breach of Contract)
                3            Against Santiago Rojo, D.D.S. and Santiago A. Rojo, D.D.S., Inc.
                4         477. Borrego Health reincorporates each of the above paragraphs as though
                5 fully set forth herein.
                6         478. Borrego Health, Santiago Rojo, D.D.S. and Santiago A. Rojo, D.D.S.,
                7 Inc. entered into the Rojo Agreement.
                8         479. Borrego Health did all, or substantially all, of the significant things that
                9 the Rojo Agreement required or Borrego Health was excused from doing so.
               10         480. Rojo violated the terms of the Rojo Agreement through their conduct,
               11 including but not limited to: (1) billing excessive patient visits; (2) failing to
               12 maintain adequate documentation to support billing; (3) falsification of medical
               13 records; (4) performing services that lacked medical necessity; (5) providing
               14 services that fell below the standard of care; (6) providing excessive services; and
               15 (7) generating inaccurate billing records, including billing for services not rendered,
               16 including billing for services performed on teeth the patients no longer had at the
               17 time of service, upcoding, and inappropriately splitting services.
               18         481. As a result of Rojo’s conduct, Borrego Health was damaged in an
               19 amount to be proven at trial.
               20
               21                           ELEVENTH CAUSE OF ACTION
               22                                    (Breach of Contract)
               23            Against Marcelo Toledo, D.D.S. and Marcelo Toledo, D.D.S., Inc.
               24         482. Borrego Health reincorporates each of the above paragraphs as though
               25 fully set forth herein.
               26         483. Borrego Health, Marcelo Toledo, D.D.S. and Marcelo Toledo, D.D.S.,
               27 Inc. entered into the Toledo Agreement.
               28

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                1         484. Borrego Health did all, or substantially all, of the significant things that
                2 the Toledo Agreement required or Borrego Health was excused from doing so.
                3         485. Toledo violated the terms of the Toledo Agreement through their
                4 conduct, including but not limited to: (1) billing excessive patient visits; (2) failing
                5 to maintain adequate documentation to support billing; (3) falsification of medical
                6 records; (4) performing services that lacked medical necessity; (5) providing
                7 services that fell below the standard of care; (6) providing excessive services; and
                8 (7) generating inaccurate billing records, including billing for services not rendered,
                9 including billing for services performed on teeth the patients no longer had at the
               10 time of service, upcoding, and inappropriately splitting services.
               11         486. As a result of Toledo’s conduct, Borrego Health was damaged in an
               12 amount to be proven at trial.
               13
               14                           TWELFTH CAUSE OF ACTION
               15                                   (Breach of Contract)
               16    Against Marlene M. Thompson, D.D.S. and Marlene M. Thompson, D.D.S., Inc.
               17         487. Borrego Health reincorporates each of the above paragraphs as though
               18 fully set forth herein.
               19         488. Borrego Health, Marlene Thompson, D.D.S. and Marlene Thompson,
               20 D.D.S., Inc. entered into the Thompson Agreement.
               21         489. Borrego Health did all, or substantially all, of the significant things that
               22 the Thompson Agreement required or Borrego Health was excused from doing so.
               23         490. Thompson violated the terms of the Thompson Agreement through
               24 their conduct, including but not limited to, generating inaccurate billing records,
               25 including billing for services not rendered, and billing for services performed by
               26 unlicensed and suspected dental providers.
               27         491. As a result of Thompson’s conduct, Borrego Health was damaged in an
               28 amount to be proven at trial.

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                1                           THIRTEENTH CAUSE OF ACTION
                2                                   (Breach of Contract)
                3               Against Douglas Ness, D.D.S. and Ness Dental Corporation
                4         492. Borrego Health reincorporates each of the above paragraphs as though
                5 fully set forth herein.
                6         493. Borrego Health, Douglas Ness, D.D.S. and Ness Dental Corporation
                7 entered into the Ness Agreement.
                8         494. Borrego Health did all, or substantially all, of the significant things that
                9 the Ness Agreement required or Borrego Health was excused from doing so.
               10         495. Ness violated the terms of the Ness Agreement through their conduct,
               11 including but not limited to, generating inaccurate billing records, including billing
               12 for services performed by unlicensed and suspected dental providers.
               13         496. As a result of Ness’s conduct, Borrego Health was damaged in an
               14 amount to be proven at trial.
               15
               16                           FOURTEENTH CAUSE OF ACTION
               17                                   (Breach of Contract)
               18           Against George C. Jared, D.D.S. and George C. Jared, D.D.S., Inc.
               19         497. Borrego Health reincorporates each of the above paragraphs as though
               20 fully set forth herein.
               21         498. Borrego Health, George Jared, D.D.S. and George Jared, D.D.S., Inc.
               22 entered into the Jared Agreement.
               23         499. Borrego Health did all, or substantially all, of the significant things that
               24 the Jared Agreement required or Borrego Health was excused from doing so.
               25         500. Jared violated the terms of the Jared Agreement through their conduct,
               26 including but not limited to, generating inaccurate billing records, including billing
               27 for services not rendered, and billing for services performed by unlicensed and
               28 suspected dental providers.

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                1        501. As a result of Jared’s conduct, Borrego Health was damaged in an
                2 amount to be proven at trial.
                3
                4                           FIFTEENTH CAUSE OF ACTION
                5                             (Intentional Misrepresentation)
                6                              Against Premier Defendants
                7        502. Borrego Health reincorporates each of the above paragraphs as though
                8 fully set forth herein.
                9        503. The Premier Defendants represented to Borrego Health that they were
               10 qualified and capable of reviewing, “scrubbing,” and processing contract dental
               11 claims on Borrego Health’s behalf. Premier Defendants further represented they had
               12 qualified and experienced staff to develop their own quality management team to
               13 oversee Borrego Health’s contract dental program.
               14        504. The Premier Defendants’ representations were false at the time they
               15 were made. At the time Borrego Health entered into the Dental MSA with Premier,
               16 Premier lacked any clinical staff to properly review claims and develop a quality
               17 management system. Upon information and belief, Premier Defendants knew their
               18 representations were false at the time they were made, or that the representations
               19 where made recklessly without regard for their truth.
               20        505. Borrego Health reasonably relied on Premier Defendants’
               21 representations, believing it was capable of evaluating contract dental program
               22 claims for necessity and accuracy.
               23        506. As a result of relying on Premier Defendants’ representations, Borrego
               24 Health submitted claims to Medi-Cal that were not supportable and to pay dentists
               25 and the billing company for services that should not have been paid. Borrego Health
               26 further suffered financial harm as a result of paying both Premier Defendants and
               27 the contract dentists for services not properly reimbursable.
               28

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                1         507. Borrego Health’s reliance on Premier Defendants’ representation
                2 regarding their qualifications and representations that they would properly review
                3 and process the claims was a substantial factor in causing Borrego Health’s financial
                4 harm.
                5
                6                           SIXTEENTH CAUSE OF ACTION
                7                             (Intentional Misrepresentation)
                8                  Against Husam Aldairi, D.D.S. and Aldairi DDS, Inc.
                9         508. Borrego Health reincorporates each of the above paragraphs as though
               10 fully set forth herein.
               11         509. In part, Aldairi misrepresented to Borrego Health that they would
               12 practice dentistry in accordance with all Federal, State and local laws, regulations,
               13 and generally accepted principles applicable the practice of dentistry, hire qualified
               14 and licensed dental professionals to provide dental services to Borrego Health
               15 patients, and prepare, establish, and maintain administrative records, financial
               16 records, records pertaining to patient diagnosis and treatment, and information
               17 pertaining to the services provided. Aldairi also represented they would submit
               18 accurate claims information to Borrego Health for reimbursement.
               19         510. Aldairi’s representations were false at the time they were made. Upon
               20 information and belief, Aldairi knew the representations were false at the time they
               21 were made, or that the representations where made recklessly without regard for
               22 their truth.
               23         511. As set forth herein, Aldairi made various misrepresentations, including
               24 without limitation the misrepresentations made in connection with the Aldairi
               25 Agreements and the false and fraudulent bills submitted by Aldairi (and any related
               26 communication) to Borrego Health.
               27         512. Borrego Health reasonably relied on Aldairi’s representations.
               28

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                1         513. As a direct and proximate result, Borrego Health was harmed in an
                2 amount to be proven at trial.
                3
                4                       SEVENTEENTH CAUSE OF ACTION
                5                             (Intentional Misrepresentation)
                6          Against Ayed Hawatmeh, D.D.S. and Hawatmeh Dental Group, P.C.
                7         514. Borrego Health reincorporates each of the above paragraphs as though
                8 fully set forth herein.
                9         515. In part, Hawatmeh misrepresented to Borrego Health that they would
               10 practice dentistry in accordance with all Federal, State and local laws, regulations,
               11 and generally accepted principles applicable the practice of dentistry, hire qualified
               12 and licensed dental professionals to provide dental services to Borrego Health
               13 patients, and prepare, establish, and maintain administrative records, financial
               14 records, records pertaining to patient diagnosis and treatment, and information
               15 pertaining to the services provided. Hawatmeh also represented they would submit
               16 accurate claims information to Borrego Health for reimbursement.
               17         516. Hawatmeh’s representations were false at the time they were made.
               18 Upon information and belief, Ayed Hawatmeh, D.D.S. and Hawatmeh Dental
               19 Group, P.C. knew the representations were false at the time they were made, or that
               20 the representations where made recklessly without regard for their truth.
               21         517. As set forth herein, Hawatmeh made various misrepresentations,
               22 including without limitation the misrepresentations made in connection with the
               23 Hawatmeh Agreement and the false and fraudulent bills submitted by Hawatmeh
               24 (and any related communication) to Borrego Health.
               25         518. Borrego Health reasonably relied on Hawatmeh’s representations.
               26         519. As a direct and proximate result, Borrego Health was harmed in an
               27 amount to be proven at trial.
               28

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                1                           EIGHTEENTH CAUSE OF ACTION
                2                              (Intentional Misrepresentation)
                3           Against Alborz Mehdizadeh, D.D.S. and Alborz Mehdizadeh, Inc.
                4         520. Borrego Health reincorporates each of the above paragraphs as though
                5 fully set forth herein.
                6         521. In part, Alborz Mehdizadeh misrepresented to Borrego Health that they
                7 would practice dentistry in accordance with all Federal, State and local laws,
                8 regulations, and generally accepted principles applicable the practice of dentistry,
                9 hire qualified and licensed dental professionals to provide dental services to Borrego
               10 Health patients, and prepare, establish, and maintain administrative records,
               11 financial records, records pertaining to patient diagnosis and treatment, and
               12 information pertaining to the services provided. Mehdizadeh also represented they
               13 would submit accurate claims information to Borrego Health for reimbursement.
               14         522. Mehdizadeh’s representations were false at the time they were made.
               15 Upon information and belief, Mehdizadeh knew the representations were false at the
               16 time they were made, or that the representations where made recklessly without
               17 regard for their truth.
               18         523. As set forth herein, Aldairi made various misrepresentations, including
               19 without limitation the misrepresentations made in connection with the Mehdizadeh
               20 Agreement and the false and fraudulent bills submitted by Mehdizadeh (and any
               21 related communication) to Borrego Health.
               22         524. Borrego Health reasonably relied on Mehdizadeh’S representations.
               23         525. As a direct and proximate result, Borrego Health was harmed in an
               24 amount to be proven at trial.
               25 / / /
               26 / / /
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                1                           NINETEENTH CAUSE OF ACTION
                2                             (Intentional Misrepresentation)
                3    Against Magaly Velasquez D.D.S. and Magaly M. Velasquez DDS, Professional
                4                                      Dental Corp.
                5         526. Borrego Health reincorporates each of the above paragraphs as though
                6 fully set forth herein.
                7         527. In part, Velasquez misrepresented to Borrego Health that they would
                8 practice dentistry in accordance with all Federal, State and local laws, regulations,
                9 and generally accepted principles applicable the practice of dentistry, hire qualified
               10 and licensed dental professionals to provide dental services to Borrego Health
               11 patients, and prepare, establish, and maintain administrative records, financial
               12 records, records pertaining to patient diagnosis and treatment, and information
               13 pertaining to the services provided. Velasquez also represented they would submit
               14 accurate claims information to Borrego Health for reimbursement.
               15         528. Velasquez’s representations were false at the time they were made.
               16 Upon information and belief, Velasquez knew the representations were false at the
               17 time they were made, or that the representations where made recklessly without
               18 regard for their truth.
               19         529. As set forth herein, Velasquez made various misrepresentations,
               20 including without limitation the misrepresentations made in connection with the
               21 Velasquez Agreement and the false and fraudulent bills submitted by Velasquez
               22 (and any related communication) to Borrego Health.
               23         530. Borrego Health reasonably relied on Velasquez’s representations.
               24         531. As a direct and proximate result, Borrego Health was harmed in an
               25 amount to be proven at trial.
               26 / / /
               27 / / /
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                1                           TWENTIETH CAUSE OF ACTION
                2                             (Intentional Misrepresentation)
                3     Against Aram Arakelyan, D.D.S. and New Millennium Dental Group of Aram
                4                                     Arakelyan, Inc.
                5         532. Borrego Health reincorporates each of the above paragraphs as though
                6 fully set forth herein.
                7         533. In part, Arakelyan misrepresented to Borrego Health that he would
                8 practice dentistry in accordance with all Federal, State and local laws, regulations,
                9 and generally accepted principles applicable the practice of dentistry, hire qualified
               10 and licensed dental professionals to provide dental services to Borrego Health
               11 patients, and prepare, establish, and maintain administrative records, financial
               12 records, records pertaining to patient diagnosis and treatment, and information
               13 pertaining to the services provided. Arakelyan also represented they would submit
               14 accurate claims information to Borrego Health for reimbursement.
               15         534. Arakelyan representations were false at the time they were made. Upon
               16 information and belief, Arakelyan knew the representations were false at the time
               17 they were made, or that the representations where made recklessly without regard
               18 for their truth.
               19         535. As set forth herein, Arakelyan made various misrepresentations,
               20 including without limitation the misrepresentations made in connection with the
               21 Arakelyan Agreements and the false and fraudulent bills submitted by Arakelyan
               22 (and any related communication) to Borrego Health.
               23         536. Borrego Health reasonably relied on Arakelyan’s representations.
               24         537. As a direct and proximate result, Borrego Health was harmed in an
               25 amount to be proven at trial.
               26 / / /
               27 / / /
               28 / / /

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                1                       TWENTY-FIRST CAUSE OF ACTION
                2                             (Intentional Misrepresentation)
                3                            Against Michael Hoang, D.M.D.
                4         538. Borrego Health reincorporates each of the above paragraphs as though
                5 fully set forth herein.
                6         539. In part, Michael Hoang, D.M.D. misrepresented to Borrego Health that
                7 he would practice dentistry in accordance with all Federal, State and local laws,
                8 regulations, and generally accepted principles applicable the practice of dentistry,
                9 hire qualified and licensed dental professionals to provide dental services to Borrego
               10 Health patients, and prepare, establish, and maintain administrative records,
               11 financial records, records pertaining to patient diagnosis and treatment, and
               12 information pertaining to the services provided. Hoang also represented they would
               13 submit accurate claims information to Borrego Health for reimbursement.
               14         540. Michael Hoang, D.M.D.’s representations were false at the time they
               15 were made. Upon information and belief, Michael Hoang, D.M.D. knew the
               16 representations were false at the time they were made, or that the representations
               17 where made recklessly without regard for their truth.
               18         541. As set forth herein, Hoang made various misrepresentations, including
               19 without limitation the misrepresentations made in connection with the Hoang
               20 Agreement and the false and fraudulent bills submitted by Hoang (and any related
               21 communication) to Borrego Health.
               22         542. Borrego Health reasonably relied on Michael Hoang, D.M.D.’s
               23 representations.
               24         543. As a direct and proximate result, Borrego Health was harmed in an
               25 amount to be proven at trial.
               26 / / /
               27 / / /
               28 / / /

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                1                      TWENTY-SECOND CAUSE OF ACTION
                2                             (Intentional Misrepresentation)
                3         Against Waleed Stephan, D.D.S. and W.A. Stephan, a Dental Corporation
                4          544. Borrego Health reincorporates each of the above paragraphs as though
                5 fully set forth herein.
                6          545. In part, Stephan misrepresented to Borrego Health that they would
                7 practice dentistry in accordance with all Federal, State and local laws, regulations,
                8 and generally accepted principles applicable the practice of dentistry, hire qualified
                9 and licensed dental professionals to provide dental services to Borrego Health
               10 patients, and prepare, establish, and maintain administrative records, financial
               11 records, records pertaining to patient diagnosis and treatment, and information
               12 pertaining to the services provided. Stephan also represented they would submit
               13 accurate claims information to Borrego Health for reimbursement.
               14          546. Stephan’s representations were false at the time they were made. Upon
               15 information and belief, Stephan knew the representations were false at the time they
               16 were made, or that the representations where made recklessly without regard for
               17 their truth.
               18          547. As set forth herein, Stephan made various misrepresentations, including
               19 without limitation the misrepresentations made in connection with the Stephan
               20 Agreement and the false and fraudulent bills submitted by Stephan (and any related
               21 communication) to Borrego Health.
               22          548. Borrego Health reasonably relied on Stephan’s representations.
               23          549. As a direct and proximate result, Borrego Health was harmed in an
               24 amount to be proven at trial.
               25 / / /
               26 / / /
               27 / / /
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                1                         TWENTY-THIRD CAUSE OF ACTION
                2                               (Intentional Misrepresentation)
                3                Against Santiago Rojo, D.D.S. and Santiago Rojo, D.D.S., Inc.
                4         550. Borrego Health reincorporates each of the above paragraphs as though
                5 fully set forth herein.
                6         551. In part, Rojo misrepresented to Borrego Health that they would practice
                7 dentistry in accordance with all Federal, State and local laws, regulations, and
                8 generally accepted principles applicable the practice of dentistry, hire qualified and
                9 licensed dental professionals to provide dental services to Borrego Health patients,
               10 and prepare, establish, and maintain administrative records, financial records,
               11 records pertaining to patient diagnosis and treatment, and information pertaining to
               12 the services provided. Rojo also represented they would submit accurate claims
               13 information to Borrego Health for reimbursement.
               14         552. Rojo’s representations were false at the time they were made. Upon
               15 information and belief, Rojo knew the representations were false at the time they
               16 were made, or that the representations where made recklessly without regard for
               17 their truth.
               18         553. As set forth herein, Rojo made various misrepresentations, including
               19 without limitation the misrepresentations made in connection with the Rojo
               20 Agreement and the false and fraudulent bills submitted by Rojo (and any related
               21 communication) to Borrego Health.
               22         554. Borrego Health reasonably relied on Rojo’s representations.
               23         555. As a direct and proximate result, Borrego Health was harmed in an
               24 amount to be proven at trial.
               25 / / /
               26 / / /
               27 / / /
               28 / / /

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                1                      TWENTY-FOURTH CAUSE OF ACTION
                2                             (Intentional Misrepresentation)
                3           Against Marcelo Toledo, D.D.S. and Marcelo Toledo, D.D.S., Inc.
                4         556. Borrego Health reincorporates each of the above paragraphs as though
                5 fully set forth herein.
                6         557. In part, Toledo misrepresented to Borrego Health that they would
                7 practice dentistry in accordance with all Federal, State and local laws, regulations,
                8 and generally accepted principles applicable the practice of dentistry, hire qualified
                9 and licensed dental professionals to provide dental services to Borrego Health
               10 patients, and prepare, establish, and maintain administrative records, financial
               11 records, records pertaining to patient diagnosis and treatment, and information
               12 pertaining to the services provided. Toledo also represented they would submit
               13 accurate claims information to Borrego Health for reimbursement.
               14         558. Toledo’s representations were false at the time they were made. Upon
               15 information and belief, Toledo knew the representations were false at the time they
               16 were made, or that the representations where made recklessly without regard for
               17 their truth.
               18         559. As set forth herein, Toledo made various misrepresentations, including
               19 without limitation the misrepresentations made in connection with the Toledo
               20 Agreement and the false and fraudulent bills submitted by Toledo (and any related
               21 communication) to Borrego Health.
               22         560. Borrego Health reasonably relied on Toledo’s representations.
               23         561. As a direct and proximate result, Borrego Health was harmed in an
               24 amount to be proven at trial.
               25 / / /
               26 / / /
               27 / / /
               28 / / /

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                1                       TWENTY-FIFTH CAUSE OF ACTION
                2                             (Intentional Misrepresentation)
                3    Against Marlene M. Thompson, D.D.S. and Marlene M. Thompson, D.D.S., Inc.
                4         562. Borrego Health reincorporates each of the above paragraphs as though
                5 fully set forth herein.
                6         563. In part, Thompson misrepresented to Borrego Health that they would
                7 practice dentistry in accordance with all Federal, State and local laws, regulations,
                8 and generally accepted principles applicable the practice of dentistry, hire qualified
                9 and licensed dental professionals to provide dental services to Borrego Health
               10 patients, and prepare, establish, and maintain administrative records, financial
               11 records, records pertaining to patient diagnosis and treatment, and information
               12 pertaining to the services provided. Thompson also represented they would submit
               13 accurate claims information to Borrego Health for reimbursement.
               14         564. Thompson’s representations were false at the time they were made.
               15 Upon information and belief, Thompson knew the representations were false at the
               16 time they were made, or that the representations where made recklessly without
               17 regard for their truth.
               18         565. Borrego Health reasonably relied on Thompson’s representations.
               19         566. As a direct and proximate result, Borrego Health was harmed in an
               20 amount to be proven at trial.
               21
               22                       TWENTY-SIXTH CAUSE OF ACTION
               23                             (Intentional Misrepresentation)
               24               Against Douglas Ness, D.D.S. and Ness Dental Corporation
               25         567. Borrego Health reincorporates each of the above paragraphs as though
               26 fully set forth herein.
               27         568. In part, Ness misrepresented to Borrego Health that they would practice
               28 dentistry in accordance with all Federal, State and local laws, regulations, and

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                1 generally accepted principles applicable the practice of dentistry, hire qualified and
                2 licensed dental professionals to provide dental services to Borrego Health patients,
                3 and prepare, establish, and maintain administrative records, financial records,
                4 records pertaining to patient diagnosis and treatment, and information pertaining to
                5 the services provided. Ness also represented they would submit accurate claims
                6 information to Borrego Health for reimbursement.
                7         569. Ness’ representations were false at the time they were made. Upon
                8 information and belief, Ness knew the representations were false at the time they
                9 were made, or that the representations where made recklessly without regard for
               10 their truth.
               11         570. Borrego Health reasonably relied on Ness’ representations.
               12         571. As a direct and proximate result, Borrego Health was harmed in an
               13 amount to be proven at trial.
               14
               15                     TWENTY-SEVENTH CAUSE OF ACTION
               16                             (Intentional Misrepresentation)
               17           Against George C. Jared, D.D.S. and George C. Jared, D.D.S., Inc.
               18         572. Borrego Health reincorporates each of the above paragraphs as though
               19 fully set forth herein.
               20         573. In part, Jared misrepresented to Borrego Health that they would
               21 practice dentistry in accordance with all Federal, State and local laws, regulations,
               22 and generally accepted principles applicable the practice of dentistry, hire qualified
               23 and licensed dental professionals to provide dental services to Borrego Health
               24 patients, and prepare, establish, and maintain administrative records, financial
               25 records, records pertaining to patient diagnosis and treatment, and information
               26 pertaining to the services provided. Jared also represented they would submit
               27 accurate claims information to Borrego Health for reimbursement.
               28

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                1         574. Jared’s representations were false at the time they were made. Upon
                2 information and belief, Jared knew the representations were false at the time they
                3 were made, or that the representations where made recklessly without regard for
                4 their truth.
                5         575. Borrego Health reasonably relied on Jared’s representations.
                6         576. As a direct and proximate result, Borrego Health was harmed in an
                7 amount to be proven at trial.
                8
                9                      TWENTY-EIGHTH CAUSE OF ACTION
               10                             (Negligent Misrepresentation)
               11                              Against Premier Defendants
               12         577. Borrego Health reincorporates each of the above paragraphs as though
               13 fully set forth herein.
               14         578. Premier Defendants represented to Borrego Health that it was qualified
               15 and capable of reviewing, “scrubbing,” and processing contract dental claims on
               16 Borrego Health’s behalf. Premier Defendants further represented it had qualified
               17 and experienced staff to develop its own quality management team to oversee
               18 Borrego Health’s contract dental program.
               19         579. Premier Defendants had no reasonable grounds for believing their
               20 representations were true at the time they were made. At the time Borrego Health
               21 entered into the MSA with Premier, Premier lacked any clinical staff to properly
               22 review claims and develop a quality management system.
               23         580. Premier Defendants intended for Borrego Health to rely on its
               24 representations to persuade Borrego Health to retain Premier’s services.
               25         581. Borrego Health reasonably relied on Premier’s representations,
               26 believing it was capable of evaluating contract dental program claims for necessity
               27 and accuracy.
               28

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                1         582. As a result of relying on Premier Defendant’s representations, Borrego
                2 Health submitted claims to Medi-Cal that were not supportable and to pay dentists
                3 and the billing company for services that should not have been paid. Borrego further
                4 suffered financial harm as a result of paying both Premier Defendants and the
                5 contract dentists for services not properly reimbursable.
                6         583. Borrego Health’s reliance on Premier Defendants’ representation
                7 regarding their qualifications and representations that they would properly review
                8 and process the claims was a substantial factor in causing Borrego Health harm.
                9
               10                       TWENTY-NINTH CAUSE OF ACTION
               11                             (Negligent Misrepresentation)
               12                  Against Husam Aldairi, D.D.S. and Aldairi DDS, Inc.
               13         584. Borrego Health reincorporates each of the above paragraphs as though
               14 fully set forth herein.
               15         585. As outlined above, Aldairi made several representations to Borrego
               16 Health regarding the scope and nature of the services they would provide to Borrego
               17 Health patients. Aldairi also represented to Borrego Health that the claims submitted
               18 for reimbursement would be accurate and for services performed by a dental
               19 provider eligible to serve Medi-Cal patients.
               20         586. As set forth herein, Aldairi made various misrepresentations, including
               21 without limitation the misrepresentations made in connection with the Aldairi
               22 Agreements and the false and fraudulent bills submitted by Aldairi (and any related
               23 communication) to Borrego Health.
               24         587. Aldairi had no reasonable grounds for believing their representations
               25 were true at the time they were made.
               26         588. Aldairi intended for Borrego Health to rely on their representations to
               27 persuade Borrego Health to continue to contract with Husam Aldairi, D.D.S. and
               28 Aldairi DDS, Inc.

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                1         589. Borrego Health reasonably relied on Aldairi’s representations.
                2         590. As a result of relying on Aldairi’s representations, Borrego Health
                3 submitted claims to Medi-Cal that were not supportable and paid Aldairi for services
                4 that should not have been paid.
                5         591. Borrego Health’s reliance on Aldairi’s representations was a substantial
                6 factor in causing Borrego Health harm.
                7
                8                           THIRTIETH CAUSE OF ACTION
                9                             (Negligent Misrepresentation)
               10          Against Ayed Hawatmeh, D.D.S. and Hawatmeh Dental Group, P.C.
               11         592. Borrego Health reincorporates each of the above paragraphs as though
               12 fully set forth herein.
               13         593. As outlined above, Hawatmeh made several representations to Borrego
               14 Health regarding the scope and nature of the services they would provide to Borrego
               15 Health patients. Hawatmeh also represented to Borrego Health that the claims
               16 submitted for reimbursement would be accurate.
               17         594. As set forth herein, Hawatmeh made various misrepresentations,
               18 including without limitation the misrepresentations made in connection with the
               19 Hawatmeh Agreement and the false and fraudulent bills submitted by Hawatmeh
               20 (and any related communication) to Borrego Health.
               21         595. Hawatmeh had no reasonable grounds for believing their
               22 representations were true at the time they were made.
               23         596. Hawatmeh intended for Borrego Health to rely on their representations
               24 to persuade Borrego Health to continue to contract with Hawatmeh.
               25         597. Borrego Health reasonably relied on Hawatmeh’s representations.
               26         598. As a result of relying on Hawatmeh’s representations, Borrego Health
               27 submitted claims to Medi-Cal that were not supportable and paid Hawatmeh for
               28 services that should not have been paid.

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                1        599. Borrego Health’s reliance on Hawatmeh’s representations was a
                2 substantial factor in causing Borrego Health harm.
                3
                4                           THIRTY-FIRST CAUSE OF ACTION
                5                              (Negligent Misrepresentation)
                6           Against Alborz Mehdizadeh, D.D.S. and Alborz Mehdizadeh, Inc.
                7        600. Borrego Health reincorporates each of the above paragraphs as though
                8 fully set forth herein.
                9        601. As outlined above, Mehdizadeh made several representations to
               10 Borrego Health regarding the scope and nature of the services they would provide to
               11 Borrego Health patients. Mehdizadeh also represented to Borrego Health that the
               12 claims submitted for reimbursement would be accurate.
               13        602. As set forth herein, Mehdizadeh made various misrepresentations,
               14 including without limitation the misrepresentations made in connection with the
               15 Mehdizadeh Agreement and the false and fraudulent bills submitted by Mehdizadeh
               16 (and any related communication) to Borrego Health.
               17        603. Mehdizadeh had no reasonable grounds for believing their
               18 representations were true at the time they were made.
               19        604. Mehdizadeh intended for Borrego Health to rely on their
               20 representations to persuade Borrego Health to continue to contract with
               21 Mehdizadeh.
               22        605. Borrego Health reasonably relied on Mehdizadeh’s representations.
               23        606. As a result of relying on Mehdizadeh’s representations, Borrego Health
               24 submitted claims to Medi-Cal that were not supportable and paid MehdizadeH for
               25 services that should not have been paid.
               26        607. Borrego Health’s reliance on Mehdizadeh’s representations was a
               27 substantial factor in causing Borrego Health harm.
               28

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                1                      THIRTY-SECOND CAUSE OF ACTION
                2                             (Negligent Misrepresentation)
                3    Against Magaly Velasquez, D.D.S. and Magaly M. Velasquez DDS, Professional
                4                                     Dental Corp.
                5         608. Borrego Health reincorporates each of the above paragraphs as though
                6 fully set forth herein.
                7         609. As outlined above, Velasquez made several representations to Borrego
                8 Health regarding the scope and nature of the services they would provide to Borrego
                9 Health patients. Velasquez also represented to Borrego Health that the claims
               10 submitted for reimbursement would be accurate.
               11         610. As set forth herein, Velasquez made various misrepresentations,
               12 including without limitation the misrepresentations made in connection with the
               13 Velasquez Agreement and the false and fraudulent bills submitted by Velasquez
               14 (and any related communication) to Borrego Health.
               15         611. Velasquez had no reasonable grounds for believing their
               16 representations were true at the time they were made.
               17         612. Velasquez intended for Borrego Health to rely on their representations
               18 to persuade Borrego Health to continue to contract with Velasquez.
               19         613. Borrego Health reasonably relied on Velasquez’s representations.
               20         614. As a result of relying on Velasquez’s representations, Borrego Health
               21 submitted claims to Medi-Cal that were not supportable and paid Velasquez for
               22 services that should not have been paid.
               23         615. Borrego Health’s reliance on Velasquez’s representations was a
               24 substantial factor in causing Borrego Health harm.
               25 / / /
               26 / / /
               27 / / /
               28 / / /

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                1                       THIRTY-THIRD CAUSE OF ACTION
                2                             (Negligent Misrepresentation)
                3     Against Aram Arakelyan, D.D.S. and New millennium Dental Group of Aram
                4                                    Arakelyan, Inc.
                5         616. Borrego Health reincorporates each of the above paragraphs as though
                6 fully set forth herein.
                7         617. As outlined above, Arakelyan made several representations to Borrego
                8 Health regarding the scope and nature of the services he would provide to Borrego
                9 Health patients. Arakelyan also represented to Borrego Health that the claims
               10 submitted for reimbursement would be accurate.
               11         618. As set forth herein, Arakelyan made various misrepresentations,
               12 including without limitation the misrepresentations made in connection with the
               13 Arakelyan Agreements and the false and fraudulent bills submitted by Arakelyan
               14 (and any related communication) to Borrego Health.
               15         619. Arakelyan had no reasonable grounds for believing his representations
               16 were true at the time they were made.
               17         620. Arakelyan intended for Borrego Health to rely on his representations to
               18 persuade Borrego Health to continue to contract with Arakelyan.
               19         621. Borrego Health reasonably relied on Arakelyan’s representations.
               20         622. As a result of relying on Arakelyan’s representations, Borrego Health
               21 submitted claims to Medi-Cal that were not supportable and paid Arakelyan for
               22 services that should not have been paid.
               23         623. Borrego Health’s reliance on Arakelyan’s representations was a
               24 substantial factor in causing Borrego Health harm.
               25 / / /
               26 / / /
               27 / / /
               28 / / /

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                1                      THIRTY-FOURTH CAUSE OF ACTION
                2                             (Negligent Misrepresentation)
                3                           Against Michael Hoang, D.M.D.
                4         624. Borrego Health reincorporates each of the above paragraphs as though
                5 fully set forth herein.
                6         625. As outlined above, Michael Hoang, D.M.D. made several
                7 representations to Borrego Health regarding the scope and nature of the services he
                8 would provide to Borrego Health patients. Hoang also represented to Borrego
                9 Health that the claims submitted for reimbursement would be accurate.
               10         626. As set forth herein, Hoang made various misrepresentations, including
               11 without limitation the misrepresentations made in connection with the Hoang
               12 Agreement and the false and fraudulent bills submitted by Hoang (and any related
               13 communication) to Borrego Health.
               14         627. Michael Hoang, D.M.D. had no reasonable grounds for believing their
               15 representations were true at the time they were made.
               16         628. Michael Hoang, D.M.D. intended for Borrego Health to rely on his
               17 representations to persuade Borrego Health to continue to contract with Michael
               18 Hoang, D.M.D.
               19         629. Borrego Health reasonably relied on Michael Hoang, D.M.D.’s
               20 representations.
               21         630. As a result of relying on Michael Hoang, D.M.D.’s representations,
               22 Borrego Health submitted claims to Medi-Cal that were not supportable and paid
               23 Michael Hoang, D.M.D. for services that should not have been paid.
               24         631. Borrego Health’s reliance on Michael Hoang, D.M.D.’s representations
               25 was a substantial factor in causing Borrego Health harm.
               26 / / /
               27 / / /
               28 / / /

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                1                           THIRTY-FIFTH CAUSE OF ACTION
                2                              (Negligent Misrepresentation)
                3         Against Waleed Stephan, D.D.S. and W.A. Stephan, a Dental Corporation
                4          632. Borrego Health reincorporates each of the above paragraphs as though
                5 fully set forth herein.
                6          633. As outlined above, Stephan made several representations to Borrego
                7 Health regarding the scope and nature of the services they would provide to Borrego
                8 Health patients. Stephan also represented to Borrego Health that the claims
                9 submitted for reimbursement would be accurate.
               10          634. As set forth herein, Stephan made various misrepresentations, including
               11 without limitation the misrepresentations made in connection with the Stephan
               12 Agreement and the false and fraudulent bills submitted by Stephan (and any related
               13 communication) to Borrego Health.
               14          635. Stephan had no reasonable grounds for believing their representations
               15 were true at the time they were made.
               16          636. Stephan intended for Borrego Health to rely on their representations to
               17 persuade Borrego Health to continue to contract with Stephan.
               18          637. Borrego Health reasonably relied on Stephan’s representations.
               19          638. As a result of relying on Stephan’s representations, Borrego Health
               20 submitted claims to Medi-Cal that were not supportable and paid Stephan for
               21 services that should not have been paid.
               22          639. Borrego Health’s reliance on Stephan’s representations was a
               23 substantial factor in causing Borrego Health harm.
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                1                           THIRTY-SIXTH CAUSE OF ACTION
                2                              (Negligent Misrepresentation)
                3             Against Santiago Rojo, D.D.S. and Santiago Rojo, D.D.S., Inc.
                4         640. Borrego Health reincorporates each of the above paragraphs as though
                5 fully set forth herein.
                6         641. As outlined above, Rojo made several representations to Borrego
                7 Health regarding the scope and nature of the services they would provide to Borrego
                8 Health patients. Rojo also represented to Borrego Health that the claims submitted
                9 for reimbursement would be accurate and for services performed by a dental
               10 provider eligible to serve Medi-Cal patients.
               11         642. As set forth herein, Rojo made various misrepresentations, including
               12 without limitation the misrepresentations made in connection with the Rojo
               13 Agreement and the false and fraudulent bills submitted by Rojo (and any related
               14 communication) to Borrego Health.
               15         643. Rojo had no reasonable grounds for believing their representations
               16 were true at the time they were made.
               17         644. Rojo intended for Borrego Health to rely on their representations to
               18 persuade Borrego Health to continue to contract with Rojo.
               19         645. Borrego Health reasonably relied on Rojo’s representations.
               20         646. As a result of relying on Santiago Rojo, D.D.S. and Santiago Rojo,
               21 D.D.S., Inc.’s representations, Borrego Health submitted claims to Medi-Cal that
               22 were not supportable and paid Rojo for services that should not have been paid.
               23         647. Borrego Health’s reliance on Rojo’s representations was a substantial
               24 factor in causing Borrego Health harm.
               25 / / /
               26 / / /
               27 / / /
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                1                      THIRTY-SEVENTH CAUSE OF ACTION
                2                             (Negligent Misrepresentation)
                3           Against Marcelo Toledo, D.D.S. and Marcelo Toledo, D.D.S., Inc.
                4         648. Borrego Health reincorporates each of the above paragraphs as though
                5 fully set forth herein.
                6         649. As outlined above, Toledo made several representations to Borrego
                7 Health regarding the scope and nature of the services they would provide to Borrego
                8 Health patients. Toledo also represented to Borrego Health that the claims submitted
                9 for reimbursement would be accurate.
               10         650. As set forth herein, Toledo made various misrepresentations, including
               11 without limitation the misrepresentations made in connection with the Toledo
               12 Agreement and the false and fraudulent bills submitted by Toledo (and any related
               13 communication) to Borrego Health.
               14         651. Toledo had no reasonable grounds for believing their representations
               15 were true at the time they were made.
               16         652. Toledo intended for Borrego Health to rely on their representations to
               17 persuade Borrego Health to continue to contract with Toledo.
               18         653. Borrego Health reasonably relied on Toledo’s representations.
               19         654. As a result of relying on Toledo’s representations, Borrego Health
               20 submitted claims to Medi-Cal that were not supportable and paid Toledo for services
               21 that should not have been paid.
               22         655. Borrego Health’s reliance on Toledo’s representations was a substantial
               23 factor in causing Borrego Health harm.
               24 / / /
               25 / / /
               26 / / /
               27 / / /
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                1                      THIRTY-EIGHTH CAUSE OF ACTION
                2                             (Negligent Misrepresentation)
                3    Against Marlene M. Thompson, D.D.S. and Marlene M. Thompson, D.D.S., Inc.
                4         656. Borrego Health reincorporates each of the above paragraphs as though
                5 fully set forth herein.
                6         657. As outlined above, Thompson made several representations to Borrego
                7 Health regarding the scope and nature of the services they would provide to Borrego
                8 Health patients. Thompson also represented to Borrego Health that the claims
                9 submitted for reimbursement would be accurate and for services performed by a
               10 dental provider eligible to serve Medi-Cal patients.
               11         658. Thompson had no reasonable grounds for believing their
               12 representations were true at the time they were made.
               13         659. Thompson. intended for Borrego Health to rely on their representations
               14 to persuade Borrego Health to continue to contract with Thompson.
               15         660. Borrego Health reasonably relied on Thompson’s representations.
               16         661. As a result of relying on Thompson’s representations, Borrego Health
               17 submitted claims to Medi-Cal that were not supportable and paid Thompson for
               18 services that should not have been paid.
               19         662. Borrego Health’s reliance on Thompson’s representations was a
               20 substantial factor in causing Borrego Health harm.
               21
               22                       THIRTY-NINTH CAUSE OF ACTION
               23                             (Negligent Misrepresentation)
               24               Against Douglas Ness, D.D.S. and Ness Dental Corporation
               25         663. Borrego Health reincorporates each of the above paragraphs as though
               26 fully set forth herein.
               27         664. As outlined above, Ness made several representations to Borrego
               28 Health regarding the scope and nature of the services they would provide to Borrego

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                1 Health patients. Ness also represented to Borrego Health that the claims submitted
                2 for reimbursement would be accurate and for services performed by a dental
                3 provider eligible to serve Medi-Cal patients.
                4         665. Ness had no reasonable grounds for believing their representations
                5 were true at the time they were made.
                6         666. Ness intended for Borrego Health to rely on their representations to
                7 persuade Borrego Health to continue to contract with Ness.
                8         667. Borrego Health reasonably relied on Ness’ representations.
                9         668. As a result of relying on Ness’ representations, Borrego Health
               10 submitted claims to Medi-Cal that were not supportable and paid Ness for services
               11 that should not have been paid.
               12         669. Borrego Health’s reliance on Ness’ representations was a substantial
               13 factor in causing Borrego Health harm.
               14
               15                           FORTIETH CAUSE OF ACTION
               16                             (Negligent Misrepresentation)
               17           Against George C. Jared, D.D.S. and George C. Jared, D.D.S., Inc.
               18         670. Borrego Health reincorporates each of the above paragraphs as though
               19 fully set forth herein.
               20         671. As outlined above, Jared made several representations to Borrego
               21 Health regarding the scope and nature of the services they would provide to Borrego
               22 Health patients. Jared also represented to Borrego Health that the claims submitted
               23 for reimbursement would be accurate and for services performed by a dental
               24 provider eligible to serve Medi-Cal patients.
               25         672. Jared had no reasonable grounds for believing their representations
               26 were true at the time they were made.
               27         673. Jared intended for Borrego Health to rely on their representations to
               28 persuade Borrego Health to continue to contract with Jared.

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                1         674. Borrego Health reasonably relied on Jared’s representations.
                2         675. As a result of relying on Jared’s representations, Borrego Health
                3 submitted claims to Medi-Cal that were not supportable and paid Jared for services
                4 that should not have been paid.
                5         676. Borrego Health’s reliance on Jared’s representations was a substantial
                6 factor in causing Borrego Health harm.
                7
                8                           FORTY-FIRST CAUSE OF ACTION
                9                                   (Legal Malpractice)
               10                             Against Defendant Mikia Wallis
               11         677. Borrego Health reincorporates each of the above paragraphs as though
               12 fully set forth herein.
               13         678. Mikia Wallis was originally hired by Borrego Health to serve as its
               14 Chief Legal Officer. Mikia Wallis later served in a dual capacity as the President
               15 and interim CEO of Borrego Health. As Borrego Health’s attorney, agent and
               16 fiduciary, Mikia Wallis has a duty to act with reasonable care and to act for the
               17 benefit of Borrego Health.
               18         679. As outlined herein, Mikia Wallis breached her legal duties to Borrego
               19 Health.
               20         680. As a direct and proximate result of Mikia Wallis’ breaches, Borrego
               21 Health was damaged in an amount to be proven at trial.
               22
               23                       FORTY-SECOND CAUSE OF ACTION
               24                               (Fraudulent Concealment)
               25                    Against Borrego Insiders and Premier Defendants
               26         681. Borrego Health reincorporates each of the above paragraphs as though
               27 fully set forth herein.
               28

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                1         682. The Borrego Insiders and Premier Defendants owed duties to Borrego
                2 Health.
                3         683. As outlined herein, the Borrego Insiders and Premier Defendants
                4 intentionally failed to disclose pertinent facts to Borrego Health regarding Borrego
                5 Health’s business operations and took actions to conceal such facts from Borrego
                6 Health.
                7         684. Borrego Health was not aware of the facts Borrego Insiders and
                8 Premier Defendants concealed from Borrego Health.
                9         685. The Borrego Insiders and Premier Defendants intended to deceive
               10 Borrego Health by failing to disclose/concealing such facts.
               11         686. Had the Borrego Insiders and Premier Defendants disclosed the
               12 withheld and concealed information, Borrego Health would have taken different
               13 actions then it did.
               14         687. Borrego Health was harmed as a result of the Borrego Insiders and
               15 Premier Defendants’ conduct.
               16         688. The Borrego Insiders and Premier Defendants’ concealment was a
               17 substantial factor in causing Borrego Health’s harm.
               18
               19                           FORTY-THIRD CAUSE OF ACTION
               20                                    (False Promise)
               21                                Against All Defendants
               22         689. Borrego Health reincorporates each of the above paragraphs as though
               23 fully set forth herein.
               24         690. As outlined herein, each and every Defendant made promises to
               25 Borrego Health.
               26         691. Defendants did not intend to perform on the promises made at the time
               27 they made those promises to Borrego Health.
               28         692. Defendants intended for Borrego Health to rely on those promises.

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                1         693. Borrego Health reasonably relied on Defendants’ promises.
                2         694. Defendants did not perform the actions they promised to perform.
                3         695. Borrego Health was harmed as a result of Defendants’ failures to
                4 perform the actions promised.
                5         696. Borrego Health’s reliance on Defendants’ promises was a substantial
                6 factor in causing Borrego Health harm.
                7
                8                       FORTY-FOURTH CAUSE OF ACTION
                9                                      (Conversion)
               10                                 Against All Defendants
               11         697. Borrego Health reincorporates each of the above paragraphs as though
               12 fully set forth herein.
               13         698. As set forth herein, Defendants substantially interfered with Borrego
               14 Health’s personal property by knowingly taking money from Borrego Health for
               15 which Defendants were not entitled to, or at least prevented Borrego Health from
               16 receiving the full funds to which it was entitled.
               17         699.   As set forth herein, Borrego Health did not consent to Defendants
               18 improper withholding of funds that were rightfully owned by Borrego Health.
               19         700. As set forth herein, Borrego Health was harmed.
               20         701. As set forth herein, Defendants’ conduct was a substantial factor in
               21 causing plaintiff’s harm.
               22
               23                           FORTY-FIFTH CAUSE OF ACTION
               24                              (Inducing Breach of Contract)
               25                                 Against All Defendants
               26         702. Borrego Health reincorporates each of the above paragraphs as though
               27 fully set forth herein.
               28         703. Borrego Health had a contract with Medi-Cal.

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                1         704. Borrego Health had contracts with its contract dental providers,
                2 including the corporate entities of the individually named Dentist Defendants.
                3         705. Defendants knew of Borrego Health’s contracts with Medi-Cal, the
                4 corporate Dentist Defendants, and Borrego Health’s contract dental providers.
                5         706. Through the conduct alleged herein, Defendants intended to cause the
                6 contracted dental providers to breach the terms of their contract with Borrego
                7 Health.
                8         707. Defendants’ conduct did cause the contracted dental providers to
                9 breach their contracts with Borrego Health.
               10         708. As a result of Defendants’ conduct, Borrego Health was harmed.
               11         709. Defendants’ conduct was a substantial factor in causing Borrego
               12 Health’s harm.
               13
               14                           FORTY-SIXTH CAUSE OF ACTION
               15                  (Intentional Interference with Contractual Relations)
               16                                Against All Defendants
               17         710. Borrego Health reincorporates each of the above paragraphs as though
               18 fully set forth herein.
               19         711. Borrego Health had a contract with Medi-Cal.
               20         712. Borrego Health had contracts with its contract dental providers,
               21 including the corporate entities of the individually named Dentist Defendants.
               22         713. Defendants knew of Borrego Health’s contracts with Medi-Cal, the
               23 corporate Dentist Defendants, and Borrego Health’s contract dental providers.
               24         714. Through the conduct alleged herein, Defendants intended to cause the
               25 contracted dental providers to breach the terms of their contract with Borrego
               26 Health, which thereby impacted Borrego Health’s contract with Medi-Cal.
               27         715. Defendants’ conduct made Borrego Health’s performance under their
               28 contracts expensive and difficult.

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                1         716. Defendants intended to disrupt performance of the contracts or at least
                2 knew that disruption of performance was substantially certain to occur by their
                3 conduct.
                4         717. As a result of Defendants’ conduct, Borrego Health was harmed.
                5         718. Defendants’ conduct was a substantial factor in causing Borrego
                6 Health’s harm.
                7
                8                      FORTY-SEVENTH CAUSE OF ACTION
                9              (Intentional Interference with Prospective Economic Relations)
               10                                 Against All Defendants
               11         719. Borrego Health reincorporates each of the above paragraphs as though
               12 fully set forth herein.
               13         720. Borrego Health was in an economic relationship with Medi-Cal, which
               14 provided an economic benefit to Borrego Health.
               15         721. Borrego Health was in economic relationships with its contract dental
               16 providers, including the corporate entities of the individually named Dentist
               17 Defendants, which provided an economic benefit to Borrego Health.
               18         722. Defendants knew of Borrego Health’s economic relationship with
               19 Medi-Cal.
               20         723. Defendants knew of Borrego Health’s economic relationships with the
               21 corporate Dentist Defendants, as well as the contracts with individual contract dental
               22 providers.
               23         724. As outlined herein, Defendants engaged in wrongful conduct that was
               24 intended to disrupt Borrego Health’s relationships with Medi-Cal, the corporate
               25 Dentist Defendants, and Borrego Health’s contract dental providers.
               26         725.   Borrego Health’s relationships with Medi-Cal, the corporate Dentist
               27 Defendants, and Borrego Health’s contract dental providers were disrupted.
               28         726. As a result of Defendants’ conduct, Borrego Health was harmed.

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                1        727. Defendants’ conduct was a substantial factor in causing Borrego
                2 Health’s harm.
                3
                4                        FORTY-EIGHTH CAUSE OF ACTION
                5               (Negligent Interference with Prospective Economic Relations)
                6                                 Against All Defendants
                7        728. Borrego Health reincorporates each of the above paragraphs as though
                8 fully set forth herein.
                9        729. Borrego Health was in an economic relationship with Medi-Cal, which
               10 provided an economic benefit to Borrego Health.
               11        730. Borrego Health was in economic relationships with its contract dental
               12 providers, including the corporate entities of the individually named Dentist
               13 Defendants, which provided an economic benefit to Borrego Health.
               14        731. Defendants knew or should have known of Borrego Health’s contract
               15 with Medi-Cal.
               16        732. Defendants knew or should have known of Borrego Health’s contracts
               17 with the corporate Dentist Defendants, as well as the contracts with individual
               18 contract dental providers.
               19        733. As outlined herein, Defendants knew or should have known Borrego
               20 Health’s relationships with Medi-Cal, the corporate Dentist Defendants, and
               21 Borrego Health’s contract dental providers would be disrupted if they failed to act
               22 with reasonable care.
               23        734. As outlined herein, Defendants failed to act with reasonable care when
               24 they engaged in wrongful conduct that was intended to disrupt Borrego Health’s
               25 relationships with Medi-Cal, the corporate Dentist Defendants, and Borrego
               26 Health’s contract dental providers.
               27        735.     Borrego Health’s relationships with Medi-Cal, the corporate Dentist
               28 Defendants, and Borrego Health’s contract dental providers were disrupted.

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                1         736. As a result of Defendants’ conduct, Borrego Health was harmed.
                2         737. Defendants’ conduct was a substantial factor in causing Borrego
                3 Health’s harm.
                4
                5                           FORTY-NINTH CAUSE OF ACTION
                6              (Violations of Business & Professions Code § 17200, et seq.)
                7                                 Against All Defendants
                8         738. Borrego Health reincorporates each of the above paragraphs as though
                9 fully set forth herein.
               10         739. The UCL defines “unfair business competition” to include any
               11 “unlawful, unfair or fraudulent” act or practice, as well as any “unfair, deceptive,
               12 untrue or misleading” advertising. Cal. Bus. Prof. Code § 17200.
               13         740. The UCL imposes strict liability. Borrego Health need not prove that
               14 defendants intentionally or negligently engaged in unlawful, unfair, or fraudulent
               15 business practices – but only that such practices occurred.
               16         741. A business act or practice is “unfair” under the UCL if it offends an
               17 established public policy or is immoral, unethical, oppressive, unscrupulous or
               18 substantially injurious to consumers, and that unfairness is determined by weighing
               19 the reasons, justifications and motives of the practice against the gravity of the harm
               20 to the alleged victims.
               21         742. A business act or practice is “fraudulent” under the UCL if it is likely
               22 to deceive members of the consuming public.
               23         743. As outlined herein, Defendants’ actions were unfair.
               24         744. As outlined herein, Defendants’ acts and practices constitute fraudulent
               25 business acts or practices as they have deceived Borrego Health and are highly
               26 likely to deceive members of the consuming public, including members of the
               27 contract dental program and/or members of the relevant state agencies.
               28

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                1                            FIFTIETH CAUSE OF ACTION
                2                                      (Conspiracy)
                3                                Against All Defendants
                4         745. Borrego Health reincorporates each of the above paragraphs as though
                5 fully set forth herein.
                6         746. As set forth herein, the facts involving the multiple schemes
                7 demonstrate the existence of a conspiracy between and among the Defendants, all of
                8 whom acted as co-conspirators of another.
                9         747. Borrego Health was harmed by Defendants’ actions.
               10         748. Defendants were responsible for Borrego Health’s harm.
               11         749. Defendants were aware of each other’s plans and agreed/intended such
               12 wrongful acts to be committed.
               13
               14                           FIFTY-FIRST CAUSE OF ACTION
               15                               (Breach of Fiduciary Duty)
               16                                Against Borrego Insiders
               17         750. Borrego Health reincorporates each of the above paragraphs as though
               18 fully set forth herein.
               19         751. The Borrego Insiders owed fiduciary duties to Borrego Health.
               20         752. As outlined herein, the Borrego Insiders breached their duties to
               21 Borrego Health.
               22         753. Borrego Health was damaged by Borrego Insiders’ breaches.
               23
               24                       FIFTY-SECOND CAUSE OF ACTION
               25                                  (Constructive Fraud)
               26                    Against Borrego Insiders and Premier Defendants
               27         754. Borrego Health reincorporates each of the above paragraphs as though
               28 fully set forth herein.

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                1         755. Borrego Insiders and Premier Defendants acted as Borrego Health’s
                2 agents, corporate officers and/or fiduciaries.
                3         756. Borrego Insiders and Premier Defendants acted on Borrego Health’s
                4 behalf in several transactions as outlined above.
                5         757. As outlined above, Borrego Insiders and Premier Defendants knew, or
                6 should have known, pertinent information to the transactions.
                7         758. Borrego Insiders and Premier Defendants misled Borrego Health by
                8 failing to disclose such pertinent information and/or omitting such pertinent
                9 information from Borrego Health.
               10         759. As a result of Borrego Insiders and Premier Defendants’ failure to
               11 disclose such information, Borrego Health was harmed.
               12         760. Borrego Insiders and Premier Defendants’ conduct was a substantial
               13 factor in causing Borrego Health’s harm.
               14
               15                           FIFTY-THIRD CAUSE OF ACTION
               16                             (Unjust Enrichment/Restitution)
               17                                  Against all Defendants
               18         761. Borrego Health reincorporates each of the above paragraphs as though
               19 fully set forth herein.
               20         762. As outlined herein, Defendants unjustly received a benefit at the
               21 expense of Borrego Health.
               22
               23                                        PRAYER
               24 With respect to the First Cause of Action—RICO (As to All Defendants)
               25         a.     For damages in an amount to be proven at trial, trebled pursuant to
               26         statute;
               27         b.     Pre-judgment and post-judgment interest; and
               28         c.     Reasonable attorney’s fees and costs.

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                1 With respect to the RICO, Intentional Misrepresentation, Negligent
                2 Misrepresentation, False Promise, Fraudulent Concealment, Constructive Fraud,
                3 Conspiracy, and Violations of the UCL Causes of Action (As to All Defendants):
                4        a.     For imposition of a constructive trust in an amount subject to be proven
                5        at trial and on any real or personal property purchased with a portion of that
                6        amount;
                7        b.     For punitive damages where allowed by law; and
                8        c.     Pre-judgment and post-judgment interest.
                9 With respect to all other causes of action:
               10        a.     For damages in an amount to be proven at trial;
               11        b.     Reasonable attorney’s fees and costs as allowed by law;
               12        c.     For punitive damages where allowed by law; and
               13        d.     Such other and further relief the Court deems just and proper.
               14
               15 DATED: July 19, 2022                 HOOPER, LUNDY & BOOKMAN, P.C.
               16
               17
                                                       By:
               18
                                                                   DEVIN M. SENELICK
               19                                      Attorneys for Plaintiff Borrego Community
               20                                      Health Foundation

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